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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SHAVORTIS POWELL, ET. AL.,                    §
                                              §
                Plaintiffs,                   §
                                              §
v.                                            §       CASE NO.
                                              §
FORD MOTOR COMPANY,                           §
                                              §
                Defendant                     §       JURY TRIAL DEMANDED

              PLAINTIFFS’ ORIGINAL COMPLAINT AND JURY DEMAND

       Plaintiffs identified below hereby file the instant Original Complaint and Jury Demand

against Defendant Ford Motor Company and respectfully show the Court as follows:

                                        INTRODUCTION

       1.       This case arises out of Ford Motor Company’s global marketing and sale of

approximately 1.5 Million 2011-2016 Ford Fiesta motor vehicles and 2012-2016 Ford Focus motor

vehicles (the “Vehicles”), which were equipped with an unsafe and defective transmission known

as the “DPS6 PowerShift Transmission” (the “PowerShift Transmission” or the “DPS6”).

       2.       Ford Motor Company (“Ford” or “Defendant”) sold the Vehicles to the Plaintiffs

named herein.

       3.       As a result of the plethora of defects plaguing the PowerShift Transmissions in

these vehicles, Ford violated its statutory and common law warranty and disclosure obligations for

the Vehicles sold or leased to Plaintiffs, each of which was subject to a written warranty issued by

Ford. Ford breached its express and implied warranties, violated the Magnuson-Moss Warranty

Act, 15 U.S.C. § 2301, et seq., committed fraud, and violated various state unfair trade practices

acts across the nation, as alleged herein.




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       4.      Plaintiffs generally allege, as more fully set forth herein, that Ford (whether directly

or through its authorized repair facilities) failed to repair Plaintiffs’ vehicles to conform to Ford’s

written warranty after a reasonable number of opportunities or within a reasonable amount of time.

Moreover, Ford failed to promptly replace Plaintiffs’ vehicles or make restitution for those

vehicles. Plaintiffs further allege that their vehicles were unmerchantable at the time of sale or

lease, and unfit for their intended use, and thereby failed to conform to the representations on the

vehicle’s label. Plaintiffs also generally allege that Ford concealed one or more known defects at

the time of sale (and thereafter), and affirmatively misrepresented the vehicle’s qualities at the

time of sale, thereby inducing Plaintiffs into the purchase or lease of said vehicles.

       5.       The DPS6-equipped Ford Focus and Fiesta vehicles were dangerous to consumers

and the public because the defective DPS6 could and did cause such vehicles to lose power

unexpectedly while driving (referred to as an “unintended neutral event” or “loss of motive

power”); jerk and buck erratically, and otherwise fail in ways that reportedly could and did cause

accidents and injuries (even fatalities) (aforementioned problems collectively referred to as

“Transmission Defects”).

       6.      Plaintiffs are informed and believe, and on that basis allege, that Ford knew before

the initial launch of DPS6-equipped vehicles, and at all times since, that the defects in the

PowerShift Transmission made the vehicles defective and dangerous; furthermore, Ford knew that

such DPS6-equipped vehicles did not and could not comply with Ford’s warranty obligations or

with Plaintiffs’ reasonable expectations.

       7.      Plaintiffs are informed and believe, and on that basis allege, that Ford told one or

more suppliers of DPS6 components that the DPS6 PowerShift Transmissions were dangerously

defective and that said defect was irreparable; furthermore, Ford demanded one or more suppliers



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compensate Ford for increased warranty costs related to the DPS6. Meanwhile, Ford continued to

sell vehicles equipped with the DPS6 PowerShift Transmission.

       8.      Plaintiffs are informed and believe, and on that basis allege, that Ford and its

suppliers ultimately entered into one or more secret agreements, negotiated at the highest levels of

Ford’s management, whereby the supplier(s) paid Ford hundreds of millions of dollars for

increased warranty costs that Ford incurred due to the DPS6 defects. Despite the payoff Ford

received, Ford fraudulently concealed the known defects with the DPS6 from third-parties in the

United States (e.g., consumers including Plaintiffs, governmental regulators such as the U.S.

National Highway Safety Administration (“NHTSA”)) and abroad (e.g., the Australian Consumer

and Competition Commission (“ACCC”)).

       9.      Ford affirmatively misrepresented to Plaintiffs, consumers and regulators that the

DPS6’s aberrant operations were “normal operating characteristics” and that there was nothing

wrong with the transmission, consistent with Ford’s secret settlement deal. To this day, Ford

continues to deny the defects in the DPS6-equipped Focus and Fiesta vehicles even though it was

forced to admit the contrary in a consent decree in a regulatory proceeding by the ACCC, which

is part of the public record of that Australian regulatory agency, and which resulted in Ford paying

an (AUS) $10 million penalty/fine for engaging in unconscionable conduct regarding DPS6-

equipped Focus and Fiesta vehicles. See https://www.accc.gov.au/media-release/court-orders-

ford-to-pay-10-million-penalty-for-unconscionable-conduct (last visited February 8, 2022).

       10.     Ford’s corporate misconduct and fraud are alleged in greater detail below, with

specific references to, and quotations from, Ford’s own internal corporate documents.




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                                             PARTIES

                                    ALABAMA PLAINTIFF

       11.     Plaintiff Shavortis Powell (for the purpose of this paragraph, “Plaintiff”) is a citizen

of Alabama, who purchased a 2019 Fiesta VIN 3FADP4BJ8KM157291 in Alabama. Plaintiff’s

vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

following sources touting these features: (a) advertisements and information on Ford’s website;

(b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

it had a defective transmission, including that it is prone to premature internal wear and failure,

that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

foreseeable manner and in the manner in which it was intended to be used.



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                                    ARIZONA PLAINTIFFS

       12.     Plaintiff Emery Day (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Arizona, who purchased a 2017 Fiesta VIN 3FADP4GX2HM102485 in Arizona. Plaintiff’s

vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

following sources touting these features: (a) advertisements and information on Ford’s website;

(b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

it had a defective transmission, including that it is prone to premature internal wear and failure,

that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

foreseeable manner and in the manner in which it was intended to be used.



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       13.     Plaintiff Jessica Knoke (Neff) (for the purpose of this paragraph, “Plaintiff”) is a

citizen of Arizona, who purchased a 2017 Focus VIN 1FADP3K21HL217411 in Arizona.

Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

following sources touting these features: (a) advertisements and information on Ford’s website;

(b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

it had a defective transmission, including that it is prone to premature internal wear and failure,

that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

foreseeable manner and in the manner in which it was intended to be used.

       14.     Plaintiff Oscar Reichersamer (for the purpose of this paragraph, “Plaintiff”) is a

citizen of Arizona, who purchased a 2017 Focus VIN 1FADP3E27HL219692 in Arizona.



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Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

following sources touting these features: (a) advertisements and information on Ford’s website;

(b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

it had a defective transmission, including that it is prone to premature internal wear and failure,

that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

foreseeable manner and in the manner in which it was intended to be used.

                                    ARKANSAS PLAINTIFF

       15.     Plaintiff Zaeth Ginn (for the purpose of this paragraph, “Plaintiff”) is a citizen of

Arkansas, who purchased a 2017 Focus VIN 1fadp3h24hl227955 in Arkansas. Plaintiff’s vehicle

was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional



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$1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

touting these features: (a) advertisements and information on Ford’s website; (b) online

advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

a defective transmission, including that it is prone to premature internal wear and failure, that it

suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

manner and in the manner in which it was intended to be used.

                                  CALIFORNIA PLAINTIFFS

       16.     Plaintiff Barry Deditch (for the purpose of this paragraph, “Plaintiff”) is a citizen

of California, who purchased a 2017 Focus VIN 1fadp3j26hl287617 in California. Plaintiff’s

vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle



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performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

following sources touting these features: (a) advertisements and information on Ford’s website;

(b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

it had a defective transmission, including that it is prone to premature internal wear and failure,

that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

foreseeable manner and in the manner in which it was intended to be used.

       17.     Plaintiff Diana Garcia (for the purpose of this paragraph, “Plaintiff”) is a citizen of

California, who purchased a 2018 Focus VIN 1FADP3F29JL295399 in California. Plaintiff’s

vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        18.     Plaintiff Christopher Gourley (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of California, who purchased a 2018 Focus VIN 1FADP3F26JL207926 in California.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        19.     Plaintiff Nicholas Gruzalski (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of California, who purchased a 2017 Fiesta VIN 3FADP4BJ2HM126076 in California.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        20.     Plaintiff Gary Justice (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 California, who purchased a 2019 Fiesta VIN 3FADP4BJ2KM148912 in California. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        21.     Plaintiff Benjamen Mitchell (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of California, who purchased a 2017 Focus VIN 1FADP3L98HL292957 in California.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        22.     Plaintiff James Thomas (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of California, who purchased a 2018 Focus VIN 1fadp3f20jl205976 in California. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        23.     Plaintiff David Tingle (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 California, who purchased a 2017 Focus VIN 1fadp3e27hl254913 in California. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



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 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        24.     Plaintiff Christopher Trujillo (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of California, who purchased a 2017 Focus VIN 1fadp3f21hl348221 in California.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        25.     Plaintiff Ramona Voyles (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of California, who purchased a 2017 Focus VIN 1FADP3F2XHL325505 in California. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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                                    COLORADO PLAINTIFF

        26.     Plaintiff Matt Mattorano (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Colorado, who purchased a 2017 Fiesta VIN 3fadp4ej5gm154545 in Colorado. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                  CONNECTICUT PLAINTIFF

        27.     Plaintiff Wendy Hart (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Connecticut, who purchased a 2017 Focus VIN 1FADP3F20HL240298 in Connecticut. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                     FLORIDA PLAINTIFFS

        28.     Plaintiff Kelly & Graham Clark (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Florida, who purchased a 2018 Focus VIN 1FADP3E26JL285107 in Florida. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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        29.     Plaintiff Darrell Felix (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Florida, who purchased a 2018 Focus VIN 1FADP3K20JL308420 in Florida. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        30.     Plaintiff Caleb Holmberg (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Michigan, who purchased a 2012 Focus VIN 1fahp3f25cl346255 in Florida. Plaintiff’s vehicle



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 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        31.     Plaintiff Starr Jacobs (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Florida, who purchased a 2018 Focus VIN 1FADP3K22JL266168 in Florida. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



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 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        32.     Plaintiff Jonathan Marrone (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Florida, who purchased a 2018 Focus VIN 1fadp3m20jl265887 in Florida. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        33.     Plaintiff John Mishler (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Florida, who purchased a 2017 Focus VIN 1FADP3K26HL246547 in Florida. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



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 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        34.     Plaintiff Justin Plunkett (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Florida, who purchased a 2017 Focus VIN 1FADP3E27HL262476 in Florida. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        35.     Plaintiff Michelle Reitbauer (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Florida, who purchased a 2015 Focus VIN 1FADP3K21FL263737 in Florida. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        36.     Plaintiff Alicia Wilson (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Florida, who purchased a 2017 Focus VIN 1FADP3F27HL252139 in Florida. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,



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 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

                                     GEORGIA PLAINTIFFS

        37.     Plaintiff Ron Finley (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Georgia, who purchased a 2018 Focus VIN 1FADP3N24JL233328 in Georgia. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed



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 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        38.     Plaintiff Bundy Laney (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Georgia, who purchased a 2017 Focus VIN 1FADP3H20HL251363 in Georgia. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they



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 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        39.     Plaintiff Jeremiah Scott (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Georgia, who purchased a 2017 Fiesta VIN 3FADP4BJ9HM140606 in Georgia. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from



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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        40.     Plaintiff Joseph Stanton (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Georgia, who purchased a 2019 Fiesta VIN 3fadp4ej9km142729 in Georgia. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



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        41.     Plaintiff Sherman Stephenson (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Georgia, who purchased a 2017 Focus VIN 1FADP3F24HL234486 in Georgia.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        42.     Plaintiff Charles & Linda Tarbunas (for the purpose of this paragraph, “Plaintiff”)

 is a citizen of Georgia, who purchased a 2013 Fiesta VIN 3FADP4FJ2DM113719 in Georgia.



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 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                     ILLINOIS PLAINTIFFS

        43.     Plaintiff Linda J. Bagniewski (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Illinois, who purchased a 2018 Focus VIN 1FADP3F27JL257136 in Illinois. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an



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 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        44.     Plaintiff Latasha Banks & Terianna Buchanan (for the purpose of this paragraph,

 “Plaintiff”) is a citizen of Illinois, who purchased a 2019 Fiesta VIN 3FADP4BJ7KM144144 in

 Illinois. Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which

 Plaintiff paid an additional $1,095.00 over the manual transmission version. Passenger safety,

 vehicle performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase



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 the vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of

 the following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        45.     Plaintiff Leo Canselor (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Illinois, who purchased a 2019 Fiesta VIN 3FADP4EJ4KM137468 in Illinois. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online



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 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        46.     Plaintiff Juanita Dilbeck (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Illinois, who purchased a 2018 Focus VIN 1FADP3FE8JL257253 in Illinois. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles



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 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        47.     Plaintiff James Hensley (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Illinois, who purchased a 2017 Focus VIN 1FADP3K23HL267131 in Illinois. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by



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 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        48.     Plaintiff Michael Hoffmeister (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Illinois, who purchased a 2018 Focus VIN 1FADP3H28JL243369 in Illinois. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,



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 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        49.     Plaintiff Benjamin Line (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Illinois, who purchased a 2017 Focus VIN 1FADP3H29HL237316 in Illinois. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had



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 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        50.     Plaintiff Henry Mallin (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Illinois, who purchased a 2017 Focus VIN 1FADP3N20HL262738 in Illinois. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they



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 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        51.     Plaintiff Jason Marecki (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Illinois, who purchased a 2018 Focus VIN 1FADP3F24JL288943 in Illinois. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective



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 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        52.     Plaintiff Brennan Street (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Illinois, who purchased a 2017 Focus VIN 1FADP3E29HL210668 in Illinois. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.



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        53.     Plaintiff Michael Veneziano (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Illinois, who purchased a 2017 Focus VIN 1fadp3f27hl313408 in Illinois. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                     INDIANA PLAINTIFFS

        54.     Plaintiff Alyssa Morgan Burkhardt (for the purpose of this paragraph, “Plaintiff”)

 is a citizen of Indiana, who purchased a 2014 Focus VIN 1FADP3F21EL116696 in Indiana.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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        55.     Plaintiff Nikkita Milledge (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Indiana, who purchased a 2017 Focus VIN 1FADP3K20HL246589 in Indiana. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                      KANSAS PLAINTIFF

        56.     Plaintiff Matthew Cook (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Kansas, who purchased a 2017 Focus VIN 1FADP3F29HL223032 in Kansas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                   KENTUCKY PLAINTIFFS

        57.     Plaintiff Shawn Gannaway (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Kentucky, who purchased a 2017 Focus VIN 1FADP3F26HL251578 in Kentucky.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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        58.     Plaintiff Michael Griffis (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Kentucky, who purchased a 2018 Focus VIN 1FADP3F28JL203442 in Kentucky. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        59.     Plaintiff Ernesta Hayes (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Kentucky, who purchased a 2017 Focus VIN 1FADP3F21HL274931 in Kentucky. Plaintiff’s



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 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        60.     Plaintiff Stephanie Sanders (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Kentucky, who purchased a 2017 Focus VIN 1FADP3K25HL278664 in Kentucky.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle



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 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                    LOUISIANA PLAINTIFFS

        61.     Plaintiff Diamond Chargois (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Louisiana, who purchased a 2017 Focus VIN 1FADP3J22HL267980 in Louisiana.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the



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 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        62.     Plaintiff Mary Glamuzina (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Louisiana, who purchased a 2018 Focus VIN 1FADP3J20JL307835 in Louisiana. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;



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 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        63.     Plaintiff Christie Harris (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Louisiana, who purchased a 2018 Focus VIN 1FADP3F27JL307078 in Louisiana. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news



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 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        64.     Plaintiff Sanantonie King (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Louisiana, who purchased a 2018 Focus VIN 1FADP3F27JL250879 in Louisiana. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by



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 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                    MARYLAND PLAINTIFF

        65.     Plaintiff Tiffany Egan (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Maryland, who purchased a 2018 Fiesta VIN 3fadp4ejxjm135979 in Maryland. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had



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 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

                                    MICHIGAN PLAINTIFFS

        66.     Plaintiff Dale Black (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Michigan, who purchased a 2018 Focus VIN 1FADP3F28JL310765 in Michigan. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,



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 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        67.     Plaintiff Jill Lewis (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Michigan, who purchased a 2016 Focus VIN 3FADP4EJ9BM162186 in Michigan. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had



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 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        68.     Plaintiff Mark Lofton (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Michigan, who purchased a 2017 Focus VIN 1fadp3m23hl276439 in Michigan. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they



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 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        69.     Plaintiff Dena Morales (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Michigan, who purchased a 2017 Focus VIN 1fadp3h29hl347167 in Michigan. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from



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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        70.     Plaintiff Charles Parnell (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Michigan, who purchased a 2017 Fiesta VIN 3FADP4AJ2HM161900 in Michigan. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        71.     Plaintiff David Powell (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Michigan, who purchased a 2017 Focus VIN 1FADP3F26HL257378 in Michigan. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        72.     Plaintiff Walter Stepanenko Jr. (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Michigan, who purchased a 2017 Focus VIN 1FADP3N24HL279607 in Michigan.



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 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.             Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        73.     Plaintiff Jeffery Tate (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Michigan, who purchased a 2018 Focus VIN 1FADP3M29JL310471 in Michigan. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle



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 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        74.     Plaintiff Edward Tolbert (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Michigan, who purchased a 2018 Focus VIN 1FADP3H23JL254666 in Michigan. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the



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 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                    MINNESOTA PLAINTIFF

        75.     Plaintiff Abdul-Aziz Abdullahi (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Minnesota, who purchased a 2017 Focus VIN 1FADP3F26HL303971 in Minnesota.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;



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 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                   MISSISSIPPI PLAINTIFFS

        76.     Plaintiff William Creel (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Mississippi, who purchased a 2018 Focus VIN 1fadp3f23jl209410 in Mississippi. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales



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 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        77.     Plaintiff Misty Spence (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Mississippi, who purchased a 2019 Fiesta VIN 3FADP4EJ2KM102394 in Mississippi. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        78.     Plaintiff Phenesha Tate (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Mississippi, who purchased a 2018 Fiesta VIN 3FADP4BJ4JM108491 in Mississippi.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        79.     Plaintiff Rose Weeks (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Mississippi, who purchased a 2017 Focus VIN 1FADP3H26HL269561 in Mississippi. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                    MISSOURI PLAINTIFFS

        80.     Plaintiff Shannon Marie Barr (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Missouri, who purchased a 2018 Fiesta VIN 3FADP4EJ6JM104440 in Missouri.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had



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 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        81.     Plaintiff Kimberlee Brown (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Missouri, who purchased a 2017 Focus VIN 1FADP3F22HL249553 in Missouri.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)



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 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        82.     Plaintiff Don Mattonen (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Missouri, who purchased a 2017 Focus VIN 1fadp3f25hl340056 in Missouri. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective



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 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        83.     Plaintiff Bradley Ray (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Missouri, who purchased a 2018 Focus VIN 1FADP3F25JL204581 in Missouri. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        84.     Plaintiff Jessica Terrell (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Missouri, who purchased a 2017 Focus VIN 1fadp3e27hl314057 in Missouri. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.




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                                     NEBRASKA PLAINTIFF

        85.     Plaintiff Damian Holbrook (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Nebraska, who purchased a 2019 Fiesta VIN 3FADP4EJ3KM159980 in Nebraska.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                      NEVADA PLAINTIFF

        86.     Plaintiff Doreatha Ross (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Nevada, who purchased a 2017 Focus VIN 1FADP3K2XHL246972 in Nevada. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                  NEW MEXICO PLAINTIFFS

        87.     Plaintiff Ramsey Holler (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of New Mexico, who purchased a 2017 Focus VIN 1fadp3m25hl314219 in New Mexico.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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        88.     Plaintiff Abriana Lujan (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of New Mexico, who purchased a 2018 Focus VIN 1FADP3FE8JL204858 in New Mexico.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        89.     Plaintiff Katie Noble (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 New Mexico, who purchased a 2017 Fiesta VIN 3FADP4EJ0HM159590 in New Mexico.



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 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                    NEW YORK PLAINTIFFS

        90.     Plaintiff Leonard Church (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of New York, who purchased a 2017 Focus VIN 1FADP3M20HL311552 in New York. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an



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 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        91.     Plaintiff Michael Maine (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of New York, who purchased a 2017 Focus VIN 1FADP3K28HL250776 in New York. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the



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 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        92.     Plaintiff Rose Pangburn (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of New York, who purchased a 2017 Focus VIN 1FADP3E25HL321928 in New York. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;



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 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        93.     Plaintiff Charles Seebach (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of New York, who purchased a 2017 Focus VIN 1FADP3N27HL291430 in New York. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news



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 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        94.     Plaintiff Robert Sharp (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 New York, who purchased a 2017 Focus VIN 1FADP3F22HL209392 in New York. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by



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 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                               NORTH CAROLINA PLAINTIFFS

        95.     Plaintiff Patricia Delaney (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of North Carolina, who purchased a 2017 Focus VIN 1FADP3F28HL278748 in North Carolina.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.             Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        96.     Plaintiff Joyce Dunbar (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 North Carolina, who purchased a 2017 Focus VIN 1FADP3F28HL275493 in North Carolina.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.             Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        97.     Plaintiff Annette Freeze (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of North Carolina, who purchased a 2017 Focus VIN 1fadp3k26hl337074 in North Carolina.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        98.     Plaintiff Toinette McNeill (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of North Carolina, who purchased a 2018 Fiesta VIN 3FADP4BJ9JM119423 in North Carolina.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.             Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount



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 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        99.     Plaintiff Elizabeth Napier (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of North Carolina, who purchased a 2018 Focus VIN 1fadp3k20jl218197 in North Carolina.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.             Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        100.    Plaintiff Sheila Stepp (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 North Carolina, who purchased a 2017 Focus VIN 1FADP3H23HL201833 in North Carolina.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.             Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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                                       OHIO PLAINTIFFS

        101.    Plaintiff Ethan Brownlee (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Ohio, who purchased a 2017 Focus VIN 1FADP3E23HL328182 in Ohio. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.




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        102.    Plaintiff William Henry Cooper III (for the purpose of this paragraph, “Plaintiff”)

 is a citizen of Ohio, who purchased a 2018 Focus VIN 1FADP3M21JL301148 in Ohio. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        103.    Plaintiff Daniel J. Fette (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Ohio, who purchased a 2018 Focus VIN 1fadp3f27jl286116 in Ohio. Plaintiff’s vehicle was



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 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        104.    Plaintiff James Heavener (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Ohio, who purchased a 2017 Focus VIN 1fadp3f28hl249766 in Ohio. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



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 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        105.    Plaintiff Janice Neal (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Ohio, who purchased a 2018 Focus VIN 1FADP3K23JL282248 in Ohio. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



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 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        106.    Plaintiff Mariah Smith (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Ohio, who purchased a 2018 Focus VIN 1FADP3F25JL300923 in Ohio. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



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 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

                                    OKLAHOMA PLAINTIFF

        107.    Plaintiff Jackie Brown (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Oklahoma, who purchased a 2019 Focus VIN 1FADP3N25JL271912 in Oklahoma. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news



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 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                     OREGON PLAINTIFFS

        108.    Plaintiff Zachary Sprott (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Oregon, who purchased a 2017 Focus VIN 1FADP3F2XHL225663 in Oregon. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s



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 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        109.    Plaintiff William Wittkopf (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Oregon, who purchased a 2017 Focus VIN 1fadp3h22hl258086 in Oregon. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                 PENNSYLVANIA PLAINTIFFS

        110.    Plaintiff Jamie Frayvolt (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Pennsylvania, who purchased a 2018 Focus VIN 1FADP3N22JL273259 in Pennsylvania.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,



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 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        111.    Plaintiff John Hawkinson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Pennsylvania, who purchased a 2014 Focus VIN 1FADP3J28EL378027 in Pennsylvania.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had



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 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        112.    Plaintiff Kathryn Henricks (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Pennsylvania, who purchased a 2017 Focus VIN 1FADP3J24HL340072 in

 Pennsylvania. Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for

 which Plaintiff paid an additional $1,095.00 over the manual transmission version.        Passenger

 safety, vehicle performance, gas mileage, and reliability were all factors in Plaintiff’s decision to

 purchase the vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or

 more of the following sources touting these features: (a) advertisements and information on Ford’s

 website; (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford;

 (d) sales brochures and marketing literature prepared by Ford; (e) print advertisements by Ford;

 (f) news articles and/or consumer reviews of the subject vehicle; and (g) representations from

 Ford’s authorized dealer(s). Plaintiff also reviewed and relied on written express warranties

 provided by Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the

 vehicle that it had a defective transmission, including that it is prone to premature internal wear

 and failure, that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement,

 sudden acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle.

 Had Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)



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 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        113.    Plaintiff Paul Newhart (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Pennsylvania, who purchased a 2017 Fiesta VIN 3FADP4EJ1DM161584 in Pennsylvania.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.             Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from



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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        114.    Plaintiff Isiah Schucker (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Pennsylvania, who purchased a 2017 Focus VIN 1FADP3H22HL220938 in Pennsylvania.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        115.    Plaintiff Joy Welsh (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Pennsylvania, who purchased a 2017 Focus VIN 1fadp3f29hl321994 in Pennsylvania. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                               SOUTH CAROLINA PLAINTIFFS

        116.    Plaintiff Mark Flowers (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of South Carolina, who purchased a 2017 Focus VIN 1FADP3N28HL337413 in South Carolina.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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        117.    Plaintiff Nicholas Jacoby (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of South Carolina, who purchased a 2018 Focus VIN 1FADP3H21JL320941 in South Carolina.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.             Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        118.    Plaintiff Carole Lopardo (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of South Carolina, who purchased a 2018 Focus VIN 1fadp3f29jl264265 in South Carolina.



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 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                   TENNESSEE PLAINTIFFS

        119.    Plaintiff Lataunga Avery (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Tennessee, who purchased a 2018 Focus VIN 1FADP3K26JL212257 in Tennessee. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an



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 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        120.    Plaintiff Jamie Grady (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Tennessee, who purchased a 2017 Focus VIN 1fadp3f23hl241784 in Tennessee. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the



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 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        121.    Plaintiff Justin Kessler (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Tennessee, who purchased a 2017 Focus VIN 1FADP3K26HL319870 in Tennessee. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;



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 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        122.    Plaintiff Jacob Lundy (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Tennessee, who purchased a 2018 Focus VIN 1FADP3E25jl220409 in Tennessee. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news



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 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        123.    Plaintiff Payman Sasaninia (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Tennessee, who purchased a 2018 Focus VIN 1FADP3K24JL305035 in Tennessee.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by



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 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                       TEXAS PLAINTIFFS

        124.    Plaintiff Guadalupe Bocanegra (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2018 Focus VIN 1FADP3K24JL321333 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        125.    Plaintiff Barbara Boring (Brady) (for the purpose of this paragraph, “Plaintiff”) is

 a citizen of Texas, who purchased a 2017 Focus VIN 1FADP3F28HL235382 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        126.    Plaintiff Monique Britton (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2017 Focus VIN 1FADP3F2XHL308834 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for



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 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        127.    Plaintiff Teena Byington (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2017 Focus VIN 1FADP3FE2HL307560 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a



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 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        128.    Plaintiff Kelly Cates (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2019 Fiesta VIN 3fadp4bj7km105537 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective




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 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        129.    Plaintiff Michael Chambers (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Michigan, who purchased a 2015 Focus VIN 3fadp4bj9fm101950 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        130.    Plaintiff Jordanna Chiaurro (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of Texas, who purchased a 2018 Focus VIN 1FADP3FE5JL311091 in Texas. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        131.    Plaintiff Kyle Curabba (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2017 Focus VIN 1FADP3K24HL295875 in Texas. Plaintiff’s vehicle



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 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        132.    Plaintiff Valerie Hinojosa (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2018 Focus VIN 1FADP3FE5JL312015 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas



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 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        133.    Plaintiff Bryan Mcmanus (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2017 Focus VIN 1fadp3e21hL303202 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources



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 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        134.    Plaintiff Paul Pursley (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Texas, who purchased a 2017 Focus VIN 1FADP3F28HL222633 in Texas. Plaintiff’s vehicle was

 equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures



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 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

        135.    Plaintiff Mary Steward (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Texas, who purchased a 2017 Focus VIN 1FADP3E2XHL324324 in Texas. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized



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 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.

 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

                                        UTAH PLAINTIFF

        136.    Plaintiff Mike Patterson (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Utah, who purchased a 2017 Focus VIN 1FADP3F24HL263485 in Utah. Plaintiff’s vehicle

 was equipped with an optional PowerShift Transmission for which Plaintiff paid an additional

 $1,095.00 over the manual transmission version.        Passenger safety, vehicle performance, gas

 mileage, and reliability were all factors in Plaintiff’s decision to purchase the vehicle. Before

 Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the following sources

 touting these features: (a) advertisements and information on Ford’s website; (b) online

 advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales brochures

 and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news articles

 and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s authorized

 dealer(s). Plaintiff also reviewed and relied on written express warranties provided by Ford.



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 Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that it had

 a defective transmission, including that it is prone to premature internal wear and failure, that it

 suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden acceleration,

 delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had Ford disclosed

 this transmission defect, Plaintiff would not have acquired the vehicle or would have paid less for

 it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s) for repair, but they

 have failed to adequately repair Plaintiff’s vehicle within a reasonable amount of time or after a

 reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from the defective

 transmission described above.     At all times, Plaintiff, has driven the vehicle in a foreseeable

 manner and in the manner in which it was intended to be used.

                                     VIRGINIA PLAINTIFFS

        137.    Plaintiff Ashley Blain (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Virginia, who purchased a 2017 Focus VIN 1FADP3H27HL236701 in Virginia. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that



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 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        138.    Plaintiff Phillip Priest (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Virginia, who purchased a 2019 Fiesta VIN 3FADP4BJ1KM144673 in Virginia. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.                Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden



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 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.      At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        139.    Plaintiff Rosemarie Zubrack & Justice Fox-Clark (for the purpose of this paragraph,

 “Plaintiff”) is a citizen of Virginia, who purchased a 2017 Focus VIN 1FADP3F20HL327649 in

 Virginia. Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which

 Plaintiff paid an additional $1,095.00 over the manual transmission version. Passenger safety,

 vehicle performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase

 the vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of

 the following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would



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 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                  WASHINGTON PLAINTIFFS

        140.    Plaintiff Jeremy Brown (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Washington, who purchased a 2018 Focus VIN 1FADP3M28JL254152 in Washington.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)



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 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        141.    Plaintiff Robert Nelms (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 Washington, who purchased a 2017 Focus VIN 1fadp3h23hl225811 in Washington. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from



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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

                                 WEST VIRGINIA PLAINTIFFS

        142.    Plaintiff Roberta Dutton (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of West Virginia, who purchased a 2018 Focus VIN 1FADP3F26JL267771 in West Virginia.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from




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 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.

        143.    Plaintiff Betty Ray (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 West Virginia, who purchased a 2018 Focus VIN 1FADP3F23JL226093 in West Virginia.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.



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        144.    Plaintiff Christopher Wiley (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of West Virginia, who purchased a 2017 Focus VIN 1fadp3e25hl283312 in West Virginia.

 Plaintiff’s vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid

 an additional $1,095.00 over the manual transmission version.            Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                    WISCONSIN PLAINTIFF

        145.    Plaintiff Michael Halbert (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Wisconsin, who purchased a 2017 Focus VIN 1FADP3E21HL318816 in Wisconsin. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.               Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                    WYOMING PLAINTIFFS

        146.    Plaintiff James Braswell (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of Wyoming, who purchased a 2017 Focus VIN 1FADP3H27HL343134 in Wyoming. Plaintiff’s

 vehicle was equipped with an optional PowerShift Transmission for which Plaintiff paid an

 additional $1,095.00 over the manual transmission version.              Passenger safety, vehicle

 performance, gas mileage, and reliability were all factors in Plaintiff’s decision to purchase the

 vehicle. Before Plaintiff acquired the vehicle, Plaintiff reviewed and relied on one or more of the

 following sources touting these features: (a) advertisements and information on Ford’s website;

 (b) online advertisements by Ford; (c) radio and/or televisions advertisements by Ford; (d) sales

 brochures and marketing literature prepared by Ford; (e) print advertisements by Ford; (f) news

 articles and/or consumer reviews of the subject vehicle; and (g) representations from Ford’s

 authorized dealer(s). Plaintiff also reviewed and relied on written express warranties provided by

 Ford. Plaintiff did not know and was never informed by Ford prior to purchasing the vehicle that

 it had a defective transmission, including that it is prone to premature internal wear and failure,

 that it suffers from transmission slips, bucking, kicking, jerking, harsh engagement, sudden

 acceleration, delay in downshifts, delayed acceleration, and difficulty stopping the vehicle. Had

 Ford disclosed this transmission defect, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has submitted the vehicle to Ford and its authorized dealership(s)

 for repair, but they have failed to adequately repair Plaintiff’s vehicle within a reasonable amount

 of time or after a reasonable number of repair attempts. Plaintiff’s vehicle continues to suffer from

 the defective transmission described above.     At all times, Plaintiff, has driven the vehicle in a

 foreseeable manner and in the manner in which it was intended to be used.




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                                            DEFENDANT

           147.   Defendant Ford Motor Company is a corporation organized under the laws of the

 State of Delaware and registered to conduct business in Alabama, Arizona, Arkansas, California,

 Colorado, Connecticut, Florida, Georgia, Illinois, Indiana, Kansas, Kentucky, Louisiana,

 Maryland, Michigan, Minnesota, Mississippi, Missouri, Nebraska, Nevada, New Mexico, New

 York, North Carolina, Ohio, Oklahoma, Oregon, Pennsylvania, South Carolina, Tennessee, Texas,

 Utah, Virginia, Washington, West Virginia, Wisconsin, and Wyoming. Ford Motor Company’s

 Corporate Headquarters is located at 1 American Road, Dearborn, Michigan 48126. Ford Motor

 Company designs and manufactures motor vehicles, parts, and other products for sale in the United

 States and throughout the world. At all relevant times, Defendant was and is engaged in the

 business of designing, manufacturing, constructing, assembling, marketing, distributing, and/or

 selling automobiles and motor vehicle components in Alabama, Arizona, Arkansas, California,

 Colorado, Connecticut, Florida, Georgia, Illinois, Indiana, Kansas, Kentucky, Louisiana,

 Maryland, Michigan, Minnesota, Mississippi, Missouri, Nebraska, Nevada, New Mexico, New

 York, North Carolina, Ohio, Oklahoma, Oregon, Pennsylvania, South Carolina, Tennessee, Texas,

 Utah, Virginia, Washington, West Virginia, Wisconsin, Wyoming and throughout the United

 States.

                                   JURISDICTION AND VENUE

           148.   This Court also has original jurisdiction over this lawsuit pursuant to 28 U.S.C. §

 1332(a)(1), as modified by the Class Action Fairness Act of 2005, because some Plaintiffs and

 Defendant are citizens of different states; there are more than 100 Plaintiffs; the aggregate amount

 in controversy exceeds $5 million, exclusive of attorneys’ fees, interest, and costs; and Plaintiffs




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 reside across the United States. The citizenship of each party is described further below in the

 “Parties” section.

        149.    This Court has original jurisdiction to hear this case by virtue of 15 U.S.C. §

 2310(d)(1)(A), the Magnuson-Moss Warranty Act, conferred under 28 U.S.C. § 1131. The Court

 has supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. § 1367.

        150.    Civil Rule of Procedure 20 provides “persons may join in one action as plaintiffs

 if…they assert any right to relief jointly, severally, or in the alternative with respect to or arising

 out of the same transaction, occurrence, or series of transactions or occurrences; and [] any

 question of law or fact common to all plaintiffs will arise in the action.”

        151.    As set forth herein, Plaintiffs herein all have claims that all arise from the same acts

 and occurrences, therefore joinder is appropriate based on commonality pursuant to Rule 20.

        152.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because Ford resides in

 the District Court of Delaware where it is incorporated. Additionally, Ford is subject to personal

 jurisdiction in this District since (i) Ford conducts substantial business in this District and has

 intentionally availed itself of the laws and markets of the United States and this District; and/or

 (ii) many of the acts and transactions giving rise to this action occurred in this District. Ford sells

 a substantial number of automobiles in this District, has dealerships located throughout this

 District, and the misconduct occurred in part in this District.



                                    PROCEDURAL HISTORY

        153.    This case arises from a consolidated case filed in April 2017 in the Wayne Circuit

 Court in Michigan. The case was styled Cyr, et al. v. Ford Motor Company, Case No. 2017-

 006058-NZ.



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        154.    The Cyr Plaintiffs were comprised of over 12,000 named plaintiffs, including the

 Plaintiffs herein, who filed approximately 83 actions in the Wayne Circuit Court, and, as Plaintiffs

 in a pending individual lawsuit against Ford based on alleged problems with the PowerShift

 Transmission, were automatically excluded from the nationwide class action settlement against

 Ford, Vargas v Ford Motor Company, United States District Court, Central District of California,

 Case No. 2:12-cv-08388 ABC (FFMx).

        155.     These cases advanced claims alleging the same Transmission Defects complained

 of herein.

        156.    In February 2018, Ford filed a motion seeking summary judgment of, inter alia, the

 Michigan Consumer Protection Act claims and dismissal of the non-resident Plaintiffs’ claims

 under the doctrine of forum non conveniens. Ford argued that the non-Michigan Plaintiffs’ claims

 were not properly before the court, which was located in the same Circuit as Ford’s world

 headquarters, and should be filed in a forum other than Michigan State Court. The Wayne Circuit

 Court denied Ford’s motion.

        157.    In November 2018, the Michigan Court of Appeals granted Ford leave to appeal.

 Cyr, et al. v. Ford Motor Company, Case No. 345751. On December 26, 2019, the Michigan Court

 of appeals reversed the lower court’s holding and dismissed all of the non-Michigan Plaintiffs on

 the basis of forum non conveniens, acknowledging that a trial court may only exercise its discretion

 to apply forum non conveniens provided that some other appropriate forum exists. Specifically,

 the court stated that “Appropriate forums are the site of the incident, a corporation’s state of

 incorporation or principal place of business and the state of plaintiff’s domicile.”

        158.    In February 2020, Plaintiffs applied for leave to appeal the appellate decision with

 the Michigan Supreme Court, which was denied on November 4, 2020.



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        159.    On November 25, 2020, Plaintiffs moved the Michigan Supreme Court for

 reconsideration. On July 16, 2021, that request was denied.

        160.    Plaintiffs now bring this case in accordance with the Order of the Michigan Court

 of Appeals.

        161.    Concurrently, Cyr plaintiffs from all 50 states and Puerto Rico assert claims herein.

        162.    Plaintiffs anticipate this case will be promptly transferred to the pending

 Multidistrict Litigation, In re: Ford Motor Co. DPS6 Powershift Transmission Products Liability

 Litigation, MDL No. 2814 pursuant to 28 U.S.C. § 1407, which was created by Ford for all DPS6

 cases filed nationwide, will serve the convenience of the parties and witnesses and promote the

 just and efficient conduct of this litigation. The JPML held:

        On the basis of the papers filed and the hearing session held, we find that
        these actions involve common questions of fact, and that centralization will
        serve the convenience of the parties and witnesses and promote the just and
        efficient conduct of this litigation. The actions share complex factual questions
        arising out of allegations that the DPS6 PowerShift Transmission installed in
        certain Ford Fiesta and Ford Focus vehicles is defective and negatively affects
        the drivability, safety, and useful life of the vehicles. The actions allege that
        plaintiffs' vehicles suffer from similar transmission-related problems,
        including slipping, bucking, jerking, sudden acceleration, delayed acceleration
        and downshifting, and premature wear that requires repair or replacement.
        Common factual questions include (1) whether the design or manufacturing of
        the PowerShift transmission is defective; (2) defendant's knowledge of, and
        conduct in response, to the alleged defect; and (3) whether vehicle owners and
        lessees have suffered a diminution in vehicle value or other economic damages.
        Centralization will eliminate duplicative discovery; prevent inconsistent pretrial
        rulings; and conserve the resources of the parties, their counsel, and the
        judiciary.

 The actions in MDL No. 2814 involve common factual questions arising out of allegations that the

 DPS6 PowerShift Transmission installed in certain Ford Fiesta and Ford Focus vehicles is

 defective and negatively affects the drivability, safety, and useful life of the vehicles. See In re




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 Ford Motor Co. DPS6 PowerShift Transmission Prods. Liab. Litig., 289 F. Supp. 3d 1350, 1352-

 53 (J.P.M.L. 2018).

                              FACTS COMMON TO ALL COUNTS

   OVERVIEW OF THE DESIGN AND OPERATION OF THE DPS6 TRANSMISSION

         163.    Ford introduced the DPS6 Transmission (the “DPS6”) in its Fiesta and Focus

 vehicles for the 2011 and 2012 model years, respectively.

         164.    Plaintiffs’ vehicles were manufactured by Ford and delivered to Plaintiffs equipped

 with the DPS6. Ford offered the PowerShift Transmission as the sole “automatic transmission”

 option in Plaintiff’s vehicle.

         165.    The DPS6 was designed, with input from Ford, by Getrag, a German transmission

 manufacturer. Getrag worked in concert with LuK, a German manufacturer of clutch components.

 The parts were supplied to Ford for incorporation as original equipment into Ford Focus and Fiesta

 vehicles. According to Ford, the DPS6 was supposed to provide uninterrupted torque from “twin

 internal clutches to keep changes among its six forward gears smooth and seamless, automatically.

 One clutch supports the uneven gearset, one, three and five; while the other clutch controls the

 even gears, two, four and six. The powertrain control unit that electronically integrates and

 harmonizes engine and DPS6 PowerShift automatic transmission operation always keeps the

 engine in peak efficiency range. In conjunction with six optimally spaced gears, DPS6 increases

 smoothness between gears, without engine torque falling off.”

         166.    The DPS6 is neither a traditional manual transmission, nor a typical automatic

 transmission, but rather is a computerized “automated manual” transmission.

         167.    Traditional manual transmissions use a driver-controlled clutch. By pressing and

 releasing a foot pedal, the driver causes the clutch to mechanically engage and disengage the



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 engine from the transmission, allowing the vehicle to travel continuously while the driver manually

 changes gears. The clutch in a traditional manual transmission is a “dry clutch,” incorporating at

 least one clutch disc, which is covered with a friction material (asbestos, carbon fibers). The clutch

 disc is fixed to the input shaft of the transmission’s gearbox. When the friction material on the face

 of the clutch disc is pressed against the engine’s rotating flywheel (which is done with a “pressure

 plate” utilizing strong springs), the clutch disc “locks onto” the flywheel with tremendous force,

 allowing the engine’s flywheel to turn the transmission’s input shaft with virtually no slippage or

 friction loss. Because a dry clutch allows for transfer of virtually all the engine’s power to the

 transmission without friction losses, a properly designed and operating manual transmission is

 highly fuel-efficient. However, operation of a manual transmission can be difficult for less

 experienced drivers and can result in the vehicle jerking or shuddering during improper operation,

 manual transmissions are disfavored by some consumers. Moreover, the dry clutch will fail to

 operate properly if the friction material is contaminated by oil from either the engine or the

 transmission’s gearbox.

        168.    Traditional manual transmissions are characterized by gear ratios that are selectable

 by locking selected gear pairs to the output shaft within the gearbox. All gears within the gearbox

 are and must remain lubricated by oil. The gears are arranged on parallel shafts: the input shaft,

 which is driven by the engine’s rotation power transferred by the clutch as discussed above, must

 be sealed to prevent gearbox oil from contaminating the dry clutch. The output shaft transmits

 rotation power out to the vehicle’s wheels. Sometimes a different shaft, known as a countershaft

 or layshaft, is arranged in parallel alongside the output shaft; in those applications, the layshaft is

 turned by the input shaft and from there, essentially serves as the input shaft for purposes of the

 gear arrangements and engagements with gears on the output shaft. The input shaft, or layshaft,



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 and its gears generally rotate at the same speed as the engine when the clutch disc is pressed to the

 flywheel. Each input shaft gear is enmeshed with companion gears on the output shaft; the gears

 slide along the shafts, when selected by the driver using the shift lever, to achieve different overall

 gear ratios for launching from a standstill, lower speeds, higher speeds, and so on. However,

 because the various pairs of gear sets are not always engaged with each other, shifting requires the

 gear speeds to be precisely synchronized and can result in difficult gear engagements, particularly

 for inexperienced drivers or with worn gear sets or worn synchronizers.

        169.    In contrast, typical automatic transmissions free the driver from operating the dry

 clutch using a fluid-filled device called a torque converter. The torque converter is a fluid coupling,

 in which two turbines oppose each other within a sealed fluid-filled container. The engine is

 connected to one turbine and the transmission’s input shaft is connected to the other. When the

 engine rotates its turbine, the moving and pressurized fluid rotates the opposite turbine causing

 power to be transferred to the transmission’s input shaft. Thus, the torque converter substitutes for

 a dry clutch, transmitting power from the engine to the transmission’s input shaft through a fluid

 medium rather than direct mechanical engagement to the flywheel.

        170.    Conventional automatic transmissions are characterized by more complicated

 “planetary gear sets,” rather than the parallel gears on shafts as in a typical manual. The

 conventional automatic transmission’s gearbox contains an input shaft with gears (known as “sun

 gears”) that are surrounded by three or four smaller gears (known as “planetary gears”). The

 planetary gears are held in position relative to each other by a brace (known as a “carrier”). The

 planetary gears surround and are enmeshed with the sun gear. Meanwhile, the set of planetary

 gears is itself surrounded by (and each planetary gear is enmeshed with) an outer ring gear. If the

 sun gear is rotated and the ring gear held stationary, the planetary gears rotate in an orbit around



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 the sun gear, thereby turning the carrier (and anything connected to the carrier). If the sun gear is

 rotated and the planetary carrier held stationary, the ring gear (and anything connected to that) will

 rotate around the entire assembly. The arrangements of sun, ring, and planetary gears are moved

 hydraulically forward and backward along the input shaft, and the different components variously

 allowed to spin or held stationary, to result in various overall gear ratios. As a result of this

 arrangement, the gear shifts are typically smoother (because the sun, planetary, and ring gears are

 constantly engaged with each other).

        171.    Automatic transmissions offer increased comfort and convenience to drivers

 because the torque converter’s fluid coupling transmits power from the engine to the transmission

 smoothly and predictably, and because the planetary gear arrangement is more stable and smoother

 in its operation. Also, there is no need to keep any friction surfaces “dry” or separate from the

 lubricating transmission fluid. However, conventional automatics are generally less fuel efficient

 than manual transmissions because the torque converter transfers power through fluid less

 efficiently than a mechanical dry clutch, and a conventional automatic’s hydraulic shifts are not as

 “positive” as a manual transmission’s shifts.

        172.    Plaintiffs are informed and believe, and therefore allege, that Ford utilizes and has

 always utilized manual transmissions featuring a dry clutch as described above and featuring a

 gearbox housing input and output gears on parallel input and output shafts. Plaintiffs are informed

 and believe, and thereby allege, that Ford has never, in any instance, equipped any Ford vehicle

 for sale to the public with a manual transmission that used any different general type of clutch, nor

 any different general type of gearbox.

        173.    Plaintiffs are informed and believe, and therefore allege, that Ford utilizes, and at

 all times prior to 2010 had always utilized, automatic transmissions featuring a torque converter



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 to provide a fluid coupling as described above, and featuring a gearbox housing planetary gear sets

 as described above, with a few notable exceptions: the continuously variable transmission (CVT)

 recently developed and used in some Ford vehicles; the dual-dry-clutch transmission used in the

 $200,000+ Ford GT; the dual-wet-clutch transmission used in some models in the European

 market; and the DPS6 “automatic” transmission used in Plaintiffs’ vehicles.

        174.    Plaintiffs are informed and believe, and therefore allege, that Ford has never, in any

 other instance, equipped any Ford vehicle for sale to the public with an “automatic” transmission

 that used any different general type of power coupling, nor any different general type of gearbox.

        175.    Ford marketed and sold its DPS6 PowerShift Transmission as an automatic

 transmission that offered the “best of both worlds” combining a manual transmission’s fuel

 economy with an automatic transmission’s ease of operation and shift quality.

        176.    Ford’s DPS6, while sometimes referred to as an automatic, is a set of computerized

 manual transmissions. It lacks a torque converter, instead using two clutches to mechanically

 engage and disengage the engine and transmission. Whereas similar “automated manual”

 transmissions on the market use “wet” clutches bathed in oil, Ford’s DPS6 clutches lack the oil

 pumps and other components of a wet clutch system, and instead operate “dry.”

        177.    Ford incorporated the DPS6 into Fiesta and Focus vehicles to meet heightened

 governmental and consumer expectations for fuel economy, performance, convenience, and

 efficiency. Ford designed and marketed its DPS6 PowerShift Transmission as a more advanced

 and fuel-efficient automatic transmission. According to Ford’s press release dated March 10, 2010,

 “PowerShift with dry-clutch facings and new energy-saving electromechanical actuation for

 clutches and gear shifts saves weight, improves efficiency, increases smoothness, adds durability




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 and is sealed with low-friction gear lubricant for the life of the vehicle. The transmission requires

 no regular maintenance.”

        178.    In theory, a computer-controlled, automated manual transmission may provide the

 convenience of an automatic transmission without sacrificing the fuel efficiency and shift speed

 of a manual transmission. In practice, however, Ford’s PowerShift Transmission is plagued by

 numerous problems and safety concerns.

                                       THE DPS6 DEFECTS

        179.    The DPS6 is defective because it suffers from the following safety-related

 mechanical and electronic failures, which arose following the initial launch of the transmission in

 late 2010 (for the 2011 MY Fiesta) and continued throughout the next six-years: Wet Clutch”

 Shudder Attributed to Leaking Input Shaft Seals, Mechatronic Actuation Module (MAM) Failures,

 “Dry” Clutch Shudder, Software Calibration Issues (collectively the “Transmission Defects”).

        180.    These Transmission Defects, individually or collectively, caused the following

 “symptoms” in the DPS6’s performance: constant gear slipping, bucking, kicking, jerking, harsh

 engagement, premature internal wear, sudden acceleration, delayed downshifts, delayed

 acceleration, difficulty stopping the vehicle, and, eventually, premature transmission failures.

        181.    Such Transmission Defects that cause passenger vehicles to jerk, buck, suddenly

 lurch forward, delay acceleration, delay deceleration, and/or suddenly lose forward propulsion

 present a safety hazard – particularly when they occur without warning – because they severely

 compromise the driver’s ability to control the car’s speed, position, acceleration (including from a

 stop), and deceleration.

        182.    For example, these conditions make it difficult to safely merge into traffic. Even

 more troubling, the Transmission Defects can cause the vehicle to fail to downshift and decelerate,



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 but instead continue to transfer power to the transmission and even surge the engine’s RPMs, even

 when the brakes are depressed. As a result, drivers of vehicles equipped with the DPS6 have

 reported their vehicles lurching forward into intersections and at red lights, despite applying their

 brakes to stop the car.

        183.    The Transmission Defects also causes premature wear to the DPS6’s clutch plates

 and other internal components, which results in premature transmission failure and requires

 expensive repairs, including premature transmission replacement.

        184.    Almost immediately after it began selling DPS6-equipped vehicles, Ford began

 receiving complaints and other information that the DPS6 PowerShift Transmission was not

 working properly or “as advertised.” For example, in a 2011 New York Times review of the Ford

 Focus, the reviewer stated that “Ford programmed the PowerShift Dual-clutch transmission to

 change gears in odd and infuriating ways” and that “[t]he transmission is often in the wrong gear

 at the wrong time, resulting in jerks, pauses and lethargic acceleration.”

        185.    In response to these criticisms, Greg Burgess, an engineer at Ford, conceded in the

 same New York Times article that “[i]t is quite a challenge to deliver something that is very, very

 fuel efficient and yet feels like a conventional automatic, and there are some balances and some

 trade-offs that we make.”

        186.    In response to complaints about the Transmission Defects, in 2010 and 2011, Ford

 issued multiple Technical Service Bulletins (“TSBs”) to its dealers and authorized repair facilities

 acknowledging defects in the DPS6. Ford’s TSB from September 2010, covering the 2011 Ford

 Fiesta, informed dealers and service personnel of “concerns such as no engagement or intermittent

 no engagement in Drive or Reverse when shifting from Park to Drive or Reverse, grinding noise




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 during engagement, and/or check engine light with transmission control module (CM) diagnostic

 trouble code…”

          187.   Similarly, Ford’s TSB released on January 1, 2011, covering the 2011 Ford Fiesta

 with the PowerShift Transmission, informs dealers and service personnel of problems with the

 PowerShift Transmission causing “a loss of power, hesitation, surge, or lack of throttle response

 while driving.”

          188.   Ford’s TSB from March 31, 2011, also covering the 2011 Ford Fiesta, informs

 dealers of problems where the PowerShift Transmission “exhibit[s] a rattle/grind noise in reverse

 only.”

          189.   Ford issued two separate TSBs in May 2011, both covering the Ford Fiesta. These

 TSBs addressed problems with the DPS6 including “concerns in Drive or Reverse when shifting

 from Park to Drive or reverse, no engagement, delayed engagement, intermittent engagement,

 noise during engagement…”

          190.   Another Ford TSB released in September 2011 advised dealers to reprogram the

 transmission computer if 2011 Ford Fiesta owners complained about “hesitation when accelerating

 from a low speed after coast down, harsh or late 1-2 upshift, harsh shifting during low-speed tip-

 in or tip-out maneuvers and/or engine r.p.m. flare when coasting to a stop.”

          191.   The 2012 Ford Focus was the subject of a September 2011 Ford TSB, which

 informed dealers and service personnel of transmission problems including: “RPM flare on

 deceleration coming to a stop, rough idle on deceleration coming to a stop, intermittent engine idle

 fluctuations at a stop, intermittent vehicle speed control inoperative, intermittent harsh

 engagement/shift…”




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            192.    In May of 2012, Ford issued a “Customer Satisfaction Program: Program Number

 12B37.” In a letter sent to 2012 Ford Focus drivers, Ford indicated that drivers “may experience

 rough or jerky automatic transmission shifts. In addition, the vehicle may experience roll back

 when the driver is transitioning from the brake pedal to the accelerator pedal while on a slight

 incline.” Ford, however, did not issue a recall and did not warn drivers of the safety risks associated

 with these known problems – even though, as alleged below, Ford was obligated to so do.

      FORD KNEW ITS DPS6 POWERSHIFT TRANSMISSION WAS DEFECTIVE AND
        UNSAFE EVEN BEFORE IT BEGAN SELLING DPS6-EQUIPPED VEHICLES

            193.    Prior to the DPS6’s introduction into the marketplace, Ford determined that a

 component failure that led to an “unintended neutral” – i.e., a loss of motive power – was assessed

 as the highest severity risk factor on its Failure Mode and Effects Analysis (FMEA).

            194.    Ford made this FMEA determination by employing a standard risk-assessment

 technique to determine the myriad ways this dual dry-clutch transmission might fail, the likelihood

 of such failures, and the severity of the consequences.

            195.    The FMEA process, which Ford itself helped pioneer, ranks the severity of

 component failures on a ten-point scale, with the high end of the scale denoting the most severe

 failures.1

            196.    Specifically, a rank of “10” means a failure mode that is “hazardous without

 warning,” described as “very high severity ranking when a potential Failure Mode affects safe

 vehicle operation and/or involves noncompliance with government regulation without warning.”2




 1
     Failure Modes and Effects Analysis, Ford FMEA Handbook, version 4.2; pg. 1-4, 3-33; December 2011
 2
     VGS 20346048, Severity 10 TCU Connector Not Error Proofed; Greg Goodall; October 3, 2008.

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           197.     A rank of “9” means a mode that is “hazardous with warning,” also described as

 “very high severity ranking when a potential high failure mode affects safe vehicle operation

 and/or or involves noncompliance with government regulation with warning.”3

           198.     Failure modes with high severity ranks must be designed out of the product, or have

 robust countermeasures designed into the product, or (if, despite the former two, they occur in the

 field) lead to a recall.

           199.     Ford and Getrag engineers identified a number of failure modes in the DPS6 that

 could result in “Unintended Neutral Events” – meaning the transmission would disengage the gears

 and slip into the neutral position, even though the driver had selected a drive gear and the gear

 shift lever remained in the driver selected position, and regardless of the vehicle’s speed. Such

 Unintended Neutral Events resulted in the vehicle losing drive/motive power from the engine,

 which poses a safety hazard for a number of reasons, including, inter alia, the risk of collision; the

 driver’s inability to drive the vehicle out of dangerous traffic; and the risk to occupants when

 stranded in high-speed road conditions. Moreover, government regulations require transmissions

 to provide engine braking during deceleration, which is nonexistent during an Unintended Neutral

 Event.

           200.     During 2007 and 2008, Ford and Getrag argued as to how such an unintended

 neutral event should be rated/classified as a safety issue. In these arguments, Ford corporate

 officials, including Ford’s Office of the General Counsel (OGC), argued that a failure mode that

 led to an unintended neutral event should be ranked as the highest or most severe safety type of

 safety problem, referred to as a Severity Level 10 (“SEV 10”).




 3
     VGS 20346048, Severity 10 TCU Connector Not Error Proofed; Greg Goodall; October 3, 2008.

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         201.    On February 20, 2008, Mr. Kirchhoffer and Joe Wickenheiser (a Ford “Small Car

 External Investigations and TREAD Reporting Manager”) shared an Audi recall involving a

 “competitive Electro-hydraulic clutch actuator” in which a small number of 2004 Audi TT models

 had a safety defect that could lead to degraded clutch performance: “The clutch could lose its

 ability to provide torque to the transmission without a prior warning, which could allow the vehicle

 to roll, increasing the risk of a crash.”4 Mr. Kirchhoffer noted in response: “This info is very helpful

 with respect to ‘Unintended Neutral.’ This is exactly the same event we are trying to avoid

 occurring to the customer. As a benchmark to be cascaded to the team – very helpful. It reinforced

 the effort to keep SEV=10 and drive the detection on manufacturing to level =1 to avoid this

 happening – much appreciated.”5

         202.    Further, Dave Garrett, a Ford Campaign Prevention Specialist, opined to the

 Ford/Getrag team that “[i]n practice, I urge engineers to increase the FMEA severity to 10, for any

 failure mode that has caused a previous Safety or Emission related recall.”6

         203.    As detailed, infra, Ford has issued safety recalls on other vehicle models for failure

 modes that caused a stall or loss of motive power event, including in circumstances when the driver

 was forewarned.

         204.    Despite the stated concerns of its Office of General Counsel, Vehicle Safety Office,

 and Quality Technical Specialists, Ford’s “senior management team” chose to adopt Getrag’s

 position and ultimately rated the Unintended Neutral failure mode as merely a SEV “8.”

         205.    For example, on September 25, 2008, Mr. Kirchhoffer wrote an internal email to

 Ford’s DPS6 team entitled, “Unintended Neutral Severity Rating: Clear Direction,” in which he



 4
   VGS20386981; RE: Audi VOQ.xls; Johann Kirchoffer; Ford Motor Company; February 20, 2008.
 5
   VGS20386981; RE: Audi VOQ.xls; Johann Kirchoffer; Ford Motor Company; February 20, 2008.
 6
   VGS7-0058850; Ford Severity Classification; David Garrett; Ford Motor Company; June 15, 2007.

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 explained that “[p]er direction from our senior management team please be advised that: 1) The

 Unintended Neutral Event shall be renamed to ‘Loss of Drive’; 2) The SEV Classification is

 confirmed to SEV = 8….”

    AFTER BEGINNING TO SELL DPS6-EQUIPPED VEHICLES, FORD RECEIVED
    ADDITIONAL INFORMATION THAT THE TRANSMISSION DEFECTS WERE
         DANGEROUS, REPORTEDLY CAUSING ACCIDENTS, INJURIES

        206.    The unintended neutral failure events plagued both Fiesta and Focus vehicles

 equipped with the DPS6, and these safety defects continue to this day. For example, on February

 22, 2011 (after the launch of the Fiesta and in preparation for the launch of the Focus), DPS6

 Transmission Systems Engineer, Tom Hamm, wrote an email to Ford engineers David Lempke

 and Piero Aversa regarding the upcoming 2012 Focus vehicle. Mr. Hamm stated, “Please tell me

 we are not going to launch this vehicle with the same issue we have on the Feista [sic]?”

        207.     Customers consistently reported that the transmission lost power at inopportune

 times, leaving drivers unable to maneuver in traffic or startling other drivers, leading to crashes,

 and near crashes.

        208.    On September 20, 2011, Charles Baldree (a Ford sales manager for 30 years)

 contacted Mr. Lempke to share his own experiences in which a DPS6 transmission simply stopped

 working in third gear – a dangerous condition in certain driving scenarios:

        Just thought I would provide some feedback, and find out when the new TSB will
        be out. I am still having problems with my transmission (shuttering, hesitating,
        whining noise, etc.) but this week a couple of new ones surfaced. I experienced it
        twice. Both time I think the car was probably in about third gear when the
        transmission seemed to go in “free fall.[sic] It simply stopped working. After a few
        seconds, the transmission kicked back in with a loud thump and shutter. The loss
        of power could have been serious in on-coming traffic. The original TSB helped
        with the shift points, but I am really hoping the second TSB will fix the remaining
        problems. I was looking at all the posts on Focus Fanatics and believe me there are
        many, many 2012 Focus owners who are up in arms over the Getrag transmission.
        I think if Ford doesn’t do something quick there will be a revolt. Owners are so
        mad they are bad mouthing the product something furious. Also, some of them

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        think there is a serious safety issue with the transmission and plan to contact the
        appropriate government authority to demand a recall. Other owners are asking for
        the Company to provide an extended warranty on the transmission.7

        209.    Ford was well aware that it was likely that failures, complaints, crashes causing

 property damage and injuries were likely to continue.

        210.    The DPS6 transmission suffers from multiple safety-related mechanical and

 electronic failures that emerged from the initial launch of the transmission in late 2010 (for the

 2011 MY Fiesta) and continuing over a six-year period due to the Transmission Defects referenced

 supra. According to Ford’s internal documentation, these Transmission Defects include:

        Because of a mismatched coefficient thermal expansion between the printed circuit
        board and the ATIC chips, over time, thermal cycling and mechanical strain will
        produce solder cracks on multiple ATIC91 ATC106 pins.8 This leads to a loss of
        communication and an unintended neutral. Ford first learned of this issue in January
        2010, when vibration and rapid change of temperature testing found pin failures
        and suspected solder failures: “Parts are being prepared for in depth solder joint
        investigation.”9

        Software Calibration Issues. “Another issue that surfaced in 2016 was Ford’s
        decision to release a software calibration that allowed power loads to the clutch that
        could result over time in the failure of either the friction plate or the pressure plates.
        Notably, software calibration issues have plagued the DPS6 Transmission since
        before its launch.

        Delayed Crank Failure. In 2016, Ford identified a delayed crank failure defect with
        the DPS6 that was due to the “clutch actuator lever component inside the
        transmission.”10

        211.     As a result of one or more of these defects, acting either individually or in

 combination, the PowerShift Transmissions in Ford Focus and Fiesta vehicles consistently slip,




 7
   VGS20044739; Subject: 2012 Focus Transmission Issues; Charles Baldree; 2011.
 8
   VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx
 Presentation, November 19, 2017.
 9
   VGS7-0076353; GETRAG Summary for January 29,2010 Conti meeting: handout for today’s 6DCT250 meeting;
 Ibrahim Kaddouh; Ford Motor Company; January 29, 2010.
 10
    Ford DPS6-SAC 00045387; RE: QSF do Fiesta – info; Colin Menapace; Ford Motor Company; November 29,
 2016.

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 buck, kick, jerk, harshly engage; and have premature internal wear, sudden acceleration, delay in

 downshifts, delayed acceleration, create difficulties in stopping the vehicle, and, eventually,

 premature transmission failure.

        212.    The Transmission Defects cause unsafe conditions in vehicles equipped with the

 PowerShift Transmission, including, but not limited to suddenly lurching forward, delayed

 acceleration, and sudden loss of forward propulsion (i.e., the “unintended neutral events”

 referenced above). These conditions present a safety hazard because they severely affect the

 driver’s ability to control the vehicle’s speed, acceleration, and deceleration. For example, these

 conditions make it difficult to safely merge into traffic. Even more troubling, the Transmission

 Defects can cause the vehicle to fail to downshift and decelerate, but instead continue to transfer

 power to the transmission and even surge the engine’s RPMs, when the brakes are depressed. As

 a result, drivers of vehicles equipped with the PowerShift Transmission have reported their

 vehicles lurching forward into intersections at red lights due to the failure of their braking efforts

 to stop the vehicle.

        213.    Plaintiffs are informed and believe, and on that basis allege, the Transmission

 Defects also cause premature wear to the PowerShift Transmission’s clutch plates and other

 components, which results in premature transmission failure and requires expensive repairs,

 including premature transmission replacement.

        214.    As early as 2010, Ford knew or should have known that the PowerShift

 Transmission was defective.

    DESPITE KNOWING THAT THE DPS6 POWERSHIFT TRANSMISSION HAD
    SAFETY DEFECTS, FORD FALSELY AND PUBLICLY REPRESENTED – TO
   PLAINTIFFS, CONSUMERS, AND GOVERNMENT REGULATORS – THAT THE
   PROBLEMS WITH THE DPS6 TRANSMISSION WERE NOT SAFETY-RELATED




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         215.    In its official communications with national agencies charged with consumer

 protection or safety, Ford characterized the DPS6’s myriad defects as customer satisfaction or

 transmission quality issues and denied that they had caused any (or only a few) crashes.

         216.    In a November 2014 presentation to the NHTSA, Ford purported to address the

 solder cracks on the ATIC chips in the MAM, transmission shift quality, rollback, the shudder

 problem and the leaking input shaft seals problems detailed above. But in this presentation, Ford

 did not mention any threats to safety, nor did Ford include information about crashes and injuries

 that were alleged to have been caused by the loss of motive power and other transmission defects.11

         217.    Ford acknowledged internally that as of May 31, 2015, it had received 33,408

 warranty reports alleging “loss of motive power” & “no starts” on vehicles with DPS6

 transmissions identified in warranty analysis in all regions based on the MAM communications

 concerns detailed above.”12

         218.    In March 2016, Ford (via its wholly owned subsidiary Ford of Australia) made a

 similar presentation to the Australian Competition and Consumer Commission (ACCC) about the

 complaints regarding the DPS6 by enumerating its actions to repair vehicles via a Technical

 Service Bulletin. A month earlier, the Australian Department of Infrastructure and Regional

 Development, which assists the ACCC on matters of vehicle safety, initiated an investigation based

 on “several complaints over the past four years relating to 2010- 2014 Ford Focus and Ford Fiesta

 transmissions. “The Department considers reports of safety issues of non-compliant standards, and

 where a potentially systemic issue is identified, the Department may investigate further.” The

 DIRD sent seven complaints and asked Ford if it had received similar complaints and asked, “Is



 11
    VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx
 Presentation, November 19, 2017.
 12
   VGS7-0179114; Field Review Committee Fact Sheet Draft; undated.

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 Ford aware of any reported safety incidents attributed to the dual clutch transmissions in Focus or

 Fiestas?”13

        219.    In January 2017, Ford made yet another similar presentation to the Thailand Office

 of the Consumer Protection Board, detailing the wet and dry shudder issues. It did not mention the

 solder cracks in the MAM. Again, Ford asserted:

        The quality issues do not pose safety concerns • Wet and dry clutch shudder affects
        drive quality only. Ford’s Automotive Safety Office (ASO) met with the US
        National Highway Traffic Safety Administration (NHTSA) to review the
        PowerShift quality issues and share field data. NHTSA reviewed the data, asked
        for additional data, and has not identified a safety defect. Ford Thailand has not
        received any reports of injuries relating to the PowerShift transmission quality
        concerns. Ford ASO has continued to monitor field data and has not identified a
        safety issue.14

        220.    In press statements, Ford continued to assert that the DPS6’s multiple defects did

 not threaten safety, nor did they cause crashes.

        221.    For example, in a statement intended for the European press about the leaking input

 shaft seals, Ford stated: “Is this a safety issue for customers? No. Our team has investigated every

 report. After an exhaustive engineering evaluation, we have identified the concern as a shift-quality

 issue, and not safety related.”15

        222.    In a statement intended for the Chinese press Ford similarly stated: “Is his a safety

 issue? Have you received any reports of injuries or accidents related to this issue? [PD] No.”16

        223.    Contrary to these definitive public statements, in private/internal corporate

 communications Ford officials described the MAM failures as longstanding safety hazards and




 13
    Ford-DPS6-SAC- 00021948; Ford Focus and Fiesta Transmission Complaints [SEC=UNCLASSIFIED]; Caitlin
 Arnold; Department of Infrastructure and Regional Development.
 14
    Ford-DPS6-SAC 0012328; Meeting with OPCB; Ford Motor Company; January 20, 2017.
 15
    VGS5-00324037; DPS6 Quality Issue - European Perspective; Ford Motor Company.
 16
    VGS7-0130891; Questions to be answered; Ford Motor Company.

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 acknowledged that the cracks in the solder joints, along with the dry shudder and leaking input

 shaft seals defects were linked to crashes, injuries and one death.

         224.    In May 2011, a 2011 Fiesta was brought into service for a condition in which the

 vehicle went forward while in reverse gear. An email exchange between Ford engineers David

 Lemke and Tom Hamm noted: “Tom…make the call down there ASAP.. find out more details..

 Ford Safety Office wants to get involved.”17 And in another email related to this vehicle Hamm

 asks a colleague to prevent the dealer from swapping out the vehicle’s transmission before they

 can take a closer look: “I wouldn’t be asking if it wasn’t a safety issue.”18

         225.    In August 2012, Ford officials prepared a “white paper” to outline the problem:

 “Ford vehicles equipped with DPS6 transmission may experience a loss of motive power due to

 an issue with the DPS6 MAM. Approximately 2.1M global vehicles have been produced with

 potential for this concern. A Permanent Corrective Action (PCA) has been identified and will be

 in production by March 2015. Purchasing is working with the MAM supplier to increase

 production capacity for additional service parts supply.”19

         226.    In an August 13, 2012, internal email exchange regarding the DPS6 MAM among

 Ford transmission engineers, Jay Richardson of Ford’s “6F15/DPS6/MPS6/FN Transmission

 Planning Powertrain Strategy & Business Office” noted: “This being said, Roger has passed on

 that this is a Safety issue. If that is true, then this is a must do regardless of business case. The

 paper needs to clearly point out this issue.”20




 17
    VGS20039682; FW: Report Summary for the CQIS Report#BEFAK003; David Lempke; May 9, 2011.
 18
    VGS20039744; RE: Vehicle located at Hampstead, N.Y. Tom Hamm; May 10, 2011.
 19
    VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
 Motor Company; 2014.
 20
    VGS20149430; DPS6 NG MAM Paper; Jay Richardson; Ford Motor Company; August 13, 2012.

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         227.    In 2013 (contrary to Mr. Kwasniewicz’s later assertion), Ford and Getrag engineers

 were able to witness first-hand DPS6 safety concerns, such as the “slingshot” behavior:

         John and I were at a dealer last week and invited the Getrag team to come along- to
         get some real world feel of tech issues - unfortunately the guy didn’t have bring
         equipment with him - we drove a vehicle that had a sling shot affect during slight
         power on down shifts what do you do for that one??? tell customer its normal and
         they wasted their time bringing it in, perform the IDS routines and adaptive drive
         and see if that helps or slap a TCM or a clutch into it - or both. These are the
         situations we need deeper diagnostics.21

         228.    In January 2014, Ford issued a “White Alert,” defined as a “report of possible safety

 or regulatory concern,” for a customer concern described as “an engine stall while driving, hard to

 start.”22

         229.    In a March 26, 2014, internal email exchange that included Gunnar Hermann, Ford

 of Europe’s vice president for quality and Mr. Kwasniewicz, Ford employees admitted that the

 stalling reports were safety concerns: “Ted, Scott during my visit here in Israel, I was confronted

 with 4 cases, where stall conditions occurred while driving. This is clearly a safety related issue.

 Can you share your workplans please, need to understand how far we are away from a solution. I

 would appreciate your feedback.”23

         230.    In January 2015, an engineer discussing a Field Service Action related to the MAM

 defect noted that solder cracks on ACT 91 were a safety hazard: “Not sure 106 DTC’s should be

 included as they don’t have the safety issue the 91 does ... as they maintain ASM 3 speed.24

         231.    Over a two-year period from September 2014 to August 2016, Ford engineers

 opened three 14D investigations – one into the MAM/ATIC chip failures, one into the leaking




 21
    RE: AVL Data from Ford Fiesta/Focus; Jeremiah Cannon; Ford Motor Company; April 4, 2013.
 22
    VGS20207472; RE: Israel White Alert for Stall; Mark Thompson; Ford Motor Company; January 22, 2014.
 23
    Subject: AW: Israel White Alert for Stall; Gunnar Hermann; Ford Motor Company; March 26, 2014.
 24
    VSG7-0163883 RE FSA; Jerimiah Cannon; Ford Motor Company; January 14, 2015.

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 input shaft seal problem and one into the dry shudder problem. A 14D is often a precursor to a

 recall. According to Ford’s FMEA Handbook:

         Before an automotive manufacturer engages in a campaign, there has been thorough
         investigation and analysis of the issue. Often this analysis begins with a Global 8D
         where the root cause which generated the in field defect to occur is determined.
         Additionally, the “escape” root cause is determined. In other words, how did the
         product testing miss this defect? Corrective actions are targeted at both items and
         implemented as part of the correction to the vehicles in question. When an issue is
         raised to a recall, the Global 8D will have additional information added, and it will
         become a 14D. Both of these investigations characterized the problems as design
         defects and noted crashes and injuries associated with these defects.25

         232.    On or about September 2014, Ford engineers initiated a 14D to analyze the leaking

 input shaft seal problem and noted: “Ford Transmission Driveline Engineering (TDE) has sealing

 system design rules that apply to internal designs.

         233.    As noted, supra, Ford did not share with various governmental agencies the extent

 of its knowledge of the various defects, nor of the crashes and injuries associated with them.

 Indeed, the NHTSA review into the DPS6 transmission defects never led to an actual defect

 investigation because Ford never disclosed the full details about the safety issues.

         234.    As a result, Ford was successful in avoiding both a rapid decline in sales and safety

 recalls by hiding the DPS6 safety defects from consumers and regulators.

         235.    Rather than issue safety recalls for a problem Ford could not “fix,” Ford instead

 launched four different “Special Customer Service Campaigns” from 2011 to 2016, which merely

 extended the warranty duration for Focus and Fiesta vehicles plagued by leaking input shaft seals

 and the MAM solder cracks.26 In addition, Ford issued no fewer than 17 Technical Service




 25
   FMEA Handbook; Version 4.2; Pg Glossary-2; Ford Motor Company 2011.
 26
   Customer Satisfaction Program 11B31, Ford Motor Company, January 13, 2012; Customer Satisfaction Program
 14M01; Ford Motor Company; July 21, 2014; Customer Satisfaction Program 14M02; Ford Motor Company;
 February 20, 2015; Customer Satisfaction Program 15B22; Ford Motor Company; August 4, 2015.

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 Bulletins (TSBs) from 2010 to 2016 outlining Ford-recommended repair procedures for a litany

 of DPS6 Transmission problems.

         236.     In July 2017, the Australian Competition and Consumer Commission initiated

 proceedings against Ford, “alleging that it engaged in unconscionable and misleading or deceptive

 conduct and made false or misleading representations in its response to customer complaints.”

 Specifically, the ACCC alleged that Ford consistently “lied to its customers about the nature of the

 defect – blaming it on their driving styles, rather than the transmission. About 35,000 vehicles sold

 in Australia had at least one repair relating to the DPS6 transmission, yet Ford refused to provide

 a refund or replacement vehicle to consumers, even after multiple repairs did not fix the issues. In

 most cases, Ford only provided replacement vehicles in accordance with its “PowerShift

 Ownership Loyalty Program,” which required consumers to make a significant payment [$7,000]

 towards a replacement vehicle.”27

         237.     In April 2018, Australia’s Federal Court ordered Ford to pay a (AUS)$10 million

 fine for “unconscionable conduct.” In addition, Ford had to establish a program to review customer

 requests for refunds or replacement vehicles made between May 1, 2015, and November 1, 2016,

 and to provide customers with access to more information about their cars, including the history

 of manufacturing defect repairs performed on their vehicles.28

         238.     In 2018, Ford was forced in a civil trial in Thailand to compensate 291 Focus and

 Fiesta owners for selling substandard vehicles. In the country’s first verdict in a class-action ruling,

 the South Bangkok Civil Court ordered Ford Sales & Service to pay between 20,000 and 200,000




 27
  ACCC takes action against Ford; press release; Australian Competition & Consumer Commission; July 27, 2017.
 28
  Court orders Ford to pay $10 million penalty for unconscionable conduct; press release; Australian Competition &
 Consumer Commission; April 26, 2018.

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 baht each, plus a 7.5% interest rate a year, for repair costs and lost time. “The award was for the

 production of unsafe, substandard and defective vehicles which put drivers at risk.”29

      FORD FAILED TO COMPLY WITH ITS REGULATORY OBLIGATIONS AND
                      REPORTING RESPONSIBILITIES

           239.   As a global automaker, Ford is aware of its safety recall obligations under

 controlling U.S. law; and has issued safety recalls for vehicles with defects that cause unintended

 stalls.

           240.   This controlling U.S. law includes, but is not limited to, Title 49, section 573 of the

 Code of Federal Regulations, entitled, “Defect and Noncompliance Responsibility and Reports,”

 sets forth the obligations and responsibilities of motor vehicle manufacturers such as Ford under

 49 U.S.C. §§ 30116-30121 (a portion of the National Traffic and Motor Vehicle Safety Act)

 regarding safety-related defects and noncompliance with Federal Motor Vehicle Safety Standards

 (FMVSS).30 Among those obligations are reporting requirements to the National Highway Traffic

 Safety Administration (“NHTSA”) to inform the agency of defective and noncomplying vehicles

 and equipment, and to allow NHTSA to assess the adequacy of manufacturers’ defect and

 noncompliance notification campaigns, of the corrective action, the owner response, and to

 compare the defect incidence rate among different groups of vehicles.31 Manufacturers are required

 to furnish a report to NHTSA “for each defect in his vehicles or items of original or replacement

 equipment that be or the Administrator determines to be related to motor vehicle safety, and for

 each noncompliance with a motor vehicle safety standard in such vehicles or items of equipment

 which either be or the Administrator determines to exist.”32


 29
    Ford Thailand Ordered to Compensate Focus and Fiesta Owners for Selling Substandard Vehicles; Chiang Raj
 Times; September 22, 2018.
 30
    49 CFR § 573.
 31
    49 CFR § 573.2.
 32
    49 CFR § 573.6.

                                                      155
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            241.    Further, under the Motor Vehicle Safety Act, 49 U.S.C. 30101, “motor vehicle

 safety” is defined in relation to NHTSA’s enforcement and regulatory authority as the “the

 performance of a motor vehicle or motor vehicle equipment in a way that protects the public

 against unreasonable risk of accidents occurring because of the design, construction, or

 performance of a motor vehicle, and against unreasonable risk of death or injury in an accident,

 and includes nonoperational safety of a motor vehicle.”33 This regulation sets a “5 working day”

 deadline for a manufacturer to make such notification:

            Each report shall be submitted not more than 5 working days after a defect in a
            vehicle or item of equipment has been determined to be safety related, or a
            noncompliance with a motor vehicle safety standard has been determined to exist.34

            242.    Plaintiffs are informed and believe, and on that basis allege, that Ford violated this

 reporting requirement by failing to report the safety-related defects, accidents, incidents and other

 matters alleged above to NHTSA within the mandatory five working day period.

            243.    Moreover, Ford consciously avoided a recall of the DPS6 transmission by claiming

 to several governmental authorities around the globe, including NHTSA, that the DPS6

 transmission’s multiple malfunctions only amounted to “customer satisfaction issues” and had not

 been linked to crashes, injuries and fatalities.

            244.    Ford understood its obligations under federal regulations to report these safety

 defects to the NHTSA, but rather than comply with federal law, Ford instead created a false

 narrative to NHTSA to forego a safety recall by focusing on improving the warning to customers

 before an impending transmission failure.

            245.    Ford has two divisions devoted to ensuring that its products meet all Federal Motor

 Vehicle Safety Standards and regulatory responsibilities – the Automotive Safety Office (ASO)


 33
      49 USC § 30102(a)(9).
 34
      49 CFR § 573.6.

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 and the Office of the General Counsel (OGC). According to Ford: “The Automotive Safety Office

 Serves as primary interface with organizations that deal with vehicle safety and defect/compliance

 matters and contributes technical advice to government agencies regarding safety rulemaking. We

 also provide technical analysis related to field performance of Ford vehicles.”35 In addition, Ford’s

 Office of General Counsel “interfaces with regulatory agencies, including EPA, NHTSA, EEOC

 and state attorneys general.”36 Further, in Ford’s 2014 Corporate Sustainability Report, Ford

 demonstrates its knowledge of its obligations under the Safety Act:

         In the U.S., the National Traffic and Motor Vehicle Safety Act of 1966 (the “Safety
         Act”) regulates vehicles and vehicle equipment in two primary ways. First, the
         Safety Act prohibits the sale in the United States of any new vehicle or equipment
         that does not conform to applicable vehicle safety standards established by the
         National Highway Traffic Safety Administration (NHTSA). Second, the Safety Act
         requires that defects related to motor vehicle safety be remedied through safety
         recall campaigns.

         Manufacturers are obligated to recall vehicles if they determine the vehicles do not
         comply with a safety standard or contain a defect affecting safety.37

         246.    Further, Ford’s internal process documents remind employees of these obligations.

 For example, in July 2013, Ford employees Joseph Borneo and Robin Buseck requested that Ford’s

 6-Sigma Center initiate a “Things Gone Wrong” (“TGW”) Task Force to conduct a consumer

 survey on the problems with the Focus and Fiesta DPS6 to determine how drivers experienced the

 transmission defect.38 As part of this process, the form used to make the request emphasized that

 the Ford Automotive Safety Office or the Office of General Counsel may ask for the results to

 satisfy a NHTSA inquiry. It also noted that any Transportation Recall Enhancement,




 35
    Ford Automotive Safety Office;
 https://corporate.ford.com/careers/departments/sustainability-environment-and- safety-engineering.html.
 36
    Ford Office of the General Counsel;
 https://corporate.ford.com/careers/departments/office-of-the-general- counsel.html.
 37
    2014-15 Ford Sustainability Report.
 38
    VGS20130916; 6-Sigma Center Survey Request Form; Ford Motor Company; July 18, 2013.

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 Accountability and Documentation (TREAD) Act-reportable information obtained by the survey

 must be included in Ford’s quarterly TREAD submission.

        247.    This knowledge is evident in Ford’s internal communications regarding the defects

 in the DPS6 transmission, in which Ford employees discuss scenarios that could prompt a recall,

 and ways to avoid triggering a TREAD reportable incident or the attention of the regulators.

        248.    For example, in January 2009, Ford engineers exchanged information indicating

 that Ford was aware that other manufacturers had launched recalls for defects like those that could

 affect the DPS6 transmission. In a January 21, 2009 email, Mr. Kirchhoffer shared a Daimler

 Trucks recall of 2,426 Thomas Built Buses, in which the automatic transmission control module

 could become corroded due to water and road spray intrusion, causing the starter motor to engage

 unexpectedly or the backup lights to operate intermittently.39

        249.    Mr. Kirchhoffer reminded his colleagues how severity levels assigned on the

 FMEA related to field actions later:

        From the Campaign Prevention team and connecting to the CP DD2 I would like
        to share with you the attached information about a campaign/field service Action,
        concerning a TCU exposed to splash water and corrosion similar to the MAM on
        the DPS6. The Failure Modes affecting the Back Up Light and Cranking leading to
        ‘Unexpected Vehicle Movement’ or Traffic Irritation are affected. This is effecting
        item 2.1.2) - Back Up Light Function - from the Electrical FMEA and item 2.4)
        concerning the Mechanical FMEA, failure modes leading to the back up light
        electrical malfunction. This an additional awareness item with respect to the YC
        classifications isolated under items 2.1.2 and 2.4!40

        250.    Ford employees also discussed how to go about repairing vehicles with DPS6

 Transmission Defects using protocols that would not violate the TREAD Act. Thus, Ford

 demonstrated its knowledge that customer complaints and warranty claims are reportable events.


 39
    VGS5-00021665; RE: MAM - Interface FMEA Summary+ SEV Reduction Process (YC Reduction Process) -
 Reclassified for ‘Loss of Drive’; Johann Kirchhoffer; Ford Motor Company; January 21, 2009.
 40
    VGS5-00021665; RE: MAM - Interface FMEA Summary+ SEV Reduction Process (YC Reduction Process) -
 Reclassified for ‘Loss of Drive’; Johann Kirchhoffer; Ford Motor Company; January 21, 2009.

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         251.    In an internal September 6, 2016 email string, Craig Renneker, the Ford Chief

 Engineer for Front-wheel-drive A/T & D/l Systems Transmission & Driveline Engineering,

 discussed fixing the clutch in a DPS6 transmission of a Detroit school teacher who had complained

 about the problems with his new Focus to a former Ford employee, now a reporter with Crain

 Communications. Renneker warned that the company protocol must be followed to avoid a

 TREAD Act violation: “Yes - this is a concern (TREAD Act), which is why we need to follow the

 FCSD “VIP Ticket” process. Please call Paul S. directly to coordinate.41

         252.    In another Ford internal email string dated May 24, 2017, Mr. Renneker discussed

 fixing a DPS6 clutch for a customer out of warranty:42

         Mike;

         She has an 8080 clutch installed at 80k miles. Replacing hers with an 8040 will
         give us a “picky customer” data point to check the efficacy of the new material. Are
         you saying that the 8080 clutch replaced under the FSA itself has a 2 year/24 month
         warranty that would cover the full cost (parts and labor) to give her a new 8040?
         She is specifically complaining about the judder, but believes that there is nothing
         else the dealer can do. If the warranty does NOT cover her, do we have an approved
         procedure for an engineering investigation to replace her clutch/trans with
         engineering$? I’m mindful of TREAD act.

         Guys;

         Thanks. Please don’t pull the trigger on this yet. I’ve had 5 notes back/forth between
         me and the FCSD Director. I want to take care of this, but need to do it EXACTLY
         the right way. I hope to be able to give clear direction yet today. They have another
         funding mechanism that may be a better path as this has senior executive attention.

         253.    In at least one instance, Ford engineers actively discussed how to avoid triggering

 government attention that might lead to a recall. In a Ford internal email string dated March 4,




 41
    Ford DPS6-SAC 00038320; RE: Hey, Bob ... (Rich Truett email on 2015 DPS6 Focus); Craig Renneker; Ford
 Motor Company; September 6, 2016.
 42
    Ford-DPS6-SAC 00054061; Subject: RE: Replacing transmission on out-of-warranty vehicle for engineering
 feedback; Craig Renneker; Ford Motor Company; May 24, 2017.

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 2013, Ford engineers discussed yet another emerging defect issue involving the DPS6’s

 transmission in which the shift drums failed to achieve proper referencing:

         On every start-up the shift drums will move to the end stop and confirm position.
         This is done for safety reasons as the control system needs to know the exact
         position of the synchros to prevent an unintended movement. The failure to achieve
         proper reference is usually caused by low system voltage during crank (low voltage
         can either inhibit the driving force of the shift drum), it could also indicate a motor
         problem or a mechanical blockage…As a result of the continuous learnings, there
         have been multiple changes to fine tune the referencing sequence to stagger the
         shift drum movement so that the system voltage has recovered from the engine start.
         Whenever the transmission fails to achieve the reference position it sets an internal
         code (P2832 or P2837) and temporarily disables the gears which did not reference
         correctly.43

         254.    In response, Ford DPS6 Transmission Manager, Christopher Kwasniewicz, noted

 that Ford was about to release a TSB for transmission shudder, which would require a software re-

 flash the calibration, even though it might set error codes that would send the customer back to the

 dealer. This situation was preferable to dealership techs replacing clutches, which was costing Ford

 $3 million a month in warranty costs.44

         255.    Indeed, Ford had cast the DPS6 transmission’s myriad of failures as a design

 problem, owned by Getrag.45 And trying to fix the problems had been enormously expensive for

 Ford.

         256.    In a March 10, 2014 letter to Getrag, Ford’s Global Director, Powertrain Installation

 Purchasing, Alan Draper, noted that fixing the leaking input shaft seals alone would cost Ford

 hundreds of millions of dollars:

         After considerable technical analysis into the DPS6 seal leak concerns, Ford has
         determined that the appropriate remedy for affected vehicles is to initiate two
         separate customer satisfaction actions aimed at maintaining confidence in vehicles

 43
    VGS20020225; RE: P2832 & P2837 Background Info On Shift Drum Reference; Piero Aversa; Ford Motor
 Company; March 2, 2013.
 44
    VGS20020225; RE: P2832 & P2837 Background Info On Shift Drum Reference; Chris Kwasniewicz; Ford Motor
 Company; March 2, 2013.
 45
    VGS21355122; FW: DPS6 Getrag Status Update; Allyson Waldman; Ford Motor Company; March 24, 2014.

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         equipped with DPS6 transmissions built prior to the incorporation of the shaft seal
         material change in 2013.

                  1.       Proactive seal repair of 856K DPS6 equipped vehicles
                  2.       Extended warranty for 1.4M DPS6 equipped vehicles (including
                           vehicles campaigned for the proactive seal repair)

         The initiation of these actions along with the corresponding customer notification
         is pending completion of a robust service part supply plan. Getrag’s support of this
         plan is recognized, and I ask for your team’s continued help as we work to finalize
         the details. At this time, we are forecasting that these actions alone will cost us over
         $650M through the 2019 calendar year in addition to our normal warranty
         coverage.46

         257.     Ford knew from years of experience of working with the NHTSA that the agency

 tended to evaluate the recall potential for a defect that caused an engine stall or a loss of motive

 power, based on whether the particular condition gave the driver any warning of the impending

 stall and whether the driver could quickly recover motive power.

         258.     The NHTSA’s position has its roots in a 1986 study commissioned by the U.S.

 Department of Transportation Research and Special Programs Administration. The Transportation

 Systems Center issued a report which attempted to identify “patterns which could yield insight

 concerning the safety implications of stalling,” “high-risk stalling situations;” and “high-risk

 vehicles/components.”47 The researchers looked at complaints, calculated crash rates and

 compared these data to a sample of investigations which resulted in recalls or were closed with no

 findings. The researchers also analyzed a sample of the crash reports “to determine which vehicle

 characteristics and stalling circumstances were related to serious safety problems.”48




 46
    VGS20415045; Alan Draper Letter; Ford Motor Company; March 10, 2014.
 47
    Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
 Programs Administration Transportation Systems Center; November 1986.
 48
    Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
 Programs Administration Transportation Systems Center; November 1986.

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         259.     The researchers concluded that stalling incidents that occur without warning, at

 high speeds, or upon acceleration are associated with stalling-related accidents more frequently

 than other types of stalling problems. For example, loss of power steering or brakes due to stalling

 is cited as a common accident cause.49 In cases of a total loss of control, nearly half were involved

 in accidents. In addition, the 4.8 percent of drivers who had no warning of the stalling incident

 before it occurred were involved in accidents approximately 13 times more other than those who

 had some warning prior to their stalling incident.50

         260.     With that in mind, Ford worked assiduously to avoid fulfilling its recall

 responsibilities, by persuading NHTSA that drivers who experienced a loss of motive power due

 to the solder crack issue in the MAM could quickly recover.51 And, rather than recall and replace

 the defective clutches, or buy back the vehicles, Ford engineers proposed a $1.5 million project to

 “develop and test a software strategy that provides early warning to the customer (Overt Detection)

 prior to a MAM concern that may result in the loss of motive power.”52

         261.     Among the benefits outlined were a faster implementation of a software reflash of

 the MAM, avoiding customer dissatisfaction because drivers would have time to “schedule MAM

 replacement at the dealer, prior to MAM concern that has the potential to leave them stranded,”

 and reduce costs by spreading the demand for MAM replacements over time.53 Finally, the




 49
    Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
 Programs Administration Transportation Systems Center; November 1986.
 50
    Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and Special
 Programs Administration Transportation Systems Center; November 1986.
 51
    VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx
 Presentation, November 19, 2017.
 52
    VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
 Motor Company; 2014.
 53
    VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
 Motor Company; 2014.

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 proposal noted that an overt detection strategy would “satisfy NHTSA - Overt Detection is a pro-

 active action to protect our customers, which will more easily satisfy NHTSA’s requirements.”54

         262.    This latter idea was also expressed in Ford communications regarding its

 presentation to the Australian government probing the failures of the DPS6. On March 8, 2017,

 Mariusz Czubek, a specialist with the Ford AP Warranty Spend Reduction Group, contacted Ford

 Engineer Jonathan Graves of the DPS6 Transmission group for information to aid his analysis on

 the effectiveness of the new software re-flash under Customer Satisfaction Campaign 15B221

 which caused a warning light “to come up and hopefully prevent them ‘getting stuck.’”55 In reply,

 Mr. Graves noted: “15B22 was released to satisfy NHTSA recall requirements and updates each

 vehicle to Overt Software for early detection of solder cracks.”56

         263.    In its reply to the NHTSA’s information request, Ford was prepared to stake its

 position against a recall on the argument that other systems, such as noting that the brakes and

 airbags and steering still worked, that there was a warning to the driver, and that new software

 would make the driver aware of the need for service before the cracks grew large enough to cause

 serious problems. According to a draft response, Ford officials noted:

         Closing rationale -This should include:

         •       Because solder fatigue crack propagation is progressive in nature,
                 associated warnings and drivability symptoms are progressive in nature, as
                 well. Of customers that allege to have eventually lost mobility, the majority
                 said they were able to regain mobility either immediately or within minutes
                 by moving the shift lever or cycling the key.
         •       Other vehicle systems such as power steering, power brakes, restraint
                 systems, electrical functions, etc. are unaffected
         •       Ford’s extended warranty letter to customers highlights the vehicle
                 symptoms associated with this condition, and provides financial coverage
                 in order to encourage vehicle repair before the symptoms progress in nature.

 54
    VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM) Issue. Ford
 Motor Company; 2014.
 55
    DSP6-SAC 00050546; Subject: RE: MAM DTC fault code effect on customer; Mariusz Czubek March 10, 2017.
 56
    DSP6-SAC 00050546; Subject: RE: MAM DTC fault code effect on customer; Jonathan Graves; March 10, 2017.

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      FORD HAS CONDUCTED SAFETY RECALLS AS TO DEFECTS THAT CAUSED
      STALLS VIRTUALLY IDENTICAL TO THE UNINTENDED NEUTRAL EVENTS
               THAT MAKE THE DPS6-EQUIPPED VEHICLES UNSAFE

         264.     Ford is “on notice,” due to its history of selling defective vehicles and regulatory

 enforcement actions and court proceedings, that it is legally required to recall vehicles that suffer

 from unintended neutral/loss of motive power/stall condition events.

         265.      In the last 15 years, Ford has launched seven (7) such recalls – including four

 between 2012 and 2016, the same period in which Ford avoided recalls for unintended neutral/loss

 of motive power conditions caused by the DPS6 transmission.

         266.     In 2003, Ford became the only automaker to issue a judicially ordered recall for a

 stalling condition, after two decades of failed NHTSA investigations. From 1982 to 1997, the

 NHTSA investigated ignition module failures, but Ford misled the agency for years about the

 causes of stalling (affecting multiple models and model years) with no consequences to the

 company. In the absence of accurate information from Ford, NHTSA’s Office of Defect

 Investigations (“ODI”) was unable to identify the failure. Thus, the ignition defect bears the

 distinction of being the first court-ordered recall outside of the NHTSA.

         267.     The ignition module defect caused loss of power like that affecting the DPS6

 equipped vehicles. Ford’s ignition system57 was heat-sensitive, yet Ford placed it in the hottest

 location under the hood; at certain temperatures the module would cut out, causing the vehicle to

 stall at highway speeds.58 After four years, Ford’s warranty data showed that the return rate far

 exceeded projections, but many of the returned parts did not exhibit the failure mechanism because,



 57
    The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
 Reliability; January 23, 2002.
 58
    The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
 Reliability; January 23, 2002.

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 once cooled down, the component would resume working. Ford eventually identified the problem

 but failed to act on its knowledge.59

         268.     The NHTSA launched five investigations but could not definitively isolate a root

 cause of the stalling, in part because Ford withheld documents that would have shown the effect

 of thermal stress on the ignition modules resulted in stalling, instead of a range of drivability issues.

         269.     In 1987, the NHTSA examined the stalling issue in 2.6 million 1983 through 1986

 Escort, Tempo, Mustang, LTD, Thunderbird, EXP, Cougar, Topaz, Capri, Merkur, Lynx and

 Marquis vehicles equipped with 1.6 liter or 2.3-liter engines. The NHTSA’s Office of Defects

 Investigation investigated based on 33 stalling complaints; Ford located another 1,819 field reports

 and 649 complaints, but it combined different complaints into one pool of “failure to start the

 engine, poor engine performance and engine stalling.”60

         270.     Ford cast the DPS6 defect as a drivability issue: “As we have stated to the agency

 in the past, today’s engine and emission system controls have become very intricate and the

 diagnoses of drivability and/or stalling conditions have likewise become very difficult.”61

         271.     Both Ford and NHTSA conceded that the ignition module was to blame:

         Clearly evident is the fact that Ford experienced a massive engine controllability
         problem with the introduction of a new thick film ignition module (TFI) in the 1.6
         and 2.3 liter engines…Ultimately, Ford engineers identified the root cause of the
         problem to be thermal fatigue of the TFI ~ transistor assembly and integrated circuit
         failures which were aggravated by elevated engine compartment temperatures and
         by thermal cycling.62




 59
    The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
 Reliability; January 23, 2002.
 60
    PE87-028; Opening Letter; National Highway Traffic Safety Administration; May 12, 1987.
 61
    PE87-028; Closing Resume; National Highway Traffic Safety Administration; May 1, 1987; PDF pg. 11.
 62
    PE87-028; Closing Resume; National Highway Traffic Safety Administration; May 1, 1987; PDF pg. 11.

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         272.    But Ford misled the NHTSA about the scope of the problem and oversold its ability

 to resolve the issue.63

         273.    A class action lawsuit on behalf of Ford owners prompted the NHTSA to open a

 sixth investigation in 1997, which revealed that Ford had failed to produce documents to the

 agency. By then, the eight-year statute of limitations on recalls had passed, and the civil penalties

 the agency could have imposed were low.64 In 1999, the lawsuit ended in a hung jury, but resulted

 in a judicially ordered recall. Ford eventually settled the litigation in 2003 by doubling the

 component’s warranty.

         274.    Another recall also illustrates Ford’s refusals to accept responsibility for loss of

 power problems. In April 2004, a NHTSA probe forced Ford to recall 321,903 2001-2003 Escape

 vehicles for a condition in which a fuel-rich mixture could cause the vehicles to stall during

 decelerations at speeds below 40 mph.65 In its Part 573 Notice of Defect and Noncompliance, Ford

 argued that the vehicles were still controllable and re-started immediately:

         Ford’s investigation found that the vehicles remained controllable after such engine
         stalls and can readily be maneuvered off the roadway. Further, the vehicles
         typically restart immediately, and some owners reported starting their vehicle
         without coming to a stop coming to a stop. While it may be argued that stalling
         under certain conditions may increase the risk to safely, the stalling characteristics
         in this population of vehicles do not pose an unreasonable risk of accident or injury.
         The reports in this investigation clearly bear this out. Ford does not by taking this
         action, admit that a safety defect exists in these vehicles nor does Ford believe that
         engine stalling presents an unreasonable risk to motor vehicle safety. Ford Believes
         that the agency should update its earlier study of engine stalling as a sequel to the
         earlier “Analysis of Stalling Problems,” sponsored by The Transportation System
         Center.66




 63
    Howard v. Ford’ Plaintiff’s Opening Trial Brief; Phase Two; June 12, 2000.
 64
    Lawsuit Asserts Ford Knowingly Installed Defective Mechanism in Millions of Vehicles; Tim Golden; The New
 York Times; September 6, 1997.
 65
    Recall 04V165; Notice of Defect and Noncompliance; Ford Motor Company; April 5, 2004.
 66
    Recall 04V165; Notice of Defect and Noncompliance; Ford Motor Company; April 5, 2004.

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         275.    In June 2005, Ford recalled 180,104 Ford F-SuperDuty, Excursion, and E-Series

 vehicles from the 2004-2005 model years, equipped with 6.0l diesel engines, for reported engine

 stalling to address two wiring related conditions, specifically that the FICM wire harness chafing

 or improper ICP sensor connector crimps could cause the vehicle to stall without warning, with no

 re-start.67 Ford argued that the stalling hadn’t caused any injuries or crashes:

         Ford’s investigation has demonstrated that the reported stalling incidents in the
         affected vehicles do not present an unreasonable risk to safety. The vehicles remain
         controllable in the event of stalling. Real world performance, with virtually no
         accidents or injuries, supports our analysis. Nonetheless, to address customer
         satisfaction concerns and to avoid prolonged discussions with the agency, we are
         conducting this recall.68

         276.    In January 2012, the NHTSA compelled Ford to recall 205,896 2004 and 2005

 model year Ford Freestar and Mercury Monterey vehicles for problems that cause torque converter

 malfunctions and engine stalls. In its responses to an agency investigation, Ford laid out all of the

 same “controllability” arguments against a finding of a safety defect: According to Ford, the

 vehicle “remains readily controllable; the vehicle will coast during which it can be safely

 maneuvered and stopped because the engine continues to run. Because the engine continues to run,

 steering and braking are unaffected, and the vehicle’s electrical system and directional signals

 remain functional. Further, the transmission park system remains fully functional. At that time

 only one ambiguous, alleged minor accident involving a vehicle trailing behind the Freestar was

 identified with no alleged injuries.”69 Ford eventually launched a recall to “avoid a protracted

 dispute with the agency.”70




 67
    Recall 05V270; Notice of Defect and Noncompliance; Ford Motor Company; June 7, 2005.
 68
    Recall 05V270; Notice of Defect and Noncompliance; Ford Motor Company; June 7, 2005.
 69
    Recall 12V006; Defect and Noncompliance Notice; January 9, 2012.
 70
    Recall 12V006; Defect and Noncompliance Notice; January 9, 2012.

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         277.    In October 2013, Ford recalled 2,456 Focus Electric vehicles (model years 2012-

 2014) for a failure of the Power Control Module. The defect caused “a sudden loss of motive power

 while driving, increasing the risk of a crash.”71 Drivers received warning in the form of “a red

 triangle indicator and the message ‘Stop Safely Now’ in the instrument cluster.” Ford’s Part 573

 Recall Notice further stated that other safety-critical functions – “vehicle brake and steering

 systems will continue to operate normally and vehicle can often be restarted after going through a

 shutdown process.”72 According to the chronology Ford filed with its Part 573, Ford’s Critical

 Concern Review Group initially wanted to pass off the issue as a customer satisfaction matter –

 despite 16 reports of “Focus Electric vehicles experiencing loss of mobility accompanied by a

 “Stop Safely Now” message in the instrument cluster.” However, after the NHTSA opened a

 preliminary evaluation (PE13-031) into the issue as it affected 2012-2013 Focus Electric vehicles,

 the CCRG found additional reports and recommended a recall in October 2013.73

         278.     In 2016, Ford recalled 865 Focus Electric vehicles (2015-2016 model years)

 because increased friction and excessive wear of a certain gear shaft could result in overheating

 and eventual fracture of the shaft or pinion gears. This could lead to loss of motive power while

 driving and loss of the transmission park function without warning, increasing the risk of a crash.”

 Ford claimed it was not aware of any warranty reports, accidents or injuries related to the defect.74

         279.     In August 2016, Ford recalled 77,502 2013-2015 Ford Taurus and 2013-2015 Ford

 Taurus Police Interceptor, Lincoln MKS and MKT vehicles, due to the malfunction of a

 component within the fuel Pump Electric Module (PEM) caused by elevated temperatures within

 the module. “Malfunction of the fuel PEM may result in an open circuit causing a loss of electrical


 71
    Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
 72
    Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
 73
    Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
 74
    Recall 16V479; Defect and Noncompliance Notice; June 27, 2016.

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 power to the fuel pump. If this occurs, the customer may experience an engine no start or an engine

 stall. In some cases, the engine may stall without warning or the ability to restart.”75

            280.    In October 2018, Ford recalled more than 1.2 million 2012-2018 Ford Focus

 vehicles due to a malfunctioning Canister Purge Valve (CPV) that can stick open and a Powertrain

 Control Module (PCM) software that does not adequately detect a stuck-open CPV.76 In its Defect

 and Noncompliance notice, Ford noted that a stuck CPV “can cause excessive vacuum in the fuel

 vapor management system, potentially deforming the fuel tank. If this occurs, the customer may

 observe a Malfunction Indicator Light (MIL), inaccurate or erratic fuel gauge indication,

 drivability concerns or loss of motive power.”

            281.    In the case of the DPS6 Transmission, as in those prior cases, Ford actively

 concealed from the NHTSA its knowledge about the extent of the safety-related problems, and

 about the total number of crashes and injuries associated with the multiple DPS6 Transmission

 Defects. Ford took this course – not guided by engineering safety concerns – but out of political

 expediency with its supplier Getrag, and concerns about the enormous costs in delivering an

 effective repair or initiating a buyback program.

      FORD HAD EXCLUSIVE KNOWLEDGE OF THE TRANSMISSION DEFECTS AND
                FRAUDULENTLY CONCEALED THIS INFORMATION

            282.    Ford had superior and exclusive knowledge of the Transmission Defects, and Ford

 knew or should have known that the Transmission Defects were not known or reasonably

 discoverable by consumers before purchase or lease of the affected Focus and Fiesta vehicles.

            283.    Since at least 2010, Ford has known about the Transmission Defects through

 sources not available to consumers, including through Ford’s pre-release testing data, early



 75
      Recall 16V621; Defect and Noncompliance Notice; August 22, 2016.
 76
      Recall 18V735; Defect and Noncompliance Notice; October 22, 2018.

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 consumer complaints to Ford and its dealers about the Transmission Defects, testing conducted by

 Ford in response to those complaints, Ford’s internal data showing high failure rates and

 replacement part sales, aggregate data from Ford dealers, and other Ford-proprietary sources of

 aggregate information about the problem including, but not limited to, similar defects in the

 substantially identical models sold overseas.

         284.    Ford knew about, and as a matter of business practice, failed to disclose and

 concealed, the Transmission Defects present in the DPS6-equipped Focus and Fiesta vehicles,

 along with the Transmission Defects’ dangerous safety and drivability problems, from consumers

 at the times of sale or lease, repair, and thereafter. In fact, instead of repairing defects in the DPS6,

 Ford frequently either refused to acknowledge the defects’ existence or performed superficial and

 ineffectual software upgrades that simply masked the symptoms of the Transmission Defects.

         285.    The existence of the Transmission Defects is a material fact that a reasonable

 consumer would consider when deciding whether to purchase or lease a vehicle equipped with a

 PowerShift Transmission.

         286.    Ordinary consumers reasonably expect that a vehicle’s transmission is safe, will

 function in a manner that will not pose a safety hazard, and is free from manufacturing defects.

 Ordinary consumers further reasonably expect that a car manufacturer will not sell or lease vehicles

 with known safety defects, such as the Transmission Defects, and will disclose any such defects

 to its consumers when it discovers them. They would not expect Ford to fail to disclose the

 Transmission Defects to them and to continually deny the defect.

                   FORD’S FAILURE TO DISCLOSE THE DPS6 DEFECTS

         287.    Ford has never disclosed the PowerShift Transmission Defects to consumers prior

 to their purchases or leases of affected vehicles, nor at any point during their ownership of such



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 vehicles. Similarly, Ford never instructed its dealerships to disclose the PowerShift Transmission

 Defects to potential purchasers or lessees of vehicles equipped with the DPS6.

        288.    The PowerShift Transmission defect was not known or reasonably discoverable by

 ordinary consumers before purchase or lease, or without experiencing the defect firsthand and

 exposing themselves to an unreasonable safety risk.

        289.    Ford has remained silent publicly even as it issued service bulletins, conducted

 internal investigations, and witnessed the increasing failures of the DPS6 Transmission in its

 vehicles domestically and abroad.

        290.    Ford’s refusal to publicly acknowledge the defect has created widespread

 confusion. Ford’s failure to notify consumers, dealerships, or auto-technicians prevents

 PowerShift Transmission problems from being efficiently diagnosed. Drivers are led to believe

 that the problems they are experiencing are actually “normal characteristics” of the PowerShift

 Transmission. Likewise, the lack of information makes it less likely that dealerships and auto-

 technicians will be able to diagnose and fix the PowerShift Transmission Defects or advise a

 consumer about the dangers of driving the affected vehicle.

        291.    As a result of Ford’s inaction and silence, consumers were entirely unaware that

 they had purchased, and were continuing to drive, an unsafe and unreliable vehicle. As Ford

 knows, a reasonable person would consider the PowerShift Transmission Defects important and

 would not purchase or lease a vehicle equipped with the PowerShift Transmission were its defects

 disclosed in advance or would pay substantially less for the vehicle.

            FORD ACTIVELY CONCEALED THE TRANSMISSION DEFECTS

        292.    As a result of the Transmission Defects, Ford was inundated with complaints

 regarding the PowerShift Transmission. In July 2011, Ford implemented a communications

 strategy intended to minimize certain behavior of the PowerShift Transmission in order to
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 “improve customer expectations.” In a memo with instructions sent to Ford dealers and service

 personnel, which Ford intended its dealers and service personnel to rely on in their

 communications to consumers, Ford noted that “PowerShift optimizes fuel efficiency with up to

 40MPG and driving dynamic ‘Fun to Drive’ performance.” It further noted, “The PowerShift is

 really like two 3-speed manual transmissions put together, with the freedom of operating a clutch

 as the components are controlled electronically. Since most of the components are derived from a

 manual transmission, the PowerShift transmission will drive, sound, or feel like a manual

 transmission only the driver does not have to shift gears.”

           293.    Some of the common and “normal characteristics” of the PowerShift Transmission

 were listed as “double clicking metal sounds … of gears shifting and synchronizers (similar to a

 manual transmission);” a “slight gear whine while slowing or coasting,” and “a reverse trailer

 hitching feel (or a slight bumping feel) … at about 2MPH.” Ford also advised its dealers about low

 speed grinding, reverse gear whine, and “Green Clutches” which can “lead to a rattle noise” and

 “a take-off shudder /launch judder (shaky vs. smooth).” According to Ford, the shudder would

 become “progressively better … as the clutch breaks-in.”77

           294.    However, despite Ford’s public insistence that these performance problems with

 the PowerShift Transmission were normal, in 2010 and 2011, Ford issued several TSBs to its

 dealers in the United States acknowledging defects in the PowerShift Transmission. Ford’s TSB

 from September 2010, covering the 2011 Ford Fiesta, informs dealers how to address and attempt

 to repair the PowerShift Transmission in response to “concerns such as no engagement or

 intermittent no engagement in Drive or Reverse when shifting from Park to Drive or Reverse,




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      VGS21630260, EFC000562DC, Ford Motor Company, July 25, 2011.

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 grinding noise during engagement, and/or a check engine light with transmission control module

 (TCM) diagnostic trouble code…”

          295.   Ford’s TSB released on January 1, 2011, covering the 2011 Fiesta with the

 PowerShift Transmission, informs dealers of problems with the PowerShift Transmission causing

 “a loss of power, hesitation, surge, or lack of throttle response while driving.”

          296.   Ford’s TSB from March 31, 2011, also covering the 2011 Ford Fiesta, informs

 dealers of problems where the PowerShift Transmission “exhibit[s] a rattle/grind noise in reverse

 only.”

          297.   Ford issued two separate TSBs in May 2011, both covering the Ford Fiesta. These

 TSBs addressed problems with the PowerShift Transmission including “concerns in Drive or

 Reverse when shifting from Park to Drive or reverse, no engagement, delayed engagement,

 intermittent engagement, noise during engagement…”

          298.   Plaintiffs are informed and believe, and on that basis allege, another Ford TSB

 released in September 2011 advised dealers to reprogram the transmission computer if 2011 Fiesta

 owners complained about “hesitation when accelerating from a low speed after coast down, harsh

 or late 1-2 upshift, harsh shifting during low-speed tip-in or tip-out maneuvers and/or engine r.p.m.

 flare when coasting to a stop.”

          299.   The 2012 Ford Focus was the subject of a Ford TSB in September 2011, which

 informed dealers of transmission problems including: “RPM flare on deceleration coming to a

 stop, rough idle on deceleration coming to a stop, intermittent engine idle fluctuations at a stop,

 intermittent vehicle speed control inoperative, intermittent harsh engagement/shift…”

          300.   In December of 2011, Motor Trend magazine called these efforts by Ford a “stealth

 upgrade” and noted that while “[t]here’s no official recall or service campaign… anybody who



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 complains or requests an upgrade at the dealership can have their powertrain control computer re-

 flashed.”

        301.    Plaintiffs are informed and believe, and on that basis allege, the software upgrades

 recommended and encouraged by the various TSBs issued by Ford were completely ineffective at

 addressing the Transmission Defects.

        302.    When consumers present vehicles equipped with the PowerShift Transmission to

 an authorized Ford dealer for repair to the transmission, rather than inform consumers of the

 Transmission Defects or conclusively repair the problem under warranty, Ford’s dealers and

 authorized repair facilities either inform consumers that their vehicles are functioning properly, or

 perform superficial and ineffectual software updates that delay or mask the manifestation of the

 Transmission Defects in an attempt to avoid more comprehensive and expensive repairs or

 replacements under the warranty.

        303.    To this day, Ford still has not publicly acknowledged that the Powershift

 Transmission suffers from a systemic defect or defects, that cause(s) the transmission to

 malfunction.

                                      CAUSES OF ACTION

                                            ALABAMA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        304.    The Alabama Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        305.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        306.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).




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        307.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        308.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        309.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        310.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        311.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        312.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        313.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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        314.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        315.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        316.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        317.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        318.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        319.    The Alabama Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                                SECOND CAUSE OF ACTION
                              BREACH OF EXPRESS WARRANTY

        320.    The Alabama Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        321.    The Alabama Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Alabama at Ala. Code § 7-2-101 et. seq.

        322.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Alabama Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        323.    The Alabama Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Alabama Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        324.    The Alabama Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Alabama Plaintiffs.     These defects and non-conformities could not reasonably have been

 discovered by the Alabama Plaintiffs prior to their acceptance of the Vehicles.

        325.    As a result of the Transmission Defect in the Alabama Plaintiffs’ Vehicles, the

 Alabama Plaintiffs’ Vehicles cannot be reasonably relied on by the Alabama Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        326.    Defendant breached this warranty by selling to the Alabama Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        327.    As a result of the Transmission Defect in the Alabama Plaintiffs’ Vehicles, the

 Alabama Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Alabama Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        328.    As a result of the transmission defects, the Alabama Plaintiffs have lost faith and

 confidence in the Vehicles and the Alabama Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.




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        329.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        330.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        331.    The Alabama Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        332.    The Alabama Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                                THIRD CAUSE OF ACTION
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            333.    The Alabama Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

            334.    The Alabama Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Alabama at Ala. Code § 7-2-101 et. seq.

            335.    Defendant is a “merchant” with respect to motor vehicles under the Alabama

 statute.

            336.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            337.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Alabama Plaintiffs.

            338.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            339.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of


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 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        340.    As a result of Ford’s breaches of implied warranties, the Alabama Plaintiffs have

 suffered economic loss and damages. The damages the Alabama Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        341.    The Alabama Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        342.    The Alabama Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                        FOURTH CAUSE OF ACTION
        VIOLATION OF THE ALABAMA DECEPTIVE TRADE PRACTICES ACT
                        (ALA. CODE § 8-19-1 ET SEQ.)

        343.    The Alabama Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        344.    The Alabama Deceptive Trade Practices Act (Alabama DTPA) declares several

 specific actions to be unlawful, including: “engaging in any other unconscionable, false,



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 misleading, or deceptive act or practice in the conduct of trade or commerce.” ALA. CODE § 8-

 19-5. Defendant violated the Alabama DTPA.

        345.    The Alabama Plaintiffs are “consumers” within the meaning of ALA. CODE. § 8-

 19-3(2).

        346.    The Alabama Plaintiffs and Defendant are “persons” within the meaning of ALA.

 CODE § 8-19-3(3).

        347.    Each defendant was and is engaged in “trade or commerce” within the meaning of

 ALA. CODE § 8-19-3(8).

        348.    Ford violated the Alabama DTPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        349.    Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Alabama Plaintiffs, and imposed a serious safety

 risk on the public.

        350.    Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of



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 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        351.    Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

             a. Representing through its advertising, warranties, and other express representations

                that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                or characteristics that they did not actually have;

             b. Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                were of a particular standard or quality when they were not;

             c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                intent not to sell them as advertised and, when so doing, concealing and suppressing

                facts material to the true characteristics, standards and qualities of the Vehicles and

                transmissions;

             d. At the time of the sales or leases to the Alabama Plaintiffs, Ford knew or had reason

                to know that the Vehicles had inherent and systemic Transmission Defects, as

                described in this Complaint, but Ford failed to disclose this material information to

                the Alabama Plaintiffs;

             e. Failing to reveal material facts which misled Plaintiffs and which facts could not

                reasonably have been known by the Alabama Plaintiffs;

             f. Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;

             g. Failing to provide promised benefits under the warranty, both expressly or implied



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                by operation of law;

            h. Entering into a consumer transaction in which the Alabama Plaintiffs purportedly

                waived a right, benefit, or immunity provided by law, without clearly stating the

                waiver and obtaining the Alabama Plaintiffs’ specific consent to the waiver.

        352.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Alabama Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        353.    The    Alabama      Plaintiffs   reasonably    relied   on   Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        354.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        355.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Alabama Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Alabama Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        356.    As a result of the Transmission Defects, the Alabama Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to



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 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Alabama

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        357.    Pursuant to Ala. Code § 8-19-10, the Alabama Plaintiffs hereby sue Defendants for

 actual damages in an amount to be determined at trial. The Alabama Plaintiffs also hereby sue

 Defendants for three times the amount of actual damages plus attorneys’ fees and costs per Ala.

 Code § 8-19-10 plus any other just and proper relief available under the Ala. Code § 8-19-1, et

 seq.

                                            ARIZONA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        358.    The Arizona Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        359.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        360.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        361.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        362.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        363.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).


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        364.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        365.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        366.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        367.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        368.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        369.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and



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 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        370.   Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        371.   As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge




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 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        372.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        373.    The Arizona Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        374.    The Arizona Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        375.    The Arizona Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Arizona at Ariz. Rev. Stat. § 47-2101 et. seq.

        376.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Arizona Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

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 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        377.    The Arizona Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Arizona Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        378.    The Arizona Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Arizona Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Arizona Plaintiffs prior to their acceptance of the Vehicles.

        379.    As a result of the Transmission Defect in the Arizona Plaintiffs’ Vehicles, the

 Arizona Plaintiffs’ Vehicles cannot be reasonably relied on by the Arizona Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        380.    Defendant breached this warranty by selling to the Arizona Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by



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 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        381.    As a result of the Transmission Defect in the Arizona Plaintiffs’ Vehicles, the

 Arizona Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Arizona Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        382.    As a result of the transmission defects, the Arizona Plaintiffs have lost faith and

 confidence in the Vehicles and the Arizona Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        383.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        384.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without



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 informing consumers about the defect.

        385.    The Arizona Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        386.    The Arizona Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                            THIRD CAUSE OF ACTION
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        387.    The Arizona Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        388.    The Arizona Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Arizona at Ariz. Rev. Stat. § 47-2101 et. seq.

        389.    Defendant is a “merchant” with respect to motor vehicles under the Arizona statute.

        390.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        391.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts


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 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Arizona Plaintiffs.

        392.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        393.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        394.    As a result of Ford’s breaches of implied warranties, the Arizona Plaintiffs have

 suffered economic loss and damages. The damages the Arizona Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        395.    The Arizona Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

        396.    The Arizona Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,



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 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              FOURTH CAUSE OF ACTION
                       VIOLATIONS OF THE CONSUMER FRAUD ACT
                             (Ariz. Rev. Stat. § 44-1521, et seq.)

        397.     The Arizona Plaintiffs incorporate by reference each preceding paragraph as

 though fully set forth herein.

        398.     The Arizona Plaintiffs have complied with all applicable pre-suit notice letter

 provisions, if any.

        399.     Defendant and the Arizona Plaintiffs are “persons” within the meaning of the

 Arizona Consumer Fraud Act (“Arizona CFA”), Ariz. Rev. Stat. § 44-1521(6).

        400.     The Vehicles are “merchandise” within the meaning of Ariz. Rev. Stat. § 44-

 1521(5).

        401.     The Arizona CFA provides that “[t]he act, use or employment by any person of

 any deception, deceptive act or practice, fraud, … misrepresentation, or concealment, suppression

 or omission of any material fact with intent that others rely upon such concealment, suppression

 or omission, in connection with the sale … of any merchandise whether or not any person has in

 fact been misled, deceived or damaged thereby, is declared to be an unlawful practice.” Ariz. Rev.

 Stat. § 44-1522(A). Defendants intentionally violated the Arizona CFA.

        402.    Ford violated the Arizona CFA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the



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 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        403.    Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Arizona Plaintiffs, and imposed a serious safety

 risk on the public.

        404.    Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        405.    Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts



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            material to the true characteristics, standards and qualities of the Vehicles and

            transmissions;

        d. At the time of the sales or leases to the Arizona Plaintiffs, Ford knew or had reason to

            know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the Arizona

            Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Arizona Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Arizona Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Arizona Plaintiffs’ specific consent to the waiver.

        406.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Arizona Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        407.    The       Arizona   Plaintiffs   reasonably   relied   on   Defendant’s    material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        408.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other



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 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

         409.       As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Arizona Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Arizona Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

         410.       As a result of the Transmission Defects, the Arizona Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Arizona

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

         411.       Defendant had an ongoing duty to all customers to refrain from unfair and deceptive

 practices under the Arizona CFA in the course of their business.

         412.       Defendant’s violations present a continuing risk to the Arizona Plaintiffs as well as

 to the general public. Defendant’s unlawful acts and practices complained of herein affect the

 public interest.

         413.       The Arizona Plaintiffs hereby sue Defendants for actual damages, including

 economic and non-economic damages (including, without limitation, damages for embarrassment,

 humiliation, inconvenience, mental anguish and emotional distress) in an amount to be determined



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 at trial. The Arizona Plaintiffs also sue Defendants for punitive damages because Defendants

 engaged in aggravated and outrageous conduct with an evil mind. The Arizona Plaintiffs also sue

 Defendants for attorneys’ fees and costs and any other just and proper relief available under the

 Arizona CFA.

                                           ARKANSAS

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        414.    The Arkansas Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        415.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        416.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        417.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        418.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        419.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        420.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.


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        421.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        422.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        423.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        424.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        425.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies



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 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        426.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        427.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        428.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.


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        429.    The Arkansas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        430.    The Arkansas Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        431.    The Arkansas Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Arkansas at Ark. Code Ann. § 4-2-101 et.

 seq.

        432.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Arkansas Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

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        433.    The Arkansas Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Arkansas Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        434.    The Arkansas Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Arkansas Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Arkansas Plaintiffs prior to their acceptance of the Vehicles.

        435.    As a result of the Transmission Defect in the Arkansas Plaintiffs’ Vehicles, the

 Arkansas Plaintiffs’ Vehicles cannot be reasonably relied on by the Arkansas Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        436.    Defendant breached this warranty by selling to the Arkansas Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        437.    As a result of the Transmission Defect in the Arkansas Plaintiffs’ Vehicles, the

 Arkansas Plaintiffs have suffered economic damages including, but not limited to, costly repairs,



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 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Arkansas Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        438.    As a result of the transmission defects, the Arkansas Plaintiffs have lost faith and

 confidence in the Vehicles and the Arkansas Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        439.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        440.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        441.    The Arkansas Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        442.    The Arkansas Plaintiffs seek all damages permitted by law, including, without



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 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                THIRD CAUSE OF ACTION
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            443.    The Arkansas Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            444.    The Arkansas Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Arkansas at Ark. Code Ann. § 4-2-101 et.

 seq.

            445.    Defendant is a “merchant” with respect to motor vehicles under the Arkansas

 statute.

            446.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            447.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Arkansas Plaintiffs.


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        448.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        449.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        450.    As a result of Ford’s breaches of implied warranties, the Arkansas Plaintiffs have

 suffered economic loss and damages. The damages the Arkansas Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        451.    The Arkansas Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        452.    The Arkansas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.



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                         FOURTH CAUSE OF ACTION
          UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION ACT
                       ARKANSAS STAT. § 45.50.471, et seq.

        453.    The Arkansas Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        454.    The Arkansas Deceptive Trade Practices Act (Arkansas DTPA) prohibits

 “[d]eceptive and unconscionable trade practices,” which include but are not limited to “[e]ngaging

 in any . . . unconscionable false, or deceptive act or practice in business, commerce, or trade.”

 ARK. CODE. ANN. § 4-88-107(a)(10). The Arkansas DTPA also prohibits, in connection with

 the sale or advertisement of any goods, “(1) the act, use, or employment by any person of any

 deception, fraud, or pretense; or (2) the concealment, suppression, or omission of any material fact

 with intent that other rely upon the concealment, suppression, or omission.” ARK CODE. ANN.

 § 4-88-108. Defendant’s aforementioned conduct violated the Arkansas DTPA.

        455.    Defendant and the Arkansas Plaintiffs are “persons” within the meaning of ARK.

 CODE. ANN. § 4-88-102(5).

        456.    All of the vehicle at issue constitutes “goods” within the meaning of ARK. CODE

 ANN. § 4-88-102(4).

        457.    Ford violated the Arkansas DTPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted



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 material facts and breached its legal duties.

        458.    Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Arkansas Plaintiffs, and imposed a serious safety

 risk on the public.

        459.    Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        460.    Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Arkansas Plaintiffs, Ford knew or had reason to



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            know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the Arkansas

            Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Arkansas Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Arkansas Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Arkansas Plaintiffs’ specific consent to the waiver.

        461.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Arkansas Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        462.    The       Arkansas   Plaintiffs   reasonably   relied   on   Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        463.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        464.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,



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 the Arkansas Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Arkansas Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        465.    As a result of the Transmission Defects, the Arkansas Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Arkansas

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        466.    The Arkansas Plaintiffs seek monetary relief against Defendant in an amount to be

 determined at trial. The Arkansas Plaintiffs also seek punitive damages because Defendant acted

 wantonly in causing the Arkansas Plaintiffs’ injuries, or with such a conscious indifference to the

 consequences that malice may be inferred. The Arkansas Plaintiffs also seek attorneys’ fees, costs,

 and any other just and proper relief available under the Arkansas DTPA.

                                          CALIFORNIA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        467.    The California Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        468.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        469.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

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        470.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        471.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        472.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        473.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        474.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        475.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        476.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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        477.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        478.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        479.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        480.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        481.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        482.    The California Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        483.    The California Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        484.    The California Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by California at Cal. Com. Code § 2101 et. seq.

        485.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the California Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        486.    The California Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the California Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        487.    The California Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 California Plaintiffs.   These defects and non-conformities could not reasonably have been

 discovered by the California Plaintiffs prior to their acceptance of the Vehicles.

        488.    As a result of the Transmission Defect in the California Plaintiffs’ Vehicles, the

 California Plaintiffs’ Vehicles cannot be reasonably relied on by the California Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        489.    Defendant breached this warranty by selling to the California Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        490.    As a result of the Transmission Defect in the California Plaintiffs’ Vehicles, the

 California Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The California Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        491.    As a result of the transmission defects, the California Plaintiffs have lost faith and

 confidence in the Vehicles and the California Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        492.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty



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 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        493.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        494.    The California Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        495.    The California Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                            THIRD CAUSE OF ACTION
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        496.    The California Plaintiffs incorporate by reference all facts and allegations set forth


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 in this Complaint.

            497.   The California Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by California at Cal. Com. Code § 2101 et. seq.

            498.   Defendant is a “merchant” with respect to motor vehicles under the California

 statute.

            499.   Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            500.   Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the California Plaintiffs.

            501.   Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            502.   Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a



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 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        503.    As a result of Ford’s breaches of implied warranties, the California Plaintiffs have

 suffered economic loss and damages. The damages the California Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        504.    The California Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        505.    The California Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              FOURTH CAUSE OF ACTION
            Breach of Express Warranty- Song-Beverly Consumer Warranty Act,
                              Civil Code Section 1790, et seq.

        506.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs of this Complaint.

        507.    The California Plaintiffs acquired the Vehicles in California; therefore, they are

 “buyers” within the meaning of Cal. Civ. Code § 1791(b).

        508.    The Vehicles are “consumer good[s]” within the meaning of Cal. Civ. Code §

 1791(a).



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        509.    Ford is a “manufacturer” and “distributor” of the Vehicles within the meaning of

 Cal. Civ. Code § 1791(j).

        510.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the California Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        511.    The California Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the California Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        512.    The California Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the



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 California Plaintiffs.   These defects and non-conformities could not reasonably have been

 discovered by the California Plaintiffs prior to their acceptance of the Vehicles.

        513.    As a result of the Transmission Defect in the California Plaintiffs’ Vehicles, the

 California Plaintiffs’ Vehicles cannot be reasonably relied on by the California Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        514.    Defendant breached this warranty by selling to the California Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        515.    The California Plaintiffs delivered the Vehicles to Ford and/or Ford’s authorized

 repair facilities for repairs on numerous occasions in attempts to have the existing express

 warranties satisfied.

        516.    Ford and/or Ford’s authorized repair facilities failed to repair the defects and/or

 nonconformities to match the written warranty after a reasonable number of attempts and, as

 such, have failed to comply with and have breached all applicable warranty requirements.

        517.    Despite the breaches of express warranties, Ford has refused and continue to

 refuse to promptly comply with the California Plaintiffs’ demands for a refund or replacement

 of the Vehicles.

        518.    As a result of Ford’s failure to remedy the defects as alleged above and promptly

 issue a refund or replacement of the Vehicles, Ford is in breach of its obligations under the Song-

 Beverly Consumer Warranty Act.



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        519.    As a result of the Transmission Defect in the California Plaintiffs’ Vehicles, the

 California Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The California Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        520.    As a result of the transmission defects, the California Plaintiffs have lost faith and

 confidence in the Vehicles and the California Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        521.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        522.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        523.    The California Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused



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 from performance of said obligations as a result of Defendant’s conduct described herein.

        524.     Pursuant to Cal. Civ. Code §§ 1793.2 & 1794, the California Plaintiffs sue Ford

 for damages and other legal and equitable relief including, at their election, all sums paid for their

 Vehicles, or the overpayment or diminution in value of their Vehicles. The California Plaintiffs

 further sue Ford for civil penalties in amount to be determined at trial because Ford’s continuing

 breaches of their obligations as set forth herein are willful. Pursuant to Cal. Civ. Code § 1794,

 Plaintiffs further sue Ford for costs and attorneys’ fees.

                                FIFTH CAUSE OF ACTION
                    Breach of Implied Warranty Pursuant to Song-Beverly
               Consumer Warranty Act – Cal. Civ. Code §§ 1792 and 1791.1, et seq.

        525.     The California Plaintiffs incorporate by reference the allegations contained in the

 preceding paragraphs of this Complaint.

        526.     The California Plaintiffs acquired the Vehicles in California; therefore, they are

 “buyers” within the meaning of Cal. Civ. Code § 1791(b).

        527.     The Vehicles are “consumer good[s]” within the meaning of Cal. Civ. Code §

 1791(a).

        528.     Ford is a “manufacturer” and “distributor” of the Vehicles within the meaning of

 Cal. Civ. Code § 1791(j).

        529.     Defendant was at all relevant times the manufacturer, distributor, warrantor, and/or

 seller of the Vehicles. Defendant knew or had reason to know of the specific use for which the

 Vehicles were purchased or leased.

        530.     Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable within the meaning of

 Cal. Civ. Code §§ 1791.1(a) & 1792, that is, fit for ordinary purposes, including providing reliable



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 and safe transportation.

         531.   Cal. Civ. Code § 1791.1(a) states: “Implied warranty of merchantability” or

 “implied warranty that goods are merchantable” means that the consumer goods meet each of the

 following:

         (1) Pass without objection in the trade under the contract description.

         (2) Are fit for the ordinary purposes for which such goods are used.

         (3) Are adequately contained, packaged, and labeled.

         (4) Conform to the promises or affirmations of fact made on the container or label.

         532.   Unfortunately, the Vehicles would not pass without objection in the automotive

 trade because of the defects in the Vehicles’ transmission system.          The Vehicles were of

 substandard quality and contained numerous latent defects at the time of purchase, including but

 not limited to transmission defects such as shifting erratically, and causing bucking, kicking,

 jerking, harsh engagement, delayed acceleration, lurching, erratic shifting, and a delay in

 downshifts, all of which have required multiple attempts to repair these defects. Because of these

 numerous defects, the Vehicles were and are not fit for their ordinary and intended purpose of

 providing reliable and safe transportation, and have caused economic loss to the California

 Plaintiffs.

         533.   Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

         534.   Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of



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 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

         535.    As a result of Defendant’s breach of the applicable implied warranties, owners

 and/or lessees of the Vehicles suffered an ascertainable loss of money, property, and/or value of

 their Vehicles. Additionally, as a result of the Transmission Defect, the California Plaintiffs were

 harmed and suffered actual damages in that the Vehicles’ transmissions are substantially certain

 to fail before their expected useful life has run.

         536.    Pursuant to Cal. Civ. Code §§ 1791.1(d) & 1794, the California Plaintiffs sue Ford

 for damages and other legal and equitable relief including, at their election, the purchase price of

 their Vehicles, or the overpayment or diminution in value of their Vehicles. The California

 Plaintiffs further sue Ford for civil penalties in amount to be determined at trial because of Ford’s

 willful failure to comply with their obligations to the California Plaintiffs. Pursuant to Cal. Civ.

 Code § 1794, Plaintiffs further sue Ford for costs and attorneys’ fees.

                                             COLORADO

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

         537.    The Colorado Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

         538.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

         539.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).




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        540.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        541.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        542.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        543.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        544.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        545.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        546.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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        547.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        548.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        549.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        550.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        551.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        552.    The Colorado Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                              SECOND CAUSE OF ACTION
                            BREACH OF EXPRESS WARRANTY

        553.   The Colorado Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        554.   The Colorado Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Colorado at Colo. Rev. Stat. § 4-2-101 et. seq.

        555.   Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Colorado Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        556.   The Colorado Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Colorado Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        557.   The Colorado Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Colorado Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Colorado Plaintiffs prior to their acceptance of the Vehicles.

        558.    As a result of the Transmission Defect in the Colorado Plaintiffs’ Vehicles, the

 Colorado Plaintiffs’ Vehicles cannot be reasonably relied on by the Colorado Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        559.    Defendant breached this warranty by selling to the Colorado Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        560.    As a result of the Transmission Defect in the Colorado Plaintiffs’ Vehicles, the

 Colorado Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Colorado Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        561.    As a result of the transmission defects, the Colorado Plaintiffs have lost faith and

 confidence in the Vehicles and the Colorado Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        562.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty



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 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        563.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        564.    The Colorado Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        565.    The Colorado Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                            THIRD CAUSE OF ACTION
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        566.    The Colorado Plaintiffs incorporate by reference all facts and allegations set forth


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 in this Complaint.

            567.   The Colorado Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Colorado at Colo. Rev. Stat. § 4-2-101 et. seq.

            568.   Defendant is a “merchant” with respect to motor vehicles under the Colorado

 statute.

            569.   Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            570.   Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Colorado Plaintiffs.

            571.   Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            572.   Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a



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 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        573.    As a result of Ford’s breaches of implied warranties, the Colorado Plaintiffs have

 suffered economic loss and damages. The damages the Colorado Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        574.    The Colorado Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        575.    The Colorado Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                           FOURTH CAUSE OF ACTION
            VIOLATION OF THE COLORADO CONSUMER PROTECTION ACT
                       (COLO. REV. STAT. § 6-1-101 ET SEQ.)

        576.    The Colorado Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        577.    The Colorado Consumer Protection Act (Colorado CPA) prohibits deceptive

 practices in the course of a person’s business, including but not limited to “fail[ing] to disclose

 material information concerning goods, services, or property which information was known at the

 time of an advertisement or sale if such failure to disclose such information was intended to induce



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 the consumer to enter into a transaction.” COLO. REV. STAT. § 6-1-105.                    Defendant’s

 aforementioned conduct violated the Colorado CPA.

        578.    Defendant is a “person” under COLO. REV. STAT. § 6-1-102(6).

        579.    The Colorado Plaintiffs are “consumers” for purposes of COL. REV. STAT § 6-1-

 113(1)(a).

        580.    Defendant’s conduct, as set forth above, occurred in the conduct of trade or

 commerce.

        581.    Ford violated the Colorado CPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        582.    Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Colorado Plaintiffs, and imposed a serious safety

 risk on the public.

        583.    Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,



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 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        584.     Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Colorado Plaintiffs, Ford knew or had reason to

             know that the Vehicles had inherent and systemic Transmission Defects, as described

             in this Complaint, but Ford failed to disclose this material information to the Colorado

             Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

             reasonably have been known by the Colorado Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

             use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

             operation of law;



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        h. Entering into a consumer transaction in which the Colorado Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Colorado Plaintiffs’ specific consent to the waiver.

        585.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Colorado Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        586.    The    Colorado     Plaintiffs   reasonably    relied   on   Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        587.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        588.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Colorado Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Colorado Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        589.    As a result of the Transmission Defects, the Colorado Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,



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 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Colorado

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        590.    Pursuant to COLO. REV. STAT. § 6-1-113, the Colorado Plaintiffs seek monetary

 relief against Defendant measured as the greater of (a) actual damages in an amount to be

 determined at trial and discretionary trebling of such damages, or (b) statutory damages in the

 amount of $500 for each plaintiff. The Colorado Plaintiffs also seek attorneys’ fees and costs, and

 any other just and proper remedy under the Colorado CPA.

                                         CONNECTICUT

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        591.    The Connecticut Plaintiffs incorporate by reference each of the preceding

 paragraphs as though fully set forth herein.

        592.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        593.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        594.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        595.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        596.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).




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        597.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        598.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        599.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        600.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        601.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        602.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and



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 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        603.   Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        604.   As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge




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 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

            605.   The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

            606.   The Connecticut Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                 SECOND CAUSE OF ACTION
                               BREACH OF EXPRESS WARRANTY

            607.   The Connecticut Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            608.   The Connecticut Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Connecticut at Conn. Gen. Stat. § 42a-2-101

 et. seq.

            609.   Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Connecticut Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

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 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        610.    The Connecticut Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the Connecticut Plaintiffs’ acceptance of the Vehicles by

 agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        611.    The Connecticut Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Connecticut Plaintiffs. These defects and non-conformities could not reasonably have been

 discovered by the Connecticut Plaintiffs prior to their acceptance of the Vehicles.

        612.    As a result of the Transmission Defect in the Connecticut Plaintiffs’ Vehicles, the

 Connecticut Plaintiffs’ Vehicles cannot be reasonably relied on by the Connecticut Plaintiffs for

 the ordinary purpose of providing safe, reliable, and efficient transportation.

        613.    Defendant breached this warranty by selling to the Connecticut Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are



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 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        614.    As a result of the Transmission Defect in the Connecticut Plaintiffs’ Vehicles, the

 Connecticut Plaintiffs have suffered economic damages including, but not limited to, costly

 repairs, loss of use of the vehicle, substantial loss in value and resale value of the vehicles,

 diminished value of the vehicle on the date of sale, and other related damage. The Connecticut

 Plaintiffs have provided Ford with sufficient opportunities to repair or replace their Vehicles.

        615.    As a result of the transmission defects, the Connecticut Plaintiffs have lost faith and

 confidence in the Vehicles and the Connecticut Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        616.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        617.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s



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 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

            618.    The Connecticut Plaintiffs have reasonably met all obligations and pre-conditions

 as provided in the express warranty that accompanied their Vehicles, or otherwise have been

 excused from performance of said obligations as a result of Defendant’s conduct described herein.

            619.    The Connecticut Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                THIRD CAUSE OF ACTION
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            620.    The Connecticut Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            621.    The Connecticut Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Connecticut at Conn. Gen. Stat. § 42a-2-101

 et. seq.

            622.    Defendant is a “merchant” with respect to motor vehicles under the Connecticut

 statute.

            623.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            624.    Unfortunately, the Vehicles were of substandard quality and contained numerous


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 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Connecticut Plaintiffs.

        625.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        626.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        627.    As a result of Ford’s breaches of implied warranties, the Connecticut Plaintiffs have

 suffered economic loss and damages. The damages the Connecticut Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        628.    The Connecticut Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.



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        629.    The Connecticut Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                         FOURTH CAUSE OF ACTION
          UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION ACT
                      CONNECTICUT STAT. § 45.50.471, et seq.

        630.    The Connecticut Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

        631.    The Connecticut Unfair Trade Practices Act (Connecticut UTPA) provides: “No

 person shall engage in unfair methods of competition and unfair or deceptive acts or practices in

 the conduct of any trade or commerce.” CONN. GEN. STAT. § 42-110b(a). Defendant’s

 aforementioned conduct violated this statute.

        632.    The Connecticut Plaintiffs and Defendant are each a “person” within the meaning

 of CONN. GEN. STAT. § 42-110a(3).

        633.    Defendant’s challenged conduct occurred in “trade” or “commerce” within the

 meaning of CONN. GEN. STAT. § 42-110a(4).

        634.    Ford violated the Connecticut UTPA as a result of its manufacture and sale of

 vehicles with Transmission Defects, which Ford failed to adequately investigate, disclose and

 remedy, and its misrepresentations and omissions regarding the safety and reliability of these

 vehicles, which had the tendency or capacity to mislead. By failing to disclose and by intentionally

 concealing the Transmission Defects and the true defective nature of its PowerShift transmission



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 system, by marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality

 and standard, and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented

 and omitted material facts and breached its legal duties.

        635.    Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Connecticut Plaintiffs, and imposed a serious safety

 risk on the public.

        636.    Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        637.    Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and



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            transmissions;

        d. At the time of the sales or leases to the Connecticut Plaintiffs, Ford knew or had reason

            to know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the

            Connecticut Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Connecticut Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Connecticut Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Connecticut Plaintiffs’ specific consent to the waiver.

        638.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Connecticut Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        639.    The    Connecticut     Plaintiffs   reasonably   relied   on   Defendant’s   material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        640.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle



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 with a DPS6 transmission in 2019.

        641.      As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Connecticut Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Connecticut Plaintiffs known that the Vehicles would be equipped with a characteristically

 defective transmission or exhibit the Transmission Defects, they would not have purchased or

 leased the Vehicles or would have paid substantially less to purchase or lease them.

        642.      As a result of the Transmission Defects, the Connecticut Plaintiffs were harmed

 and suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to

 fail before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The

 Connecticut Plaintiffs have also experienced and will continue experience repair costs as a result

 of the Transmission Defect.

        643.      The Connecticut Plaintiffs are entitled to recover their actual damages, punitive

 damages, and attorneys’ fees and costs pursuant to CONN. GEN. STAT. § 42-110g.

        644.      Defendants acted with reckless indifference to another’s rights, or wanton or

 intentional violation of another’s rights, and otherwise engaged in conduct amounting to a

 particularly aggravated, deliberate disregard for the rights of others. Therefore, punitive damages

 are warranted.




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                                            FLORIDA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        645.    The Florida Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

        646.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        647.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        648.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        649.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        650.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        651.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        652.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).




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        653.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        654.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        655.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        656.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford




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 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        657.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        658.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        659.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        660.    The Florida Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as


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 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        661.    The Florida Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        662.    The Florida Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Florida at Fla. Stat. § 672.101 et. seq.

        663.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Florida Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        664.    The Florida Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Florida Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

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 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        665.    The Florida Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Florida Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Florida Plaintiffs prior to their acceptance of the Vehicles.

        666.    As a result of the Transmission Defect in the Florida Plaintiffs’ Vehicles, the

 Florida Plaintiffs’ Vehicles cannot be reasonably relied on by the Florida Plaintiffs for the ordinary

 purpose of providing safe, reliable, and efficient transportation.

        667.    Defendant breached this warranty by selling to the Florida Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        668.    As a result of the Transmission Defect in the Florida Plaintiffs’ Vehicles, the

 Florida Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Florida Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.



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        669.    As a result of the transmission defects, the Florida Plaintiffs have lost faith and

 confidence in the Vehicles and the Florida Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        670.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        671.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        672.    The Florida Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        673.    The Florida Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential



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 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                            THIRD CAUSE OF ACTION
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        674.    The Florida Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        675.    The Florida Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Florida at Fla. Stat. § 672.101 et. seq.

        676.    Defendant is a “merchant” with respect to motor vehicles under the Florida statute.

        677.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        678.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Florida Plaintiffs.

        679.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        680.    Ford failed to adequately remedy the transmission defects in the Vehicles within a


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 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        681.    As a result of Ford’s breaches of implied warranties, the Florida Plaintiffs have

 suffered economic loss and damages. The damages the Florida Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        682.    The Florida Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

        683.    The Florida Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              FOURTH CAUSE OF ACTION
                          VIOLATIONS OF FLORIDA’S UNFAIR &
                           DECEPTIVE TRADE PRACTICES ACT
                               (Fla. Stat. § 501.201, et seq.)

        684.    The Florida Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.




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        685.      The Florida Plaintiffs are “consumers” within the meaning of the Florida Unfair

 and Deceptive Trade Practices Act (Florida UDTPA”), Fla. Stat. § 501.203(7).

        686.      Defendant is engaged in “trade or commerce” within the meaning of Fla. Stat. §

 501.203(8).

        687.      The Florida UDTPA prohibits “[u]nfair methods of competition, unconscionable

 acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce

 …” Fla. Stat. § 501.204(1). Defendant participated in unfair and deceptive trade practices that

 violated the Florida UDTPA as described herein.

        688.      Ford violated the Florida UDTPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        689.      Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Florida Plaintiffs, and imposed a serious safety risk

 on the public.

        690.      Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of



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 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        691.    Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a.      Representing through its advertising, warranties, and other express representations

                that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                or characteristics that they did not actually have;

        b.      Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                were of a particular standard or quality when they were not;

        c.      Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                intent not to sell them as advertised and, when so doing, concealing and suppressing

                facts material to the true characteristics, standards and qualities of the Vehicles and

                transmissions;

        d.      At the time of the sales or leases to the Florida Plaintiffs, Ford knew or had reason

                to know that the Vehicles had inherent and systemic Transmission Defects, as

                described in this Complaint, but Ford failed to disclose this material information to

                the Florida Plaintiffs;

        e.      Failing to reveal material facts which misled Plaintiffs and which facts could not

                reasonably have been known by the Florida Plaintiffs;

        f.      Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;

        g.      Failing to provide promised benefits under the warranty, both expressly or implied



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                by operation of law;

        h.      Entering into a consumer transaction in which the Florida Plaintiffs purportedly

                waived a right, benefit, or immunity provided by law, without clearly stating the

                waiver and obtaining the Florida Plaintiffs’ specific consent to the waiver.

        692.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Florida Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        693.    The Florida Plaintiffs reasonably relied on Defendant’s material misrepresentations

 and omissions concerning the Vehicles, and their transmissions.

        694.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        695.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Florida Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Florida

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        696.    As a result of the Transmission Defects, the Florida Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to



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 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Florida

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        697.    The Florida Plaintiffs hereby sue Defendants to recover their actual damages under

 Fla. Stat. § 501.211(2) plus punitive damages plus attorneys’ fees and costs under Fla. Stat. §

 501.2105(1) plus any other just and proper relief under the Florida UDTPA.

                                            GEORGIA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        698.    The Georgia Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        699.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        700.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        701.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        702.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        703.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        704.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

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 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        705.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        706.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        707.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        708.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        709.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or



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 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        710.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        711.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.




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        712.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        713.    The Georgia Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        714.    The Georgia Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        715.    The Georgia Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Georgia at Ga. Code Ann. § 11-2-101 et. seq.

        716.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Georgia Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

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 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        717.    The Georgia Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Georgia Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        718.    The Georgia Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Georgia Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Georgia Plaintiffs prior to their acceptance of the Vehicles.

        719.    As a result of the Transmission Defect in the Georgia Plaintiffs’ Vehicles, the

 Georgia Plaintiffs’ Vehicles cannot be reasonably relied on by the Georgia Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        720.    Defendant breached this warranty by selling to the Georgia Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective



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 condition.

        721.    As a result of the Transmission Defect in the Georgia Plaintiffs’ Vehicles, the

 Georgia Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Georgia Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        722.    As a result of the transmission defects, the Georgia Plaintiffs have lost faith and

 confidence in the Vehicles and the Georgia Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        723.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        724.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        725.    The Georgia Plaintiffs have reasonably met all obligations and pre-conditions as



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 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        726.    The Georgia Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                            THIRD CAUSE OF ACTION
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        727.    The Georgia Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        728.    The Georgia Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Georgia at Ga. Code Ann. § 11-2-101 et. seq.

        729.    Defendant is a “merchant” with respect to motor vehicles under the Georgia statute.

        730.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        731.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused


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 economic loss to the Georgia Plaintiffs.

        732.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        733.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        734.    As a result of Ford’s breaches of implied warranties, the Georgia Plaintiffs have

 suffered economic loss and damages. The damages the Georgia Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        735.    The Georgia Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

        736.    The Georgia Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-



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 judgment interest and all other relief allowed by law.

                       FOURTH CAUSE OF ACTION
  VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES ACT
                    (GA. CODE. ANN § 10-1-370 ET SEQ.)

         737.    The Georgia Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

         738.    Georgia’s Uniform Deceptive Trade Practices Act (Georgia UDTPA) prohibits

 “deceptive trade practices,” which include “representing that goods or services have sponsorship,

 approval, characteristics, ingredients, uses, benefits, or quantities that they do not have”;

 “[r]epresenting that goods or services are of a particular standard, quality, or grade . . . if they are

 of another”; and “[a]dvertising goods or services with intent not to sell them as advertised.” GA.

 CODE ANN. § 10- 1-393(b). Defendants’ aforementioned conduct violated this statute.

         739.    Defendant and the Georgia Plaintiffs are “persons” within the meaning of GA.

 CODE ANN. § 10-1-371(5).

         740.    Ford violated the Georgia UDTPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

         741.    Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and



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 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Georgia Plaintiffs, and imposed a serious safety

 risk on the public.

        742.    Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        743.    Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a.      Representing through its advertising, warranties, and other express representations

                that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                or characteristics that they did not actually have;

        b.      Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                were of a particular standard or quality when they were not;

        c.      Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                intent not to sell them as advertised and, when so doing, concealing and suppressing

                facts material to the true characteristics, standards and qualities of the Vehicles and

                transmissions;

        d.      At the time of the sales or leases to the Georgia Plaintiffs, Ford knew or had reason

                to know that the Vehicles had inherent and systemic Transmission Defects, as

                described in this Complaint, but Ford failed to disclose this material information to

                the Georgia Plaintiffs;



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        e.      Failing to reveal material facts which misled Plaintiffs and which facts could not

                reasonably have been known by the Georgia Plaintiffs;

        f.      Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;

        g.      Failing to provide promised benefits under the warranty, both expressly or implied

                by operation of law;

        h.      Entering into a consumer transaction in which the Georgia Plaintiffs purportedly

                waived a right, benefit, or immunity provided by law, without clearly stating the

                waiver and obtaining the Georgia Plaintiffs’ specific consent to the waiver.

        744.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Georgia Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        745.    The    Georgia     Plaintiffs   reasonably    relied   on    Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        746.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        747.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Georgia Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Georgia Plaintiffs known that the Vehicles would be equipped with a characteristically defective



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 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        748.    As a result of the Transmission Defects, the Georgia Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Georgia

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        749.    The Georgia Plaintiffs are entitled to recover, and hereby sue Defendant for, actual

 damages, plus attorney’s fees and expenses of litigation per Ga. Code Ann. § 10-1-399(d) plus

 exemplary damages (for intentional violations) per Ga. Code. Ann. § 10-1-399(a). The Georgia

 Plaintiffs also sue Defendant for any other just and proper relief available under Georgia UDTPA

 per Ga. Code. Ann. § 10-1-399.

                                             ILLINOIS

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        750.    The Illinois Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

        751.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        752.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        753.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

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        754.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        755.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        756.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        757.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        758.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        759.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        760.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or



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 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        761.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        762.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        763.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        764.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        765.    The Illinois Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        766.    The Illinois Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        767.    The Illinois Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Illinois at 810 Ill. Comp. Stat. 5/2-101 et. seq.

        768.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

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 risk of failure or latent defects that would plague the Vehicle. Each of the Illinois Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        769.    The Illinois Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Illinois Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        770.    The Illinois Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Illinois Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Illinois Plaintiffs prior to their acceptance of the Vehicles.

        771.    As a result of the Transmission Defect in the Illinois Plaintiffs’ Vehicles, the Illinois

 Plaintiffs’ Vehicles cannot be reasonably relied on by the Illinois Plaintiffs for the ordinary



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 purpose of providing safe, reliable, and efficient transportation.

        772.    Defendant breached this warranty by selling to the Illinois Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        773.    As a result of the Transmission Defect in the Illinois Plaintiffs’ Vehicles, the Illinois

 Plaintiffs have suffered economic damages including, but not limited to, costly repairs, loss of use

 of the vehicle, substantial loss in value and resale value of the vehicles, diminished value of the

 vehicle on the date of sale, and other related damage. The Illinois Plaintiffs have provided Ford

 with sufficient opportunities to repair or replace their Vehicles.

        774.    As a result of the transmission defects, the Illinois Plaintiffs have lost faith and

 confidence in the Vehicles and the Illinois Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        775.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        776.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the



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 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        777.    The Illinois Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        778.    The Illinois Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                            THIRD CAUSE OF ACTION
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        779.    The Illinois Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        780.    The Illinois Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Illinois at 810 Ill. Comp. Stat. 5/2-101 et. seq.

        781.    Defendant is a “merchant” with respect to motor vehicles under the Illinois statute.

        782.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.


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        783.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Illinois Plaintiffs.

        784.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        785.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        786.    As a result of Ford’s breaches of implied warranties, the Illinois Plaintiffs have

 suffered economic loss and damages. The damages the Illinois Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        787.    The Illinois Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of



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 Defendant’s conduct described herein.

        788.    The Illinois Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              FOURTH CAUSE OF ACTION
                   VIOLATIONS OF ILLINOIS CONSUMER FRAUD AND
                        DECEPTIVE BUSINESS PRACTICES ACT
                       (815 ILCS 505/1, et seq. and 720 ILCS 295/1a)

        789.    The Illinois Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        790.    Defendants is a “person” as that term is defined in 815 ILCS 505/1(c).

        791.    The Illinois Consumer Fraud and Deceptive Business Practices Act (“Illinois

 CFA”) prohibits “unfair or deceptive acts or practices, including but not limited to the use or

 employment of any deception, fraud, false pretense, false promise, misrepresentation or the

 concealment, suppression or omission of any material fact, with intent that others rely upon the

 concealment, suppression or omission of such material fact … in the conduct of trade or commerce

 … whether any person has in fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

 Defendants’ aforementioned conduct intentionally violated the Illinois CFA.

        792.    Ford violated the Illinois CFA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

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 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        793.      Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Illinois Plaintiffs, and imposed a serious safety risk

 on the public.

        794.      Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        795.      Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a.        Representing through its advertising, warranties, and other express representations

                  that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                  or characteristics that they did not actually have;

        b.        Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                  were of a particular standard or quality when they were not;

        c.        Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                  intent not to sell them as advertised and, when so doing, concealing and suppressing



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                facts material to the true characteristics, standards and qualities of the Vehicles and

                transmissions;

        d.      At the time of the sales or leases to the Illinois Plaintiffs, Ford knew or had reason

                to know that the Vehicles had inherent and systemic Transmission Defects, as

                described in this Complaint, but Ford failed to disclose this material information to

                the Illinois Plaintiffs;

        e.      Failing to reveal material facts which misled Plaintiffs and which facts could not

                reasonably have been known by the Illinois Plaintiffs;

        f.      Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;

        g.      Failing to provide promised benefits under the warranty, both expressly or implied

                by operation of law;

        h.      Entering into a consumer transaction in which the Illinois Plaintiffs purportedly

                waived a right, benefit, or immunity provided by law, without clearly stating the

                waiver and obtaining the Illinois Plaintiffs’ specific consent to the waiver.

        796.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Illinois Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        797.    The Illinois Plaintiffs reasonably relied on Defendant’s material misrepresentations

 and omissions concerning the Vehicles, and their transmissions.

        798.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other



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 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        799.     As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Illinois Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Illinois

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        800.     As a result of the Transmission Defects, the Illinois Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Illinois

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        801.     Pursuant to 815 ILCS 505/10a(a), the Illinois Plaintiffs sue Defendant for actual

 damages, plus punitive damages because Defendant acted with fraud and/or malice and/or were

 grossly negligent and their conduct was willful or intentional and done with evil motive or reckless

 indifference to the rights of others. Defendant’s conduct resulted in public injury constituted a

 pattern or an effect on consumers and the public interest. The Illinois Plaintiffs also seek attorney’s

 fees and costs per 815 ILCS § 505/10a(c) plus any other just and proper relief available under the

 Illinois CFA.




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                                             INDIANA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        802.    The Indiana Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

        803.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        804.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        805.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        806.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        807.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        808.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        809.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).




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        810.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        811.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        812.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        813.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford




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 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        814.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        815.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        816.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        817.    The Indiana Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as


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 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        818.    The Indiana Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        819.    The Indiana Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Indiana at Ind. Code § 26-1-2-101 et. seq.

        820.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Indiana Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        821.    The Indiana Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Indiana Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

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 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        822.    The Indiana Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Indiana Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Indiana Plaintiffs prior to their acceptance of the Vehicles.

        823.    As a result of the Transmission Defect in the Indiana Plaintiffs’ Vehicles, the

 Indiana Plaintiffs’ Vehicles cannot be reasonably relied on by the Indiana Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        824.    Defendant breached this warranty by selling to the Indiana Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        825.    As a result of the Transmission Defect in the Indiana Plaintiffs’ Vehicles, the

 Indiana Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Indiana Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.



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        826.    As a result of the transmission defects, the Indiana Plaintiffs have lost faith and

 confidence in the Vehicles and the Indiana Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        827.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        828.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        829.    The Indiana Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        830.    The Indiana Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential



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 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                            THIRD CAUSE OF ACTION
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        831.    The Indiana Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        832.    The Indiana Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Indiana at Ind. Code § 26-1-2-101 et. seq.

        833.    Defendant is a “merchant” with respect to motor vehicles under the Indiana statute.

        834.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        835.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Indiana Plaintiffs.

        836.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        837.    Ford failed to adequately remedy the transmission defects in the Vehicles within a


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 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        838.    As a result of Ford’s breaches of implied warranties, the Indiana Plaintiffs have

 suffered economic loss and damages. The damages the Indiana Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        839.    The Indiana Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

        840.    The Indiana Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                           FOURTH CAUSE OF ACTION
            VIOLATION OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                              (IND. CODE § 24-5-0.5-3)

        841.    The Indiana Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        842.    Indiana’s Deceptive Consumer Sales Act (Indiana DCSA) prohibits a person from



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 engaging in a “deceptive business practice[s]” or acts, including but not limited to “(1) That such

 subject of a consumer transaction has sponsorship, approval, performance, characteristics,

 accessories, uses, or benefits that they do not have, or that a person has a sponsorship, approval,

 status, affiliation, or connection it does not have; (2) That such subject of a consumer transaction

 is of a particular standard, quality, grade, style or model, if it is not and if the supplier knows or

 should reasonably know that it is not; . . . (7) That the supplier has a sponsorship, approval or

 affiliation in such consumer transaction that the supplier does not have, and which the supplier

 knows or should reasonably know that the supplier does not have; . . . (b) Any representations on

 or within a product or its packaging or in advertising or promotional materials which would

 constitute a deceptive act shall be the deceptive act both of the supplier who places such a

 representation thereon or therein, or who authored such materials, and such suppliers who shall

 state orally or in writing that such representation is true if such other supplier shall know or have

 reason to know that such representation was false.” The DCSA further provides that “[a] supplier

 may not commit an unfair, abusive, or deceptive act, omission, or practice in connection with a

 consumer transaction. Such an act, omission, or practice by a supplier is a violation of [the DCSA]

 whether it occurs before, during, or after the transaction. An act, omission, or practice prohibited

 by this section includes both implicit and explicit misrepresentations.” Ind. Code § 24-5-0.5-3(a).

 Defendant’s conduct violated this statute.

        843.    The Indiana Plaintiffs’ vehicle purchases are “consumer transactions” within the

 meaning of IND. CODE § 24-5-0.5-2(a)(3).

        844.    Ford violated the Indiana DCSA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which



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 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        845.      Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Indiana Plaintiffs, and imposed a serious safety risk

 on the public.

        846.      Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        847.      Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent



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            not to sell them as advertised and, when so doing, concealing and suppressing facts

            material to the true characteristics, standards and qualities of the Vehicles and

            transmissions;

        d. At the time of the sales or leases to the Indiana Plaintiffs, Ford knew or had reason to

            know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the Indiana

            Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Indiana Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Indiana Plaintiffs purportedly waived

            a right, benefit, or immunity provided by law, without clearly stating the waiver and

            obtaining the Indiana Plaintiffs’ specific consent to the waiver.

        848.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Indiana Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        849.    The Indiana Plaintiffs reasonably relied on Defendant’s material misrepresentations

 and omissions concerning the Vehicles, and their transmissions.

        850.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the



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 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        851.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Indiana Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Indiana

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        852.    As a result of the Transmission Defects, the Indiana Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Indiana

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        853.    Pursuant to IND. CODE § 24-5-0.5-4, the Indiana Plaintiffs seek monetary relief

 against Defendant measured as the greater of (a) actual damages in an amount to be determined at

 trial and (b) statutory damages in the amount of $500 for each plaintiff, including treble damages

 up to $1,000 for Defendant’s willfully deceptive acts.        The Indiana Plaintiffs further seek

 reasonable attorney fees and costs per Ind. Code § 24-5-0.5-4. The Indiana Plaintiffs also seek

 punitive damages based on the outrageousness and recklessness of each Defendant’s conduct.




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                                             KANSAS

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        854.    The Kansas Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

        855.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        856.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        857.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        858.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        859.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        860.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        861.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).




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        862.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        863.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        864.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        865.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford




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 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        866.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        867.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        868.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        869.    The Kansas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as


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 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        870.    The Kansas Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        871.    The Kansas Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Kansas at Kan. Stat. Ann. § 84-2-101 et. seq.

        872.    Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Kansas Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        873.    The Kansas Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Kansas Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

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 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        874.    The Kansas Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Kansas Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Kansas Plaintiffs prior to their acceptance of the Vehicles.

        875.    As a result of the Transmission Defect in the Kansas Plaintiffs’ Vehicles, the

 Kansas Plaintiffs’ Vehicles cannot be reasonably relied on by the Kansas Plaintiffs for the ordinary

 purpose of providing safe, reliable, and efficient transportation.

        876.    Defendant breached this warranty by selling to the Kansas Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        877.    As a result of the Transmission Defect in the Kansas Plaintiffs’ Vehicles, the

 Kansas Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Kansas Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.



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        878.    As a result of the transmission defects, the Kansas Plaintiffs have lost faith and

 confidence in the Vehicles and the Kansas Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        879.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        880.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        881.    The Kansas Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        882.    The Kansas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential



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 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                THIRD CAUSE OF ACTION
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        883.    The Kansas Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        884.    The Kansas Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Kansas at Kan. Stat. Ann. § 84-2-101 et. seq.

        885.    Defendant is a “merchant” with respect to motor vehicles under the Kansas statute.

        886.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        887.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Kansas Plaintiffs.

        888.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        889.    Ford failed to adequately remedy the transmission defects in the Vehicles within a


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 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        890.    As a result of Ford’s breaches of implied warranties, the Kansas Plaintiffs have

 suffered economic loss and damages. The damages the Kansas Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        891.    The Kansas Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

        892.    The Kansas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                FOURTH CAUSE OF ACTION
                   VIOLATION OF THE KANSAS CONSUMER PROTECTION ACT
                             (KAN. STAT. ANN. § 50-623 ET SEQ.)

        893.    The Kansas Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.




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        894.    The Kansas Consumer Protection Act (Kansas CPA) states “[n]o supplier shall

 engage in any deceptive act or practice in connection with a consumer transaction.” KAN. STAT.

 ANN. § 50-626(a). Deceptive acts or practices include but are not limited to “the willful use, in

 any oral or written representation, of exaggeration, falsehood, innuendo or ambiguity as to a

 material fact” and “the willful failure to state a material fact, or the willful concealment,

 suppression or omission of a material fact.” KAN. STAT. ANN. § 50-626. Defendants’

 aforementioned conduct violated this statute.

        895.    The Kansas Plaintiffs are “consumers” within the meaning of KAN. STAT. ANN.

 § 50-624(b) who purchased or leased one or more Fraudulent Vehicles.

        896.    Each sale or lease of a Fraudulent Vehicle to the Kansas Plaintiffs was a “consumer

 transaction” within the meaning of KAN. STAT. ANN. § 50-624(c).

        897.    Ford violated the Kansas CPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        898.    Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Kansas Plaintiffs, and imposed a serious safety risk



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 on the public.

        899.      Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        900.      Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

             a. Representing through its advertising, warranties, and other express representations

                  that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                  or characteristics that they did not actually have;

             b. Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                  were of a particular standard or quality when they were not;

             c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                  intent not to sell them as advertised and, when so doing, concealing and suppressing

                  facts material to the true characteristics, standards and qualities of the Vehicles and

                  transmissions;

             d. At the time of the sales or leases to the Kansas Plaintiffs, Ford knew or had reason

                  to know that the Vehicles had inherent and systemic Transmission Defects, as

                  described in this Complaint, but Ford failed to disclose this material information to

                  the Kansas Plaintiffs;

             e. Failing to reveal material facts which misled Plaintiffs and which facts could not

                  reasonably have been known by the Kansas Plaintiffs;



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            f. Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;

            g. Failing to provide promised benefits under the warranty, both expressly or implied

                by operation of law;

            h. Entering into a consumer transaction in which the Kansas Plaintiffs purportedly

                waived a right, benefit, or immunity provided by law, without clearly stating the

                waiver and obtaining the Kansas Plaintiffs’ specific consent to the waiver.

        901.    Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Kansas Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        902.    The Kansas Plaintiffs reasonably relied on Defendant’s material misrepresentations

 and omissions concerning the Vehicles, and their transmissions.

        903.    Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        904.    As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Kansas Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Kansas

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.



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        905.    As a result of the Transmission Defects, the Kansas Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Kansas

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        906.    Pursuant to KAN. STAT. ANN. § 50-634, the Kansas Plaintiffs seek monetary

 relief against each Defendant measured as the greater of (a) actual damages in an amount to be

 determined at trial and (b) statutory damages in the amount of $10,000 for each plaintiff. The

 Kansas Plaintiffs also seek attorneys’ fees and costs, and any other just and proper relief available

 under KAN. STAT. ANN. § 50-623 et seq.

                                            KENTUCKY

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        907.    The Kentucky Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        908.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        909.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        910.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        911.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.


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        912.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        913.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        914.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        915.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        916.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        917.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and




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 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        918.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        919.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

            920.   As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

            921.   The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

            922.   The Kentucky Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                     SECOND CAUSE OF ACTION
                                   BREACH OF EXPRESS WARRANTY

            923.   The Kentucky Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            924.   The Kentucky Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Kentucky at Ky. Rev. Stat. Ann. § 355.2-101

 et. seq.

            925.   Ford’s advertisements and statements in written promotional and other materials

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 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Kentucky Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        926.    The Kentucky Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Kentucky Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        927.    The Kentucky Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Kentucky Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Kentucky Plaintiffs prior to their acceptance of the Vehicles.

        928.    As a result of the Transmission Defect in the Kentucky Plaintiffs’ Vehicles, the



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 Kentucky Plaintiffs’ Vehicles cannot be reasonably relied on by the Kentucky Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        929.    Defendant breached this warranty by selling to the Kentucky Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        930.    As a result of the Transmission Defect in the Kentucky Plaintiffs’ Vehicles, the

 Kentucky Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Kentucky Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        931.    As a result of the transmission defects, the Kentucky Plaintiffs have lost faith and

 confidence in the Vehicles and the Kentucky Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        932.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        933.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation



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 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

            934.   The Kentucky Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

            935.   The Kentucky Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                 THIRD CAUSE OF ACTION
                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            936.   The Kentucky Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            937.   The Kentucky Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Kentucky at Ky. Rev. Stat. Ann. § 355.2-101

 et. seq.

            938.   Defendant is a “merchant” with respect to motor vehicles under the Kentucky

 statute.


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        939.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        940.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Kentucky Plaintiffs.

        941.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        942.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        943.    As a result of Ford’s breaches of implied warranties, the Kentucky Plaintiffs have

 suffered economic loss and damages. The damages the Kentucky Plaintiffs have suffered are a



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 direct and proximate result of Defendant’s actions.

        944.    The Kentucky Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        945.    The Kentucky Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                           LOUISIANA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        946.    The Louisiana Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        947.    Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        948.    Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        949.    The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        950.    The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.




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        951.    As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        952.    Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        953.    The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        954.    Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        955.    Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        956.    Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and




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 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        957.    Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        958.    Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        959.    As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        960.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        961.    The Louisiana Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        962.    The Louisiana Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        963.    The Louisiana Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Louisiana at LSA-RS 51:1941 to LSA-RS

 51:1948 et. seq.

        964.    Ford’s advertisements and statements in written promotional and other materials

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 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Louisiana Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        965.    The Louisiana Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Louisiana Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        966.    The Louisiana Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Louisiana Plaintiffs.   These defects and non-conformities could not reasonably have been

 discovered by the Louisiana Plaintiffs prior to their acceptance of the Vehicles.

        967.    As a result of the Transmission Defect in the Louisiana Plaintiffs’ Vehicles, the



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 Louisiana Plaintiffs’ Vehicles cannot be reasonably relied on by the Louisiana Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        968.    Defendant breached this warranty by selling to the Louisiana Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        969.    As a result of the Transmission Defect in the Louisiana Plaintiffs’ Vehicles, the

 Louisiana Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Louisiana Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        970.    As a result of the transmission defects, the Louisiana Plaintiffs have lost faith and

 confidence in the Vehicles and the Louisiana Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        971.    The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        972.    Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation



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 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

            973.    The Louisiana Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

            974.    The Louisiana Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                THIRD CAUSE OF ACTION
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            975.    The Louisiana Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            976.    The Louisiana Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Louisiana at La.C.C. arts. 2475, 2476, 2520,

 2524, 2529 et. seq.

            977.    Defendant is a “merchant” with respect to motor vehicles under the Louisiana

 statute.


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        978.    Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        979.    Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Louisiana Plaintiffs.

        980.    Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        981.    Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        982.    As a result of Ford’s breaches of implied warranties, the Louisiana Plaintiffs have

 suffered economic loss and damages. The damages the Louisiana Plaintiffs have suffered are a



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 direct and proximate result of Defendant’s actions.

        983.    The Louisiana Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        984.    The Louisiana Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                FOURTH CAUSE OF ACTION
                          VIOLATION OF PRODUCTS LIABILITY ACT
                               La. Rev. Stat. § 9:2800.51, et seq.

        985.    The Louisiana Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        986.    This claim is for the Products Liability Act, La. Rev. Stat. § 9:2800.51, et seq.

 (“LPLA”).

        987.    The Louisiana Plaintiffs allege that Ford has defectively designed, manufactured,

 sold or otherwise placed in the stream of commerce Vehicles as set forth above.

        988.    The Vehicles in question possess “unreasonably dangerous” characteristics as

 contemplated by LPLA for the following reasons:

        A. It is unreasonably dangerous in construction or composition as provided in LPLA. §

             9:2800.55;

        B. It is unreasonably dangerous in design as provided in LPLA § 9:2800.56;



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        C. It is unreasonably dangerous because an adequate warning about the Vehicles’ DPS6

            transmission was not provided as required by LPLA § 9:2800.57; and

        D. It is unreasonably dangerous because it does not conform to an express warranty of the

            manufacturer about the product that render it unreasonably dangerous under LPLA §

            9:2800.55, et seq., that existed at the time the product left the control of the

            manufacturer.

        989.     Ford knew and expected for the Vehicles to eventually be sold to and operated by

 purchasers and/or eventual owners of the Vehicles, including the Louisiana Plaintiffs;

 consequently, the Louisiana Plaintiffs were an expected user of the product which Ford

 manufactured.

        990.     The Vehicles reached the Louisiana Plaintiffs without substantial changes in their

 condition from time of completion of manufacture by Ford.

        991.     The defects in the Vehicles could not have been contemplated by any reasonable

 person expected to operate the Vehicles, and, therefore, presented an unreasonably dangerous

 situation for expected users of the Vehicles even though the Vehicles were operated by expected

 users in a reasonable manner.

        992.     The Louisiana Plaintiffs’ injuries arose from a “reasonably anticipated use” of the

 Vehicles, as contemplated by LPLA.

        993.     As a direct and proximate cause of Ford’s design, manufacture, assembly,

 marketing, and sales of the Vehicles, the Louisiana Plaintiffs have sustained and will continue to

 sustain the loss of use of his/her vehicle, economic losses and consequential damages.

        994.     The Louisiana Plaintiffs allege the application of res ipsa loquitur under Louisiana

 Products Liability Law.



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        995.    The Louisiana Plaintiffs seek compensatory relief in accordance with the evidence,

 and a declaratory judgment that Ford is liable to the Louisiana Plaintiffs for breach of its duty to

 design, manufacture, assemble, market, and sell a safe product, fit for its reasonably intended use.

 The Louisiana Plaintiffs allege that the Transmission Defects events are the type of occurrences

 that would not happen in the absence of a defective product.

                                  FIFTH CAUSE OF ACTION
                                        REDHIBITION
                             LA. Civ. Code Art. 2520, et seq. and 2545

        996.    The Louisiana Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        997.    The Louisiana Plaintiffs allege that Ford defectively designed, manufactured, sold

 or otherwise placed in the stream of commerce the Vehicles, which are defective.

        998.    The Transmission Defects are the type of occurrences which would not happen in

 the absence of a defective product.

        999.    Res ipsa loquitur applies under Louisiana law.

        1000. The Louisiana Plaintiffs allege that Ford has known about safety hazards that result

 from unexpected Transmission Defects for a several years, yet has failed to adequately address

 those safety concerns.

        1001. Ford, as manufacturer of the Vehicles, is responsible for damages caused by the

 failure of its product to conform to well-defined standards. In particular, the Vehicles contain vices

 or defects which render them useless, or their use so inconvenient and unsafe that a reasonable

 buyer would not have purchased or leased them.

        1002. Ford manufactured, sold and promoted the Vehicles and placed the Vehicles into

 the stream of commerce.



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        1003. Under Louisiana Law, the seller and manufacturer warrant the buyer against

 redhibitory defects or vices in things sold. LA. Code Civ. P. Art. 2520 et. seq.

        1004. The Vehicles as sold and promoted by Ford possessed redhibitory defects because

 they were not manufactured and marketed in accordance with industry standards and/or were

 unreasonably dangerous as described above, which rendered the Vehicles useless or their use so

 inconvenient and unsafe that it must be presumed that a buyer would not have bought the vehicles

 had he/she known of the defect.

        1005. The Vehicles did not conform to the express or implied warranties and

 representations made by Ford.

        1006. Pursuant to LA. Code Civ. P. Art. 2520, the Louisiana Plaintiffs are entitled to

 rescission of the sale of the Vehicle.

        1007. The Vehicles alternatively possess redhibitory defects because the Vehicles were

 not manufactured and marketed in accordance with industry standards and/or were unreasonably

 dangerous as described above, which diminished the value of the Vehicles so that it must be

 presumed that a reasonable buyer would still have bought the vehicles, but for a lesser price, had

 the redhibitory defects been disclosed. In this instance, the Louisiana Plaintiffs are entitled to a

 reduction of the purchase price.

        1008. As the manufacturer of the vehicle, under Louisiana Law, Ford is deemed to know

 that the Vehicles contained redhibitory defects pursuant to LA. Code Civ. P. Art. 2545. Ford is

 liable as a bad faith seller for selling a defective product with knowledge of defects and thus is

 liable to the Louisiana Plaintiffs for the price of the Vehicles, with interest from the purchase date,

 as well as reasonable expenses occasioned by the sale of the Vehicles, and attorney’s fees.

        1009. As a proximate result of the defects and redhibitory vices in the Vehicles Ford sold



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 to the Louisiana Plaintiffs, they have suffered damages under Louisiana Law.

        1010. The Louisiana Plaintiffs pray that this Honorable Court enter Judgment against

 Ford for their compensatory and punitive damages, in whatever amount above $75,000.00 the

 Louisiana Plaintiffs are found to be entitled, together with interest, costs and attorney fees, plus

 such other and further relief as this Court deems appropriate.

                                           MARYLAND

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1011. The Maryland Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        1012. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        1013. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1014. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1015. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1016. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1017. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the




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 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1018. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1019. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1020. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1021. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1022. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6



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 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1023. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1024. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1025. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,


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 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1026. The Maryland Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        1027. The Maryland Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1028. The Maryland Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Maryland at Md. Code Ann., Com. Law § 2-

 101 et. seq.

        1029. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Maryland Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

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 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1030. The Maryland Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Maryland Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1031. The Maryland Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Maryland Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Maryland Plaintiffs prior to their acceptance of the Vehicles.

        1032. As a result of the Transmission Defect in the Maryland Plaintiffs’ Vehicles, the

 Maryland Plaintiffs’ Vehicles cannot be reasonably relied on by the Maryland Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1033. Defendant breached this warranty by selling to the Maryland Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.



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        1034. As a result of the Transmission Defect in the Maryland Plaintiffs’ Vehicles, the

 Maryland Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Maryland Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1035. As a result of the transmission defects, the Maryland Plaintiffs have lost faith and

 confidence in the Vehicles and the Maryland Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        1036. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1037. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1038. The Maryland Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused



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 from performance of said obligations as a result of Defendant’s conduct described herein.

            1039. The Maryland Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1040. The Maryland Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1041. The Maryland Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Maryland at Md. Code Ann., Com. Law § 2-

 101 et. seq.

            1042. Defendant is a “merchant” with respect to motor vehicles under the Maryland

 statute.

            1043. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1044. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for


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 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Maryland Plaintiffs.

        1045. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1046. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1047. As a result of Ford’s breaches of implied warranties, the Maryland Plaintiffs have

 suffered economic loss and damages. The damages the Maryland Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        1048. The Maryland Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1049. The Maryland Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential



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 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                          FOURTH CAUSE OF ACTION
           VIOLATION OF THE MARYLAND CONSUMER PROTECTION ACT
                  (MD. CODE ANN., COM. LAW § 13-101 ET SEQ.)

         1050. The Maryland Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

         1051. The Maryland Consumer Protection Act (Maryland CPA) provides that a person

 may not engage in any unfair or deceptive trade practice in the sale or lease of any consumer good,

 including “failure to state a material fact if the failure deceives or tends to deceive” and

 “[d]eception, fraud, false pretense, false premise, misrepresentation, or knowing concealment,

 suppression, or omission of any material fact with the intent that a consumer rely on the same,”

 MD. CODE ANN., COM. LAW § 13-301, regardless of whether the consumer is actually deceived

 or damaged, MD. CODE ANN., COM. LAW § 13-302. Defendant’s aforementioned conduct

 violated this statute.

         1052. Defendant and the Maryland Plaintiffs are “persons” within the meaning of MD.

 CODE ANN., COM. LAW § 13-101(h).

         1053. Ford violated the Maryland CPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted



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 material facts and breached its legal duties.

        1054. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Maryland Plaintiffs, and imposed a serious safety

 risk on the public.

        1055. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1056. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Maryland Plaintiffs, Ford knew or had reason



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            to know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the Maryland

            Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Maryland Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Maryland Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Maryland Plaintiffs’ specific consent to the waiver.

        1057. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Maryland Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1058. The         Maryland   Plaintiffs   reasonably   relied   on   Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1059. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1060. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,



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 the Maryland Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Maryland Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1061. As a result of the Transmission Defects, the Maryland Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Maryland

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        1062. Pursuant to MD. CODE ANN., COM. LAW § 13-408, the Maryland Plaintiffs seek

 actual damages, punitive damages, attorneys’ fees and costs, and any other just and proper relief

 available under the Maryland CPA.

                                            MICHIGAN

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1063. The Michigan Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        1064. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        1065. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).




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        1066. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1067. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1068. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1069. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1070. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1071. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1072. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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        1073. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1074. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1075. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1076. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1077. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1078. The Michigan Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                                  SECOND CAUSE OF ACTION
                                BREACH OF EXPRESS WARRANTY

            1079. The Michigan Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1080. The Michigan Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Michigan at Mich. Comp. Laws § 440.2101

 et. seq.

            1081. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Michigan Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

            1082. The Michigan Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Michigan Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

            1083. The Michigan Plaintiffs’ Vehicles were not as warranted and represented in that the

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 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Michigan Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Michigan Plaintiffs prior to their acceptance of the Vehicles.

        1084. As a result of the Transmission Defect in the Michigan Plaintiffs’ Vehicles, the

 Michigan Plaintiffs’ Vehicles cannot be reasonably relied on by the Michigan Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1085. Defendant breached this warranty by selling to the Michigan Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        1086. As a result of the Transmission Defect in the Michigan Plaintiffs’ Vehicles, the

 Michigan Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Michigan Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1087. As a result of the transmission defects, the Michigan Plaintiffs have lost faith and

 confidence in the Vehicles and the Michigan Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.



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        1088. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1089. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1090. The Michigan Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1091. The Michigan Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1092. The Michigan Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1093. The Michigan Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Michigan at Mich. Comp. Laws § 440.2101

 et. seq.

            1094. Defendant is a “merchant” with respect to motor vehicles under the Michigan

 statute.

            1095. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1096. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Michigan Plaintiffs.

            1097. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            1098. Ford failed to adequately remedy the transmission defects in the Vehicles within a


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 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1099. As a result of Ford’s breaches of implied warranties, the Michigan Plaintiffs have

 suffered economic loss and damages. The damages the Michigan Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        1100. The Michigan Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1101. The Michigan Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                          FOURTH CAUSE OF ACTION
            VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT
                      (MICH. COMP. LAWS § 445.903 ET SEQ.)

        1102. The Michigan Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.




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            1103. The Michigan Consumer Protection Act (Michigan CPA) prohibits “[u]nfair,

 unconscionable, or deceptive methods, acts, or practices in the conduct of trade or commerce,”

 including “[f]ailing to reveal a material fact, the omission of which tends to mislead or deceive the

 consumer, and which fact could not reasonably be known by the consumer”; “[m]aking a

 representation of fact or statement of fact material to the transaction such that a person reasonably

 believes the represented or suggested state of affairs to be other than it actually is”; or “[f]ailing to

 reveal facts that are material to the transaction in light of representations of fact made in a positive

 manner.” MICH. COMP. LAWS § 445.903(1). Defendant’s aforementioned conduct violated this

 statute.

            1104. The Michigan Plaintiffs are “person[s]” within the meaning of the MICH. COMP.

 LAWS § 445.902(1)(d).

            1105. Defendant is a “person” engaged in “trade or commerce” within the meaning of the

 MICH. COMP. LAWS § 445.902(1)(d) and (g).

            1106. Ford violated the Michigan CPA a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

            1107. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and



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 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Michigan Plaintiffs, and imposed a serious safety

 risk on the public.

        1108. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1109. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Michigan Plaintiffs, Ford knew or had reason

             to know that the Vehicles had inherent and systemic Transmission Defects, as described

             in this Complaint, but Ford failed to disclose this material information to the Michigan

             Plaintiffs;



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        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Michigan Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Michigan Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Michigan Plaintiffs’ specific consent to the waiver.

        1110. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Michigan Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1111. The      Michigan     Plaintiffs   reasonably    relied   on   Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1112. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1113. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Michigan Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Michigan Plaintiffs known that the Vehicles would be equipped with a characteristically defective



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 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1114. As a result of the Transmission Defects, the Michigan Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Michigan

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        1115. The Michigan Plaintiffs seek monetary relief against Defendant measured as the

 greater of (a) actual damages in an amount to be determined at trial and (b) statutory damages in

 the amount of $250 for each plaintiff; reasonable attorneys’ fees and costs; and any other just and

 proper relief available under MICH. COMP. LAWS § 445.911.

                                           MINNESOTA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1116. The Minnesota Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        1117. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        1118. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1119. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.




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        1120. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1121. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1122. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1123. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1124. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1125. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1126. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or



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 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1127. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1128. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1129. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1130. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1131. The Minnesota Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        1132. The Minnesota Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1133. The Minnesota Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Minnesota at Minn. Stat. § 336.2-101 et. seq.

        1134. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

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 risk of failure or latent defects that would plague the Vehicle. Each of the Minnesota Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1135. The Minnesota Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the Minnesota Plaintiffs’ acceptance of the Vehicles by

 agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1136. The Minnesota Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Minnesota Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Minnesota Plaintiffs prior to their acceptance of the Vehicles.

        1137. As a result of the Transmission Defect in the Minnesota Plaintiffs’ Vehicles, the

 Minnesota Plaintiffs’ Vehicles cannot be reasonably relied on by the Minnesota Plaintiffs for the



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 ordinary purpose of providing safe, reliable, and efficient transportation.

        1138. Defendant breached this warranty by selling to the Minnesota Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        1139. As a result of the Transmission Defect in the Minnesota Plaintiffs’ Vehicles, the

 Minnesota Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Minnesota Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1140. As a result of the transmission defects, the Minnesota Plaintiffs have lost faith and

 confidence in the Vehicles and the Minnesota Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        1141. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1142. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the



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 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

            1143. The Minnesota Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

            1144. The Minnesota Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1145. The Minnesota Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1146. The Minnesota Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Minnesota at Minn. Stat. § 336.2-101 et. seq.

            1147. Defendant is a “merchant” with respect to motor vehicles under the Minnesota

 statute.

            1148. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary


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 purposes, including providing reliable and safe transportation.

        1149. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Minnesota Plaintiffs.

        1150. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1151. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1152. As a result of Ford’s breaches of implied warranties, the Minnesota Plaintiffs have

 suffered economic loss and damages. The damages the Minnesota Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        1153. The Minnesota Plaintiffs have reasonably met all obligations and pre-conditions



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 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1154. The Minnesota Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                       FOURTH CAUSE OF ACTION
      VIOLATION OF THE MINNESOTA DECEPTIVE TRADE PRACTICES ACT
                     (MINN. STAT. § 325D.43-48 ET SEQ.)

        1155. The Minnesota Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1156. The Minnesota Deceptive Trade Practices Act (Minnesota DTPA) prohibits

 deceptive trade practices, which include “[t]he act, use, or employment by any person of any fraud,

 false pretense, false promise, misrepresentation, misleading statement or deceptive practice, with

 the intent that others rely thereon in connection with the sale of any merchandise, whether or not

 any person has in fact been misled, deceived, or damaged thereby.” MINN. STAT. § 325F.69(1).

 Defendants’ aforementioned conduct violated this statute.

        1157. Ford violated the Minnesota DTPA as a result of its manufacture and sale of

 vehicles with Transmission Defects, which Ford failed to adequately investigate, disclose and

 remedy, and its misrepresentations and omissions regarding the safety and reliability of these

 vehicles, which had the tendency or capacity to mislead. By failing to disclose and by intentionally

 concealing the Transmission Defects and the true defective nature of its PowerShift transmission



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 system, by marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality

 and standard, and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented

 and omitted material facts and breached its legal duties.

        1158. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Minnesota Plaintiffs, and imposed a serious safety

 risk on the public.

        1159. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1160. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and



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            transmissions;

        d. At the time of the sales or leases to the Minnesota Plaintiffs, Ford knew or had reason

            to know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the Minnesota

            Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Minnesota Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Minnesota Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Minnesota Plaintiffs’ specific consent to the waiver.

        1161. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Minnesota Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1162. The         Minnesota   Plaintiffs   reasonably   relied   on   Defendant’s    material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1163. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle



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 with a DPS6 transmission in 2019.

        1164. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Minnesota Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Minnesota Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1165. As a result of the Transmission Defects, the Minnesota Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The

 Minnesota Plaintiffs have also experienced and will continue experience repair costs as a result of

 the Transmission Defect.

        1166. Pursuant to MINN. STAT. § 8.31(3a), the Minnesota Plaintiffs seek actual

 damages, attorneys’ fees, and any other just and proper relief available under the Minnesota DTPA.

        1167. The Minnesota Plaintiffs also seek punitive damages under MINN. STAT. §

 549.20(1)(a) given the clear and convincing evidence that Defendants’ acts show deliberate

 disregard for the rights of others.

                                            MISSISSIPPI

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1168. The Mississippi Plaintiffs incorporate by reference each of the preceding

 paragraphs as though fully set forth herein.

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        1169. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        1170. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1171. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1172. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1173. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1174. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1175. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1176. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).



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        1177. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1178. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1179. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1180. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1181. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1182. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1183. The Mississippi Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                                      SECOND CAUSE OF ACTION
                                    BREACH OF EXPRESS WARRANTY

            1184. The Mississippi Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1185. The Mississippi Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Mississippi at Miss. Code Ann. § 75-2-101

 et. seq.

            1186. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Mississippi Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

            1187. The Mississippi Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the Mississippi Plaintiffs’ acceptance of the Vehicles by

 agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

            1188. The Mississippi Plaintiffs’ Vehicles were not as warranted and represented in that

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 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Mississippi Plaintiffs. These defects and non-conformities could not reasonably have been

 discovered by the Mississippi Plaintiffs prior to their acceptance of the Vehicles.

        1189. As a result of the Transmission Defect in the Mississippi Plaintiffs’ Vehicles, the

 Mississippi Plaintiffs’ Vehicles cannot be reasonably relied on by the Mississippi Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1190. Defendant breached this warranty by selling to the Mississippi Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        1191. As a result of the Transmission Defect in the Mississippi Plaintiffs’ Vehicles, the

 Mississippi Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Mississippi Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1192. As a result of the transmission defects, the Mississippi Plaintiffs have lost faith and

 confidence in the Vehicles and the Mississippi Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.



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        1193. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1194. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1195. The Mississippi Plaintiffs have reasonably met all obligations and pre-conditions

 as provided in the express warranty that accompanied their Vehicles, or otherwise have been

 excused from performance of said obligations as a result of Defendant’s conduct described herein.

        1196. The Mississippi Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                                  THIRD CAUSE OF ACTION
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1197. The Mississippi Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1198. The Mississippi Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Mississippi at Miss. Code Ann. § 75-2-101

 et. seq.

            1199. Defendant is a “merchant” with respect to motor vehicles under the Mississippi

 statute.

            1200. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1201. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Mississippi Plaintiffs.

            1202. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            1203. Ford failed to adequately remedy the transmission defects in the Vehicles within a


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 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1204. As a result of Ford’s breaches of implied warranties, the Mississippi Plaintiffs have

 suffered economic loss and damages. The damages the Mississippi Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        1205. The Mississippi Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1206. The Mississippi Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                            MISSOURI

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1207. The Missouri Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        1208. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

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        1209. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1210. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1211. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1212. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1213. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1214. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1215. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).




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        1216. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1217. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1218. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1219. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1220. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1221. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1222. The Missouri Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                              SECOND CAUSE OF ACTION
                            BREACH OF EXPRESS WARRANTY

        1223. The Missouri Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1224. The Missouri Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Missouri at Mo. Rev. Stat. § 400.2-101 et. seq.

        1225. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Missouri Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1226. The Missouri Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Missouri Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1227. The Missouri Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Missouri Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Missouri Plaintiffs prior to their acceptance of the Vehicles.

        1228. As a result of the Transmission Defect in the Missouri Plaintiffs’ Vehicles, the

 Missouri Plaintiffs’ Vehicles cannot be reasonably relied on by the Missouri Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1229. Defendant breached this warranty by selling to the Missouri Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        1230. As a result of the Transmission Defect in the Missouri Plaintiffs’ Vehicles, the

 Missouri Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Missouri Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1231. As a result of the transmission defects, the Missouri Plaintiffs have lost faith and

 confidence in the Vehicles and the Missouri Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        1232. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty



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 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1233. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1234. The Missouri Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1235. The Missouri Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                          THIRD CAUSE OF ACTION
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        1236. The Missouri Plaintiffs incorporate by reference all facts and allegations set forth


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 in this Complaint.

            1237. The Missouri Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Missouri at Mo. Rev. Stat. § 400.2-101 et. seq.

            1238. Defendant is a “merchant” with respect to motor vehicles under the Missouri

 statute.

            1239. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1240. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Missouri Plaintiffs.

            1241. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            1242. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a



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 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1243. As a result of Ford’s breaches of implied warranties, the Missouri Plaintiffs have

 suffered economic loss and damages. The damages the Missouri Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        1244. The Missouri Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1245. The Missouri Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                          FOURTH CAUSE OF ACTION
            VIOLATIONS OF MISSOURI MERCHANDISING PRACTICES ACT
                          (Mo. Rev. Stat. § 407.010, et seq.)

        1246. The Missouri Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1247. Defendant and the Missouri Plaintiffs are “persons” within the meaning of MO.

 REV. STAT. § 407.010(5).

        1248. Defendant engaged in “trade” or “commerce” in the State of Missouri within the

 meaning of Mo. Rev. Stat. § 407.010(7).



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        1249. The Missouri Merchandising Practices Act (“Missouri MPA”) makes unlawful the

 “act, use or employment by any person of any deception, fraud, false pretense, misrepresentation,

 unfair practice, or the concealment, suppression, or omission of any material fact in connection

 with the sale or advertisement of any merchandise.” Mo. Rev. Stat. § 407.020. Defendant

 intentionally violated the Missouri MPA.

        1250. Ford violated the Missouri MPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        1251. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Missouri Plaintiffs, and imposed a serious safety

 risk on the public.

        1252. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.



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       1253. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

       a.     Representing through its advertising, warranties, and other express representations

              that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

              or characteristics that they did not actually have;

       b.     Representing that the Vehicles, specifically that the transmissions in the Vehicles,

              were of a particular standard or quality when they were not;

       c.     Advertising the Vehicles and in particular the Vehicles’ transmissions with the

              intent not to sell them as advertised and, when so doing, concealing and suppressing

              facts material to the true characteristics, standards and qualities of the Vehicles and

              transmissions;

       d.     At the time of the sales or leases to the Missouri Plaintiffs, Ford knew or had reason

              to know that the Vehicles had inherent and systemic Transmission Defects, as

              described in this Complaint, but Ford failed to disclose this material information to

              the Missouri Plaintiffs;

       e.     Failing to reveal material facts which misled Plaintiffs and which facts could not

              reasonably have been known by the Missouri Plaintiffs;

       f.     Attempting to disclaim or limit the implied warranty of merchantability and fitness

              for use without clearly and conspicuously disclosing same;

       g.     Failing to provide promised benefits under the warranty, both expressly or implied

              by operation of law;

       h.     Entering into a consumer transaction in which the Missouri Plaintiffs purportedly

              waived a right, benefit, or immunity provided by law, without clearly stating the



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                waiver and obtaining the Missouri Plaintiffs’ specific consent to the waiver.

        1254. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Missouri Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        1255. The      Missouri     Plaintiffs   reasonably    relied   on   Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1256. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1257. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Missouri Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Missouri Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1258. As a result of the Transmission Defects, the Missouri Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Missouri




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 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        1259. Defendant is liable, and the Missouri Plaintiffs hereby sue, for actual damages,

 including economic and non-economic damages (including, without limitation, damages for

 embarrassment, humiliation, inconvenience, mental anguish and emotional distress) in amounts to

 be proven at trial plus attorneys’ fees and costs per Mo. Rev. Stat. § 407.025(1) plus punitive

 damages plus any other just and proper relief under Mo. Rev. Stat. § 407.025.

                                           NEBRASKA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1260. The Nebraska Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        1261. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        1262. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1263. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1264. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1265. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1266. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

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 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1267. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1268. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1269. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1270. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1271. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or



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 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1272. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1273. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.




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            1274. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

            1275. The Nebraska Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                  SECOND CAUSE OF ACTION
                                BREACH OF EXPRESS WARRANTY

            1276. The Nebraska Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1277. The Nebraska Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Nebraska at Neb. Rev. Stat. U.C.C. § 2-101

 et. seq.

            1278. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Nebraska Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

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 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1279. The Nebraska Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Nebraska Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1280. The Nebraska Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Nebraska Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Nebraska Plaintiffs prior to their acceptance of the Vehicles.

        1281. As a result of the Transmission Defect in the Nebraska Plaintiffs’ Vehicles, the

 Nebraska Plaintiffs’ Vehicles cannot be reasonably relied on by the Nebraska Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1282. Defendant breached this warranty by selling to the Nebraska Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount



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 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        1283. As a result of the Transmission Defect in the Nebraska Plaintiffs’ Vehicles, the

 Nebraska Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Nebraska Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1284. As a result of the transmission defects, the Nebraska Plaintiffs have lost faith and

 confidence in the Vehicles and the Nebraska Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        1285. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1286. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.



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            1287. The Nebraska Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

            1288. The Nebraska Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1289. The Nebraska Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1290. The Nebraska Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Nebraska at Neb. Rev. Stat. U.C.C. § 2-101

 et. seq.

            1291. Defendant is a “merchant” with respect to motor vehicles under the Nebraska

 statute.

            1292. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1293. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,


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 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Nebraska Plaintiffs.

        1294. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1295. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1296. As a result of Ford’s breaches of implied warranties, the Nebraska Plaintiffs have

 suffered economic loss and damages. The damages the Nebraska Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        1297. The Nebraska Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1298. The Nebraska Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as



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 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                         FOURTH CAUSE OF ACTION
           VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                      (NEB. REV. STAT. § 59-1601 ET SEQ.)

        1299. The Nebraska Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1300. The Nebraska Consumer Protection Act (Nebraska CPA) prohibits “unfair or

 deceptive acts or practices in the conduct of any trade or commerce.” NEB. REV. STAT. § 59-

 1602. Defendant’s aforementioned conduct violated this statute.

        1301. Defendant and the Nebraska Plaintiffs are “person[s]” under NEB. REV. STAT. §

 59-1601(1).

        1302. Defendant’s actions as set forth herein occurred in the conduct of trade or

 commerce as defined under NEB. REV. STAT. § 59-1601(2).

        1303. Ford violated the Nebraska CPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.



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        1304. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Nebraska Plaintiffs, and imposed a serious safety

 risk on the public.

        1305. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1306. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Nebraska Plaintiffs, Ford knew or had reason

             to know that the Vehicles had inherent and systemic Transmission Defects, as described



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            in this Complaint, but Ford failed to disclose this material information to the Nebraska

            Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Nebraska Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Nebraska Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Nebraska Plaintiffs’ specific consent to the waiver.

        1307. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Nebraska Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1308. The         Nebraska   Plaintiffs   reasonably   relied   on   Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1309. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1310. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Nebraska Plaintiffs have suffered and will continue to suffer actual damages, including



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 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Nebraska Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1311. As a result of the Transmission Defects, the Nebraska Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Nebraska

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        1312. Because Defendants’ conduct caused injury to the Nebraska Plaintiffs’ property

 through violations of the Nebraska CPA, the Nebraska Plaintiffs seek recovery of actual damages

 as well as enhanced damages up to $1,000, costs of Court, reasonable attorneys’ fees, and any

 other just and proper relief available under NEB. REV. STAT. § 59-1609.

                                             NEVADA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1313. The Nevada Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

        1314. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        1315. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).




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        1316. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1317. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1318. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1319. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1320. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1321. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1322. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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        1323. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1324. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1325. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1326. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1327. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1328. The Nevada Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                              SECOND CAUSE OF ACTION
                            BREACH OF EXPRESS WARRANTY

        1329. The Nevada Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1330. The Nevada Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Nevada at Nev. Rev. Stat. § 104.2101 et. seq.

        1331. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Nevada Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1332. The Nevada Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Nevada Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1333. The Nevada Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Nevada Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Nevada Plaintiffs prior to their acceptance of the Vehicles.

        1334. As a result of the Transmission Defect in the Nevada Plaintiffs’ Vehicles, the

 Nevada Plaintiffs’ Vehicles cannot be reasonably relied on by the Nevada Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1335. Defendant breached this warranty by selling to the Nevada Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        1336. As a result of the Transmission Defect in the Nevada Plaintiffs’ Vehicles, the

 Nevada Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Nevada Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1337. As a result of the transmission defects, the Nevada Plaintiffs have lost faith and

 confidence in the Vehicles and the Nevada Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        1338. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty



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 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1339. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1340. The Nevada Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1341. The Nevada Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                          THIRD CAUSE OF ACTION
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        1342. The Nevada Plaintiffs incorporate by reference all facts and allegations set forth in


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 this Complaint.

        1343. The Nevada Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Nevada at Nev. Rev. Stat. § 104.2101 et. seq.

        1344. Defendant is a “merchant” with respect to motor vehicles under the Nevada statute.

        1345. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        1346. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Nevada Plaintiffs.

        1347. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1348. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing



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 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

         1349. As a result of Ford’s breaches of implied warranties, the Nevada Plaintiffs have

 suffered economic loss and damages. The damages the Nevada Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

         1350. The Nevada Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

         1351. The Nevada Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                           FOURTH CAUSE OF ACTION
            VIOLATION OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT
                        (NEV. REV. STAT. § 598.0903 ET SEQ.)

         1352. The Nevada Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

         1353. The Nevada Deceptive Trade Practices Act (Nevada DTPA) prohibits deceptive

 trade practices. NEV. REV. STAT. § 598.0915 provides that a person engages in a “deceptive

 trade practice” if, in the course of business or occupation, the person “[k]nowingly makes a false

 representation as to the characteristics, ingredients, uses, benefits, alterations or quantities of goods

 or services for sale or lease or a false representation as to the sponsorship, approval, status,



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 affiliation or connection of a person therewith”; “[r]epresents that goods or services for sale or

 lease are of a particular standard, quality or grade, or that such goods are of a particular style or

 model, if he or she knows or should know that they are of another standard, quality, grade, style

 or model”; “[a]dvertises goods or services with intent not to sell or lease them as advertised”; or

 “[k]nowingly makes any other false representation in a transaction.” NEV. REV. STAT. §§

 598.0915– 598.0925. Defendants’ aforementioned conduct violated this statute.

        1354. Ford violated the Nevada DTPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        1355. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Nevada Plaintiffs, and imposed a serious safety risk

 on the public.

        1356. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the



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 Transmission Defect in the Vehicles as described above.

        1357. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Nevada Plaintiffs, Ford knew or had reason to

             know that the Vehicles had inherent and systemic Transmission Defects, as described

             in this Complaint, but Ford failed to disclose this material information to the Nevada

             Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

             reasonably have been known by the Nevada Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

             use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

             operation of law;

        h. Entering into a consumer transaction in which the Nevada Plaintiffs purportedly waived



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            a right, benefit, or immunity provided by law, without clearly stating the waiver and

            obtaining the Nevada Plaintiffs’ specific consent to the waiver.

        1358. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Nevada Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        1359. The      Nevada      Plaintiffs   reasonably    relied   on    Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1360. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1361. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Nevada Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Nevada

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1362. As a result of the Transmission Defects, the Nevada Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Nevada



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 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        1363. Accordingly, the Nevada Plaintiffs seek their actual damages, punitive damages,

 costs of Court, attorney’s fees, and all other appropriate and available remedies under the Nevada

 DTPA. NEV. REV. STAT. § 41.600.

                                          NEW MEXICO

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1364. The New Mexico Plaintiffs incorporate by reference each of the preceding

 paragraphs as though fully set forth herein.

        1365. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        1366. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1367. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1368. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1369. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1370. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the




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 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1371. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1372. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1373. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1374. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1375. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6



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 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1376. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1377. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1378. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,


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 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

            1379. The New Mexico Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                 SECOND CAUSE OF ACTION
                               BREACH OF EXPRESS WARRANTY

            1380. The New Mexico Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            1381. The New Mexico Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by New Mexico at N.M. Stat. Ann. § 55-2-101

 et. seq.

            1382. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the New Mexico Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

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 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1383. The New Mexico Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the New Mexico Plaintiffs’ acceptance of the Vehicles

 by agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1384. The New Mexico Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the New

 Mexico Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the New Mexico Plaintiffs prior to their acceptance of the Vehicles.

        1385. As a result of the Transmission Defect in the New Mexico Plaintiffs’ Vehicles, the

 New Mexico Plaintiffs’ Vehicles cannot be reasonably relied on by the New Mexico Plaintiffs for

 the ordinary purpose of providing safe, reliable, and efficient transportation.

        1386. Defendant breached this warranty by selling to the New Mexico Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.



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        1387. As a result of the Transmission Defect in the New Mexico Plaintiffs’ Vehicles, the

 New Mexico Plaintiffs have suffered economic damages including, but not limited to, costly

 repairs, loss of use of the vehicle, substantial loss in value and resale value of the vehicles,

 diminished value of the vehicle on the date of sale, and other related damage. The New Mexico

 Plaintiffs have provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1388. As a result of the transmission defects, the New Mexico Plaintiffs have lost faith

 and confidence in the Vehicles and the New Mexico Plaintiffs cannot reasonably rely upon the

 Vehicles for the ordinary purpose of safe, reliable and efficient transportation.

        1389. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1390. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1391. The New Mexico Plaintiffs have reasonably met all obligations and pre-conditions

 as provided in the express warranty that accompanied their Vehicles, or otherwise have been



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 excused from performance of said obligations as a result of Defendant’s conduct described herein.

            1392. The New Mexico Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                             THIRD CAUSE OF ACTION
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1393. The New Mexico Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            1394. The New Mexico Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by New Mexico at N.M. Stat. Ann. § 55-2-101

 et. seq.

            1395. Defendant is a “merchant” with respect to motor vehicles under the New Mexico

 statute.

            1396. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1397. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for


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 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the New Mexico Plaintiffs.

        1398. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1399. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1400. As a result of Ford’s breaches of implied warranties, the New Mexico Plaintiffs

 have suffered economic loss and damages. The damages the New Mexico Plaintiffs have suffered

 are a direct and proximate result of Defendant’s actions.

        1401. The New Mexico Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1402. The New Mexico Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential



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 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                         FOURTH CAUSE OF ACTION
        VIOLATION OF THE NEW MEXICO UNFAIR TRADE PRACTICES ACT
                      (N.M. STAT. ANN. § 57-12-1 ET SEQ.)

        1403. The New Mexico Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

        1404. The New Mexico Unfair Trade Practices Act (New Mexico UTPA) makes unlawful

 “a false or misleading oral or written statement, visual description or other representation of any

 kind knowingly made in connection with the sale, lease, rental or loan of goods or services . . . by

 a person in the regular course of the person’s trade or commerce, that may, tends to or does deceive

 or mislead any person,” including but not limited to “failing to state a material fact if doing so

 deceives or tends to deceive.” N.M. STAT. ANN. § 57-12-2(D). Defendant’s aforementioned

 conduct violated this statute.

        1405. Defendant and the New Mexico Plaintiffs are “person[s]” under N.M. STAT. ANN.

 § 57-12-2 in the conduct of trade or commerce as defined under N.M. STAT. ANN. § 57-12-2.

        1406. Defendant’s actions as set forth herein occurred Ford violated the New Mexico

 UTPA as a result of its manufacture and sale of vehicles with Transmission Defects, which Ford

 failed to adequately investigate, disclose and remedy, and its misrepresentations and omissions

 regarding the safety and reliability of these vehicles, which had the tendency or capacity to

 mislead. By failing to disclose and by intentionally concealing the Transmission Defects and the

 true defective nature of its PowerShift transmission system, by marketing its vehicles as safe,

 reliable, easily operable, efficient, and of high quality and standard, and protected by Ford’s

 warranty, Ford knowingly and intentionally misrepresented and omitted material facts and



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 breached its legal duties.

        1407. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the New Mexico Plaintiffs, and imposed a serious

 safety risk on the public.

        1408. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1409. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the New Mexico Plaintiffs, Ford knew or had reason



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            to know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the New

            Mexico Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the New Mexico Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the New Mexico Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the New Mexico Plaintiffs’ specific consent to the waiver.

        1410. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the New Mexico Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1411. The New Mexico Plaintiffs reasonably relied on Defendant’s material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1412. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1413. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,



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 the New Mexico Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 New Mexico Plaintiffs known that the Vehicles would be equipped with a characteristically

 defective transmission or exhibit the Transmission Defects, they would not have purchased or

 leased the Vehicles or would have paid substantially less to purchase or lease them.

          1414. As a result of the Transmission Defects, the New Mexico Plaintiffs were harmed

 and suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to

 fail before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The New

 Mexico Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

          1415. Because Defendant’s unconscionable, willful conduct caused actual harm to the

 New Mexico Plaintiffs, the New Mexico Plaintiffs seek recovery of actual damages or $100,

 whichever is greater; discretionary treble damages; punitive damages; and reasonable attorneys’

 fees and costs, as well as all other proper and just relief available under N.M. STAT. ANN. § 57-

 12-10.

                                           NEW YORK

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

          1416. The New York Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

          1417. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

          1418. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

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        1419. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1420. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1421. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1422. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1423. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1424. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1425. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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        1426. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1427. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1428. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1429. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1430. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1431. The New York Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                              SECOND CAUSE OF ACTION
                            BREACH OF EXPRESS WARRANTY

        1432. The New York Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1433. The New York Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by New York at N.Y. U.C.C. Law § 2-101 et.

 seq.

        1434. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the New York Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1435. The New York Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the New York Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1436. The New York Plaintiffs’ Vehicles were not as warranted and represented in that

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 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the New

 York Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the New York Plaintiffs prior to their acceptance of the Vehicles.

        1437. As a result of the Transmission Defect in the New York Plaintiffs’ Vehicles, the

 New York Plaintiffs’ Vehicles cannot be reasonably relied on by the New York Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1438. Defendant breached this warranty by selling to the New York Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        1439. As a result of the Transmission Defect in the New York Plaintiffs’ Vehicles, the

 New York Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The New York Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1440. As a result of the transmission defects, the New York Plaintiffs have lost faith and

 confidence in the Vehicles and the New York Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.



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        1441. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1442. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1443. The New York Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1444. The New York Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1445. The New York Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1446. The New York Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by New York at N.Y. U.C.C. Law § 2-101 et.

 seq.

            1447. Defendant is a “merchant” with respect to motor vehicles under the New York

 statute.

            1448. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1449. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the New York Plaintiffs.

            1450. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            1451. Ford failed to adequately remedy the transmission defects in the Vehicles within a


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 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1452. As a result of Ford’s breaches of implied warranties, the New York Plaintiffs have

 suffered economic loss and damages. The damages the New York Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        1453. The New York Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1454. The New York Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                           FOURTH CAUSE OF ACTION
            UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION ACT
                         NEW YORK STAT. § 45.50.471, et seq.

        1455. The New York Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.




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        1456. The New York General Business Law (New York GBL) makes unlawful

 “[d]eceptive acts or practices in the conduct of any business, trade or commerce.” N.Y. GEN. BUS.

 LAW § 349. Defendant’s aforementioned conduct violated this statute.

        1457. The New York Plaintiffs are “persons” within the meaning of N.Y. GEN. BUS.

 LAW § 349(h).

        1458. Defendant is a “person,” “firm,” “corporation,” or “association” within the meaning

 of N.Y. GEN. BUS. LAW § 349.

        1459. Ford violated the New York GBL as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        1460. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the New York Plaintiffs, and imposed a serious safety

 risk on the public.

        1461. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,



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 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1462. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the New York Plaintiffs, Ford knew or had reason

             to know that the Vehicles had inherent and systemic Transmission Defects, as described

             in this Complaint, but Ford failed to disclose this material information to the New York

             Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

             reasonably have been known by the New York Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

             use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

             operation of law;



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        h. Entering into a consumer transaction in which the New York Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the New York Plaintiffs’ specific consent to the waiver.

        1463. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the New York Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1464. The      New    York    Plaintiffs   reasonably relied     on   Defendant’s    material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1465. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1466. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the New York Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 New York Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1467. As a result of the Transmission Defects, the New York Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,



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 premature internal wear, delayed acceleration, and, eventually, transmission failure. The New

 York Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        1468. Because Defendant’s willful and knowing conduct caused injury to the New York

 Plaintiffs, the New York Plaintiffs seek recovery of actual damages or $50, whichever is greater;

 discretionary treble damages up to $1,000; punitive damages; reasonable attorneys’ fees and costs;

 and any other just and proper relief available under N.Y. GEN. BUS. LAW § 349.

                                      NORTH CAROLINA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1469. The North Carolina Plaintiffs incorporate by reference each of the preceding

 paragraphs as though fully set forth herein.

        1470. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        1471. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1472. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1473. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1474. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1475. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

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 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1476. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1477. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1478. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1479. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1480. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or



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 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1481. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1482. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.




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            1483. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

            1484. The North Carolina Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                  SECOND CAUSE OF ACTION
                                BREACH OF EXPRESS WARRANTY

            1485. The North Carolina Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            1486. The North Carolina Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by North Carolina at N.C. Gen. Stat. § 25-2-101

 et. seq.

            1487. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the North Carolina

 Plaintiff’s purchase or lease of a vehicle was also accompanied by an express written warranty

 provided by Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-

 Bumper Warranty and a 5-year/60,000-miles powertrain warranty which included the transmission

 and the clutch. Ford’s express warranties were part of the basis of the bargain. Ford subsequently

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 extended the transmission warranties to 7-years/100,000-miles for clutches and related hardware,

 and 10-years/150,000-miles for the transmission control module. Defendant also expressly

 warranted that they would repair and/or replace defects in material and/or workmanship free of

 charge that occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

         1488. The North Carolina Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the North Carolina Plaintiffs’ acceptance of the Vehicles

 by agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

         1489. The North Carolina Plaintiffs’ Vehicles were not as warranted and represented in

 that the Vehicles have the Transmission Defect and exhibit the conditions described above, as well

 as defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 North Carolina Plaintiffs. These defects and non-conformities could not reasonably have been

 discovered by the North Carolina Plaintiffs prior to their acceptance of the Vehicles.

         1490. As a result of the Transmission Defect in the North Carolina Plaintiffs’ Vehicles,

 the North Carolina Plaintiffs’ Vehicles cannot be reasonably relied on by the North Carolina

 Plaintiffs for the ordinary purpose of providing safe, reliable, and efficient transportation.

         1491. Defendant breached this warranty by selling to the North Carolina Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a



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 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        1492. As a result of the Transmission Defect in the North Carolina Plaintiffs’ Vehicles,

 the North Carolina Plaintiffs have suffered economic damages including, but not limited to, costly

 repairs, loss of use of the vehicle, substantial loss in value and resale value of the vehicles,

 diminished value of the vehicle on the date of sale, and other related damage. The North Carolina

 Plaintiffs have provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1493. As a result of the transmission defects, the North Carolina Plaintiffs have lost faith

 and confidence in the Vehicles and the North Carolina Plaintiffs cannot reasonably rely upon the

 Vehicles for the ordinary purpose of safe, reliable and efficient transportation.

        1494. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1495. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.



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            1496. The North Carolina Plaintiffs have reasonably met all obligations and pre-

 conditions as provided in the express warranty that accompanied their Vehicles, or otherwise have

 been excused from performance of said obligations as a result of Defendant’s conduct described

 herein.

            1497. The North Carolina Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1498. The North Carolina Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            1499. The North Carolina Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by North Carolina at N.C. Gen. Stat. § 25-2-101

 et. seq.

            1500. Defendant is a “merchant” with respect to motor vehicles under the North Carolina

 statute.

            1501. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1502. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as


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 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the North Carolina Plaintiffs.

        1503. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1504. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1505. As a result of Ford’s breaches of implied warranties, the North Carolina Plaintiffs

 have suffered economic loss and damages. The damages the North Carolina Plaintiffs have

 suffered are a direct and proximate result of Defendant’s actions.

        1506. The North Carolina Plaintiffs have reasonably met all obligations and pre-

 conditions under the warranty, or otherwise have been excused from performance of said

 obligations as a result of Defendant’s conduct described herein.

        1507. The North Carolina Plaintiffs seek all damages permitted by law, including, without



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 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                       FOURTH CAUSE OF ACTION
   VIOLATION OF THE NORTH CAROLINA UNFAIR AND DECEPTIVE ACTS AND
                             PRACTICES ACT
                     (N.C. GEN. STAT. § 75-1.1 ET SEQ.)

           1508. The North Carolina Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

           1509. North Carolina’s Unfair and Deceptive Acts and Practices Act (the North Carolina

 Act) broadly prohibits “unfair or deceptive acts or practices in or affecting commerce.” N.C. GEN.

 STAT. § 75-1.1(a). Defendant’s aforementioned conduct violated this statute.

           1510. Defendants engaged in “commerce” within the meaning of N.C. GEN. STAT. § 75-

 1.1(b).

           1511. Ford violated the North Carolina Act as a result of its manufacture and sale of

 vehicles with Transmission Defects, which Ford failed to adequately investigate, disclose and

 remedy, and its misrepresentations and omissions regarding the safety and reliability of these

 vehicles, which had the tendency or capacity to mislead. By failing to disclose and by intentionally

 concealing the Transmission Defects and the true defective nature of its PowerShift transmission

 system, by marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality

 and standard, and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented

 and omitted material facts and breached its legal duties.

           1512. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

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 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the North Carolina Plaintiffs, and imposed a serious

 safety risk on the public.

        1513. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1514. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a.      Representing through its advertising, warranties, and other express representations

                that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                or characteristics that they did not actually have;

        b.      Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                were of a particular standard or quality when they were not;

        c.      Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                intent not to sell them as advertised and, when so doing, concealing and suppressing

                facts material to the true characteristics, standards and qualities of the Vehicles and

                transmissions;

        d.      At the time of the sales or leases to the North Carolina Plaintiffs, Ford knew or had

                reason to know that the Vehicles had inherent and systemic Transmission Defects,

                as described in this Complaint, but Ford failed to disclose this material information



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                to the North Carolina Plaintiffs;

        e.      Failing to reveal material facts which misled Plaintiffs and which facts could not

                reasonably have been known by the North Carolina Plaintiffs;

        f.      Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;

        g.      Failing to provide promised benefits under the warranty, both expressly or implied

                by operation of law;

        h.      Entering into a consumer transaction in which the North Carolina Plaintiffs

                purportedly waived a right, benefit, or immunity provided by law, without clearly

                stating the waiver and obtaining the North Carolina Plaintiffs’ specific consent to

                the waiver.

        1515. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the North Carolina Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1516. The North Carolina Plaintiffs reasonably relied on Defendant’s material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1517. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1518. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the North Carolina Plaintiffs have suffered and will continue to suffer actual damages, including



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 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 North Carolina Plaintiffs known that the Vehicles would be equipped with a characteristically

 defective transmission or exhibit the Transmission Defects, they would not have purchased or

 leased the Vehicles or would have paid substantially less to purchase or lease them.

        1519. As a result of the Transmission Defects, the North Carolina Plaintiffs were harmed

 and suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to

 fail before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The North

 Carolina Plaintiffs have also experienced and will continue experience repair costs as a result of

 the Transmission Defect.

        1520. The North Carolina Plaintiffs seek monetary relief for their actual damages, an

 order for treble their actual damages, costs of Court, attorney’s fees, and any other just and proper

 relief available under the North Carolina Act, N.C. GEN. STAT. § 75-16.

                                               OHIO

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1521. The Ohio Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

        1522. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        1523. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1524. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.


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        1525. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1526. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1527. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1528. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1529. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1530. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1531. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or



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 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1532. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1533. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1534. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1535. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1536. The Ohio Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                   SECOND CAUSE OF ACTION
                                 BREACH OF EXPRESS WARRANTY

        1537. The Ohio Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1538. The Ohio Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Ohio at Ohio Rev. Code Ann. § 1302.01 et. seq.

        1539. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

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 risk of failure or latent defects that would plague the Vehicle. Each of the Ohio Plaintiff’s purchase

 or lease of a vehicle was also accompanied by an express written warranty provided by Ford. At

 the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty and a 5-

 year/60,000-miles powertrain warranty which included the transmission and the clutch. Ford’s

 express warranties were part of the basis of the bargain.           Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1540. The Ohio Plaintiffs relied on Defendant’s express warranties when purchasing their

 Vehicles. Ford induced the Ohio Plaintiffs’ acceptance of the Vehicles by agreeing, by means of

 the express warranty, to remedy, within a reasonable time, those defects which had not been or

 could not have been discovered prior to acceptance and, further, by Ford’s failure to disclose the

 aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1541. The Ohio Plaintiffs’ Vehicles were not as warranted and represented in that the

 vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Ohio Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Ohio Plaintiffs prior to their acceptance of the Vehicles.

        1542. As a result of the Transmission Defect in the Ohio Plaintiffs’ Vehicles, the Ohio

 Plaintiffs’ Vehicles cannot be reasonably relied on by the Ohio Plaintiffs for the ordinary purpose



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 of providing safe, reliable, and efficient transportation.

        1543. Defendant breached this warranty by selling to the Ohio Plaintiffs the Vehicles with

 known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        1544. As a result of the Transmission Defect in the Ohio Plaintiffs’ Vehicles, the Ohio

 Plaintiffs have suffered economic damages including, but not limited to, costly repairs, loss of use

 of the vehicle, substantial loss in value and resale value of the vehicles, diminished value of the

 vehicle on the date of sale, and other related damage. The Ohio Plaintiffs have provided Ford with

 sufficient opportunities to repair or replace their Vehicles.

        1545. As a result of the transmission defects, the Ohio Plaintiffs have lost faith and

 confidence in the Vehicles and the Ohio Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        1546. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1547. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the



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 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1548. The Ohio Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1549. The Ohio Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                          THIRD CAUSE OF ACTION
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        1550. The Ohio Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1551. The Ohio Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Ohio at Ohio Rev. Code Ann. § 1302.01 et. seq.

        1552. Defendant is a “merchant” with respect to motor vehicles under the Ohio statute.

        1553. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.


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        1554. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Ohio Plaintiffs.

        1555. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1556. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1557. As a result of Ford’s breaches of implied warranties, the Ohio Plaintiffs have

 suffered economic loss and damages. The damages the Ohio Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        1558. The Ohio Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of



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 Defendant’s conduct described herein.

        1559. The Ohio Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                         FOURTH CAUSE OF ACTION
          UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION ACT
                          OHIO STAT. § 45.50.471, et seq.

        1560. The Ohio Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1561. Defendant is a “supplier” as that term is defined in OHIO REV. CODE ANN. §

 1345.01(C).

        1562. The Ohio Plaintiffs are “consumers” as that term is defined in OHIO REV. CODE

 ANN. § 1345.01(D), and their purchase or lease of one or more Vehicles is a “consumer

 transaction” within the meaning of OHIO REV. CODE ANN. § 1345.01(A).

        1563. The Ohio Consumer Sales Practices Act (Ohio CSPA), OHIO REV. CODE ANN.

 § 1345.02, broadly prohibits unfair or deceptive acts or practices in connection with a consumer

 transaction. Specifically, and without limitation of the broad prohibition, the Act prohibits (1)

 representing that Fraudulent Vehicles have characteristics, uses, benefits, and qualities which they

 do not have, (2) representing that Fraudulent Vehicles are of a particular standard, quality, and

 grade when they are not, (3) advertising Fraudulent Vehicles with the intent not to sell them as

 advertised, and (4) engaging in acts or practices which are otherwise unfair, misleading, false, or



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 deceptive to the consumer. OHIO REV. CODE ANN. § 1345.02. Defendants’ aforementioned

 conduct violated this statute.

        1564. Ford violated the Ohio CPA as a result of its manufacture and sale of vehicles with

 Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and its

 misrepresentations and omissions regarding the safety and reliability of these vehicles, which had

 the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        1565. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Ohio Plaintiffs, and imposed a serious safety risk

 on the public.

        1566. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1567. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a.        Representing through its advertising, warranties, and other express representations



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               that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

               or characteristics that they did not actually have;

        b.     Representing that the Vehicles, specifically that the transmissions in the Vehicles,

               were of a particular standard or quality when they were not;

        c.     Advertising the Vehicles and in particular the Vehicles’ transmissions with the

               intent not to sell them as advertised and, when so doing, concealing and suppressing

               facts material to the true characteristics, standards and qualities of the Vehicles and

               transmissions;

        d.     At the time of the sales or leases to the Ohio Plaintiffs, Ford knew or had reason to

               know that the Vehicles had inherent and systemic Transmission Defects, as

               described in this Complaint, but Ford failed to disclose this material information to

               the Ohio Plaintiffs;

        e.     Failing to reveal material facts which misled Plaintiffs and which facts could not

               reasonably have been known by the Ohio Plaintiffs;

        f.     Attempting to disclaim or limit the implied warranty of merchantability and fitness

               for use without clearly and conspicuously disclosing same;

        g.     Failing to provide promised benefits under the warranty, both expressly or implied

               by operation of law;

        h.     Entering into a consumer transaction in which the Ohio Plaintiffs purportedly

               waived a right, benefit, or immunity provided by law, without clearly stating the

               waiver and obtaining the Ohio Plaintiffs’ specific consent to the waiver.

        1568. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Ohio Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6



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 PowerShift transmission.

        1569. The Ohio Plaintiffs reasonably relied on Defendant’s material misrepresentations

 and omissions concerning the Vehicles, and their transmissions.

        1570. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1571. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Ohio Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Ohio

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1572. As a result of the Transmission Defects, the Ohio Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Ohio

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        1573. As a result of the foregoing wrongful conduct, the Ohio Plaintiffs have been

 damaged in an amount to be proven at trial and seek all just and proper remedies, including but



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 not limited to actual and statutory damages, treble damages, court costs, and reasonable attorneys’

 fees, pursuant to OHIO REV. CODE ANN. § 1345.09 et seq.

                                          OKLAHOMA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1574. The Oklahoma Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        1575. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        1576. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1577. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1578. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1579. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1580. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.




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        1581. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1582. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1583. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1584. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1585. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies



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 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1586. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1587. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1588. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.


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        1589. The Oklahoma Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                  SECOND CAUSE OF ACTION
                                BREACH OF EXPRESS WARRANTY

        1590. The Oklahoma Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1591. The Oklahoma Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Oklahoma at Okla. Stat. Tit. 12A, § 2-101 et.

 seq.

        1592. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Oklahoma Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

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        1593. The Oklahoma Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Oklahoma Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1594. The Oklahoma Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Oklahoma Plaintiffs.     These defects and non-conformities could not reasonably have been

 discovered by the Oklahoma Plaintiffs prior to their acceptance of the Vehicles.

        1595. As a result of the Transmission Defect in the Oklahoma Plaintiffs’ Vehicles, the

 Oklahoma Plaintiffs’ Vehicles cannot be reasonably relied on by the Oklahoma Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1596. Defendant breached this warranty by selling to the Oklahoma Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        1597. As a result of the Transmission Defect in the Oklahoma Plaintiffs’ Vehicles, the

 Oklahoma Plaintiffs have suffered economic damages including, but not limited to, costly repairs,



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 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Oklahoma Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1598. As a result of the transmission defects, the Oklahoma Plaintiffs have lost faith and

 confidence in the Vehicles and the Oklahoma Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        1599. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1600. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1601. The Oklahoma Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1602. The Oklahoma Plaintiffs seek all damages permitted by law, including, without



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 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                 THIRD CAUSE OF ACTION
                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1603. The Oklahoma Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1604. The Oklahoma Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Oklahoma at Okla. Stat. Tit. 12A, § 2-101 et.

 seq.

            1605. Defendant is a “merchant” with respect to motor vehicles under the Oklahoma

 statute.

            1606. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1607. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Oklahoma Plaintiffs.


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        1608. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1609. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1610. As a result of Ford’s breaches of implied warranties, the Oklahoma Plaintiffs have

 suffered economic loss and damages. The damages the Oklahoma Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        1611. The Oklahoma Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1612. The Oklahoma Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.



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                             FOURTH CAUSE OF ACTION
              VIOLATION OF THE OKLAHOMA CONSUMER PROTECTION ACT
                          (OKLA. STAT. TIT. 15, § 751 ET SEQ.)

        1613. The Oklahoma Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1614. The Oklahoma Consumer Protection Act (Oklahoma CPA) declares unlawful, inter

 alia, the following acts or practices when committed in the course of business: making a

 “misrepresentation, omission or other practice that has deceived or could reasonably be expected

 to deceive or mislead a person to the detriment of that person” and “any practice which offends

 established public policy or if the practice is immoral, unethical, oppressive, unscrupulous or

 substantially injurious to consumers.” OKLA. STAT. TIT. 15, §§ 752–753. Defendant’s

 aforementioned conduct violated this statute.

        1615. The Oklahoma Plaintiffs are “persons” under OKLA. STAT. TIT. 15, § 752.

        1616. Defendant is a “person,” “corporation,” or “association” within the meaning of

 OKLA. STAT. TIT. 15, § 15-751(1).

        1617. The sale or lease of a Vehicle to each Oklahoma Plaintiff was a “consumer

 transaction” within the meaning of OKLA. STAT. TIT. 15, § 752 and Defendant’s actions as set

 forth herein occurred in the conduct of trade or commerce

        1618. Ford violated the Oklahoma CPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,



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 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        1619. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Oklahoma Plaintiffs, and imposed a serious safety

 risk on the public.

        1620. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1621. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a.      Representing through its advertising, warranties, and other express representations

                that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                or characteristics that they did not actually have;

        b.      Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                were of a particular standard or quality when they were not;

        c.      Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                intent not to sell them as advertised and, when so doing, concealing and suppressing

                facts material to the true characteristics, standards and qualities of the Vehicles and

                transmissions;



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        d.      At the time of the sales or leases to the Oklahoma Plaintiffs, Ford knew or had

                reason to know that the Vehicles had inherent and systemic Transmission Defects,

                as described in this Complaint, but Ford failed to disclose this material information

                to the Oklahoma Plaintiffs;

        e.      Failing to reveal material facts which misled Plaintiffs and which facts could not

                reasonably have been known by the Oklahoma Plaintiffs;

        f.      Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;

        g.      Failing to provide promised benefits under the warranty, both expressly or implied

                by operation of law;

        h.      Entering into a consumer transaction in which the Oklahoma Plaintiffs purportedly

                waived a right, benefit, or immunity provided by law, without clearly stating the

                waiver and obtaining the Oklahoma Plaintiffs’ specific consent to the waiver.

        1622. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Oklahoma Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1623. The      Oklahoma      Plaintiffs   reasonably   relied   on   Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1624. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.



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        1625. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Oklahoma Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Oklahoma Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1626. As a result of the Transmission Defects, the Oklahoma Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The

 Oklahoma Plaintiffs have also experienced and will continue experience repair costs as a result of

 the Transmission Defect.

        1627. Because Defendant’s unconscionable conduct caused injury to the Oklahoma

 Plaintiffs, the Oklahoma Plaintiffs seek recovery of actual damages, discretionary penalties up to

 $2,000 per violation, and reasonable attorneys’ fees and costs, under OKLA. STAT. TIT. 15, §

 761.1. The Oklahoma Plaintiffs further seek any other just and proper relief available under the

 Oklahoma CPA.

                                             OREGON

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1628. The Oregon Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

        1629. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

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        1630. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1631. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1632. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1633. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1634. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1635. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1636. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).




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        1637. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1638. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1639. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1640. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1641. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1642. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1643. The Oregon Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                              SECOND CAUSE OF ACTION
                            BREACH OF EXPRESS WARRANTY

        1644. The Oregon Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1645. The Oregon Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Oregon at Or. Rev. Stat. § 72.1010 et. seq.

        1646. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Oregon Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1647. The Oregon Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Oregon Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1648. The Oregon Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Oregon Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Oregon Plaintiffs prior to their acceptance of the Vehicles.

        1649. As a result of the Transmission Defect in the Oregon Plaintiffs’ Vehicles, the

 Oregon Plaintiffs’ Vehicles cannot be reasonably relied on by the Oregon Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1650. Defendant breached this warranty by selling to the Oregon Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        1651. As a result of the Transmission Defect in the Oregon Plaintiffs’ Vehicles, the

 Oregon Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Oregon Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1652. As a result of the transmission defects, the Oregon Plaintiffs have lost faith and

 confidence in the Vehicles and the Oregon Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        1653. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty



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 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1654. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1655. The Oregon Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1656. The Oregon Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                          THIRD CAUSE OF ACTION
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        1657. The Oregon Plaintiffs incorporate by reference all facts and allegations set forth in


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 this Complaint.

        1658. The Oregon Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Oregon at Or. Rev. Stat. § 72.1010 et. seq.

        1659. Defendant is a “merchant” with respect to motor vehicles under the Oregon statute.

        1660. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        1661. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Oregon Plaintiffs.

        1662. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1663. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing



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 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

         1664. As a result of Ford’s breaches of implied warranties, the Oregon Plaintiffs have

 suffered economic loss and damages. The damages the Oregon Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

         1665. The Oregon Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

         1666. The Oregon Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                         FOURTH CAUSE OF ACTION
        VIOLATIONS OF THE OREGON UNLAWFUL TRADE PRACTICES ACT
                        (Or. Rev. Stat. §§ 646.605, et seq.)

         1667. The Oregon Plaintiffs incorporate by reference each preceding paragraph as though

 fully set forth herein.

         1668. The Oregon Plaintiffs have complied with all applicable, pre-suit notice letter

 provisions, if any.

         1669. Defendant and the Oregon Plaintiffs are “persons” within the meaning of Or. Rev.

 Stat. § 646.605(4).




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             1670. Defendant is engaged in “trade” or “commerce” within the meaning of Or. Rev.

 Stat. § 646.605(8).

             1671. The Oregon Unfair Trade Practices Act (“Oregon UTPA”) prohibits “unfair or

 deceptive acts conduct in trade or commerce ….” Or. Rev. Stat. § 646.608(1). Defendant violated

 the Oregon UTPA because, among other reasons, they (1) “[r]epresented that . . . goods . . . have

 sponsorship, approval, characteristics, ingredients, uses, benefits, quantities or qualities that the . .

 . goods or . . . do not have;” (2) “[r]epresented that … goods … are of a particular standard,

 quality, or grade, [when] the …. goods … were of another;” (3) “advertise[d] …. goods …. with

 intent not to provide … goods …. as advertised;” (4) “[c]oncurrent with tender or delivery of. .. .,

 goods . . . fail[ed] to disclose any known material defect or material nonconformity;” (5) [e]ngaged

 in . . . unfair or deceptive conduct in trade or commerce. Or. Rev. Stat. § 646.608(1)(e), (g), (i),

 (t), (u).

             1672. Ford violated the Oregon UTPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

             1673. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial



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 portion of the purchasing public, including the Oregon Plaintiffs, and imposed a serious safety risk

 on the public.

        1674. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1675. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Oregon Plaintiffs, Ford knew or had reason to

             know that the Vehicles had inherent and systemic Transmission Defects, as described

             in this Complaint, but Ford failed to disclose this material information to the Oregon

             Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not



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            reasonably have been known by the Oregon Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Oregon Plaintiffs purportedly waived

            a right, benefit, or immunity provided by law, without clearly stating the waiver and

            obtaining the Oregon Plaintiffs’ specific consent to the waiver.

        1676. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Oregon Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        1677. The Oregon Plaintiffs reasonably relied on Defendant’s material misrepresentations

 and omissions concerning the Vehicles, and their transmissions.

        1678. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1679. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Oregon Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Oregon

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the



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 Vehicles or would have paid substantially less to purchase or lease them.

         1680. As a result of the Transmission Defects, the Oregon Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Oregon

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

         1681. Defendant had an ongoing duty to all customers to refrain from unfair and deceptive

 practices under the Oregon UTPA in the course of their business.

         1682. Defendant’s violations present a continuing risk to the Oregon Plaintiffs as well as

 to the general public. Defendant’s unlawful acts and practices complained of herein affect the

 public interest.

         1683. Pursuant to Or. Rev. Stat. § 646.638, the Oregon Plaintiffs hereby sue Defendant

 for actual damages, including economic and non-economic damages (including, without

 limitation, damages for embarrassment, humiliation, inconvenience, mental anguish and emotional

 distress) plus punitive damages plus attorneys’ fees and costs per Or. Rev. Stat. § 646.638(3) plus

 any other just and proper relief available under the Oregon UTPA.

                                        PENNSYLVANIA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

         1684. The Pennsylvania Plaintiffs incorporate by reference each of the preceding

 paragraphs as though fully set forth herein.

         1685. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

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        1686. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1687. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1688. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1689. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1690. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1691. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1692. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).




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        1693. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1694. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1695. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1696. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1697. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1698. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1699. The Pennsylvania Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                                   SECOND CAUSE OF ACTION
                                 BREACH OF EXPRESS WARRANTY

        1700. The Pennsylvania Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

        1701. The Pennsylvania Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Pennsylvania at Pa. Cons. Stat. § 2101 et. seq.

        1702. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Pennsylvania Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1703. The Pennsylvania Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the Pennsylvania Plaintiffs’ acceptance of the Vehicles

 by agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1704. The Pennsylvania Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Pennsylvania Plaintiffs. These defects and non-conformities could not reasonably have been

 discovered by the Pennsylvania Plaintiffs prior to their acceptance of the Vehicles.

        1705. As a result of the Transmission Defect in the Pennsylvania Plaintiffs’ Vehicles, the

 Pennsylvania Plaintiffs’ Vehicles cannot be reasonably relied on by the Pennsylvania Plaintiffs for

 the ordinary purpose of providing safe, reliable, and efficient transportation.

        1706. Defendant breached this warranty by selling to the Pennsylvania Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        1707. As a result of the Transmission Defect in the Pennsylvania Plaintiffs’ Vehicles, the

 Pennsylvania Plaintiffs have suffered economic damages including, but not limited to, costly

 repairs, loss of use of the vehicle, substantial loss in value and resale value of the vehicles,

 diminished value of the vehicle on the date of sale, and other related damage. The Pennsylvania

 Plaintiffs have provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1708. As a result of the transmission defects, the Pennsylvania Plaintiffs have lost faith

 and confidence in the Vehicles and the Pennsylvania Plaintiffs cannot reasonably rely upon the

 Vehicles for the ordinary purpose of safe, reliable and efficient transportation.

        1709. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty



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 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1710. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1711. The Pennsylvania Plaintiffs have reasonably met all obligations and pre-conditions

 as provided in the express warranty that accompanied their Vehicles, or otherwise have been

 excused from performance of said obligations as a result of Defendant’s conduct described herein.

        1712. The Pennsylvania Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        1713. The Pennsylvania Plaintiffs incorporate by reference all facts and allegations set


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 forth in this Complaint.

            1714. The Pennsylvania Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Pennsylvania at Pa. Cons. Stat. § 2101 et. seq.

            1715. Defendant is a “merchant” with respect to motor vehicles under the Pennsylvania

 statute.

            1716. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1717. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Pennsylvania Plaintiffs.

            1718. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            1719. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a



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 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1720. As a result of Ford’s breaches of implied warranties, the Pennsylvania Plaintiffs

 have suffered economic loss and damages. The damages the Pennsylvania Plaintiffs have suffered

 are a direct and proximate result of Defendant’s actions.

        1721. The Pennsylvania Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1722. The Pennsylvania Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                             FOURTH CAUSE OF ACTION
              VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES
            AND CONSUMER PROTECTION LAW (73 PA. CONS. STAT. § 201-1 ET SEQ.)

        1723. The Pennsylvania Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

        1724. The Pennsylvania Unfair Trade Practices and Consumer Protection Law

 (Pennsylvania CPL) prohibits unfair or deceptive acts or practices, including representing that

 goods or services have characteristics, benefits or qualities that they do not have; representing that

 goods or services are of a particular standard, quality or grade if they are of another; advertising



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 goods or services with intent not to sell them as advertised; and engaging in any other fraudulent

 or deceptive conduct which creates a likelihood of confusion or misunderstanding. 73 P.S. § 201-

 2(4). Defendants’ aforementioned conduct violated this statute.

        1725. Defendant and the Pennsylvania Plaintiffs are “persons” within the meaning of 73

 PA. CONS. STAT. § 201-2(2).

        1726. The Pennsylvania Plaintiffs purchased or leased Fraudulent Vehicles primarily for

 personal, family, or household purposes within the meaning of 73 PA. CONS. STAT. § 201-9.2.

        1727. All of the acts complained of herein were perpetrated by Defendant in the course

 of trade or commerce within the meaning of 73 PA. CONS. STAT. § 201-2(3).

        1728. Ford violated the Pennsylvania CPL as a result of its manufacture and sale of

 vehicles with Transmission Defects, which Ford failed to adequately investigate, disclose and

 remedy, and its misrepresentations and omissions regarding the safety and reliability of these

 vehicles, which had the tendency or capacity to mislead. By failing to disclose and by intentionally

 concealing the Transmission Defects and the true defective nature of its PowerShift transmission

 system, by marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality

 and standard, and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented

 and omitted material facts and breached its legal duties.

        1729. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Pennsylvania Plaintiffs, and imposed a serious

 safety risk on the public.

        1730. Defendant knew that the Vehicles and their transmissions suffered from an inherent



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 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1731. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a.      Representing through its advertising, warranties, and other express representations

                that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                or characteristics that they did not actually have;

        b.      Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                were of a particular standard or quality when they were not;

        c.      Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                intent not to sell them as advertised and, when so doing, concealing and suppressing

                facts material to the true characteristics, standards and qualities of the Vehicles and

                transmissions;

        d.      At the time of the sales or leases to the Pennsylvania Plaintiffs, Ford knew or had

                reason to know that the Vehicles had inherent and systemic Transmission Defects,

                as described in this Complaint, but Ford failed to disclose this material information

                to the Pennsylvania Plaintiffs;

        e.      Failing to reveal material facts which misled Plaintiffs and which facts could not

                reasonably have been known by the Pennsylvania Plaintiffs;

        f.      Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;



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        g.      Failing to provide promised benefits under the warranty, both expressly or implied

                by operation of law;

        h.      Entering into a consumer transaction in which the Pennsylvania Plaintiffs

                purportedly waived a right, benefit, or immunity provided by law, without clearly

                stating the waiver and obtaining the Pennsylvania Plaintiffs’ specific consent to the

                waiver.

        1732. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Pennsylvania Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1733. The Pennsylvania Plaintiffs reasonably relied on Defendant’s material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1734. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1735. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Pennsylvania Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Pennsylvania Plaintiffs known that the Vehicles would be equipped with a characteristically

 defective transmission or exhibit the Transmission Defects, they would not have purchased or

 leased the Vehicles or would have paid substantially less to purchase or lease them.




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        1736. As a result of the Transmission Defects, the Pennsylvania Plaintiffs were harmed

 and suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to

 fail before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The

 Pennsylvania Plaintiffs have also experienced and will continue experience repair costs as a result

 of the Transmission Defect.

        1737. Defendant is liable to the Pennsylvania Plaintiffs for their actual damages, treble

 their actual damages or $100, whichever is greater, and attorneys’ fees and costs. 73 PA. CONS.

 STAT. § 201-9.2(a). The Pennsylvania Plaintiffs are also entitled to an award of punitive damages

 given that Defendant’s conduct was malicious, wanton, willful, oppressive, or exhibited a reckless

 indifference to the rights of others. The Pennsylvania Plaintiffs further seek any other just and

 proper relief available under the Pennsylvania CPL.

                                       SOUTH CAROLINA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1738. The South Carolina Plaintiffs incorporate by reference each of the preceding

 paragraphs as though fully set forth herein.

        1739. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        1740. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1741. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.




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        1742. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1743. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1744. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1745. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1746. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1747. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1748. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or



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 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1749. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1750. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

            1751. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

            1752. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

            1753. The South Carolina Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                  SECOND CAUSE OF ACTION
                                BREACH OF EXPRESS WARRANTY

            1754. The South Carolina Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            1755. The South Carolina Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by South Carolina at S.C. Code Ann. § 36-2-101

 et. seq.

            1756. Ford’s advertisements and statements in written promotional and other materials

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 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the South Carolina

 Plaintiff’s purchase or lease of a vehicle was also accompanied by an express written warranty

 provided by Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-

 Bumper Warranty and a 5-year/60,000-miles powertrain warranty which included the transmission

 and the clutch. Ford’s express warranties were part of the basis of the bargain. Ford subsequently

 extended the transmission warranties to 7-years/100,000-miles for clutches and related hardware,

 and 10-years/150,000-miles for the transmission control module. Defendant also expressly

 warranted that they would repair and/or replace defects in material and/or workmanship free of

 charge that occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1757. The South Carolina Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the South Carolina Plaintiffs’ acceptance of the Vehicles

 by agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1758. The South Carolina Plaintiffs’ Vehicles were not as warranted and represented in

 that the Vehicles have the Transmission Defect and exhibit the conditions described above, as well

 as defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 South Carolina Plaintiffs. These defects and non-conformities could not reasonably have been

 discovered by the South Carolina Plaintiffs prior to their acceptance of the Vehicles.

        1759. As a result of the Transmission Defect in the South Carolina Plaintiffs’ Vehicles,



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 the South Carolina Plaintiffs’ Vehicles cannot be reasonably relied on by the South Carolina

 Plaintiffs for the ordinary purpose of providing safe, reliable, and efficient transportation.

        1760. Defendant breached this warranty by selling to the South Carolina Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        1761. As a result of the Transmission Defect in the South Carolina Plaintiffs’ Vehicles,

 the South Carolina Plaintiffs have suffered economic damages including, but not limited to, costly

 repairs, loss of use of the vehicle, substantial loss in value and resale value of the vehicles,

 diminished value of the vehicle on the date of sale, and other related damage. The South Carolina

 Plaintiffs have provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1762. As a result of the transmission defects, the South Carolina Plaintiffs have lost faith

 and confidence in the Vehicles and the South Carolina Plaintiffs cannot reasonably rely upon the

 Vehicles for the ordinary purpose of safe, reliable and efficient transportation.

        1763. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1764. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation



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 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

            1765. The South Carolina Plaintiffs have reasonably met all obligations and pre-

 conditions as provided in the express warranty that accompanied their Vehicles, or otherwise have

 been excused from performance of said obligations as a result of Defendant’s conduct described

 herein.

            1766. The South Carolina Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1767. The South Carolina Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            1768. The South Carolina Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by South Carolina at S.C. Code Ann. § 36-2-101

 et. seq.

            1769. Defendant is a “merchant” with respect to motor vehicles under the South Carolina


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 statute.

            1770. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1771. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the South Carolina Plaintiffs.

            1772. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            1773. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

            1774. As a result of Ford’s breaches of implied warranties, the South Carolina Plaintiffs



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 have suffered economic loss and damages. The damages the South Carolina Plaintiffs have

 suffered are a direct and proximate result of Defendant’s actions.

        1775. The South Carolina Plaintiffs have reasonably met all obligations and pre-

 conditions under the warranty, or otherwise have been excused from performance of said

 obligations as a result of Defendant’s conduct described herein.

        1776. The South Carolina Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                        FOURTH CAUSE OF ACTION
     VIOLATION OF THE SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
                     (S.C. CODE ANN. § 39-5-10 ET SEQ.)

        1777. The South Carolina Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

        1778. The South Carolina Unfair Trade Practices Act (South Carolina UTPA) prohibits

 “unfair or deceptive acts or practices in the conduct of any trade or commerce.” S.C. CODE ANN.

 § 39-5-20(a). Defendant’s aforementioned conduct violated this statute.

        1779. Each Defendant is a “person” under S.C. CODE ANN. § 39-5-10. 622.

        1780. Ford violated the South Carolina UTPA as a result of its manufacture and sale of

 vehicles with Transmission Defects, which Ford failed to adequately investigate, disclose and

 remedy, and its misrepresentations and omissions regarding the safety and reliability of these

 vehicles, which had the tendency or capacity to mislead. By failing to disclose and by intentionally



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 concealing the Transmission Defects and the true defective nature of its PowerShift transmission

 system, by marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality

 and standard, and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented

 and omitted material facts and breached its legal duties.

        1781. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the South Carolina Plaintiffs, and imposed a serious

 safety risk on the public.

        1782. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1783. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts



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            material to the true characteristics, standards and qualities of the Vehicles and

            transmissions;

        d. At the time of the sales or leases to the South Carolina Plaintiffs, Ford knew or had

            reason to know that the Vehicles had inherent and systemic Transmission Defects, as

            described in this Complaint, but Ford failed to disclose this material information to the

            South Carolina Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the South Carolina Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the South Carolina Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the South Carolina Plaintiffs’ specific consent to the waiver.

        1784. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the South Carolina Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1785. The South Carolina Plaintiffs reasonably relied on Defendant’s material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1786. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other



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 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1787. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the South Carolina Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 South Carolina Plaintiffs known that the Vehicles would be equipped with a characteristically

 defective transmission or exhibit the Transmission Defects, they would not have purchased or

 leased the Vehicles or would have paid substantially less to purchase or lease them.

        1788. As a result of the Transmission Defects, the South Carolina Plaintiffs were harmed

 and suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to

 fail before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The South

 Carolina Plaintiffs have also experienced and will continue experience repair costs as a result of

 the Transmission Defect.

        1789. Pursuant to S.C. CODE ANN. § 39-5-140(a), the South Carolina Plaintiffs seek

 monetary relief to recover their economic losses. Because Defendant’s actions were willful and

 knowing, the South Carolina Plaintiffs’ damages should be trebled. The South Carolina Plaintiffs

 further seek attorneys’ fees and costs plus any other just and proper relief available under the South

 Carolina UTPA.

        1790. The South Carolina Plaintiffs further allege that Defendant’s malicious and

 deliberate conduct warrants an assessment of punitive damages because Defendant carried out




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 despicable conduct with willful and conscious disregard of the rights of others. Defendant’s

 unlawful conduct constitutes malice, oppression, and fraud warranting punitive damages.

                                           TENNESSEE

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1791. The Tennessee Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        1792. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        1793. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1794. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1795. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1796. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1797. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.




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        1798. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1799. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1800. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1801. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1802. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies



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 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1803. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1804. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1805. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.


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        1806. The Tennessee Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        1807. The Tennessee Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        1808. The Tennessee Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Tennessee at Tenn. Code Ann. § 47-2-101 et.

 seq.

        1809. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Tennessee Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

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        1810. The Tennessee Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Tennessee Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1811. The Tennessee Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Tennessee Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Tennessee Plaintiffs prior to their acceptance of the Vehicles.

        1812. As a result of the Transmission Defect in the Tennessee Plaintiffs’ Vehicles, the

 Tennessee Plaintiffs’ Vehicles cannot be reasonably relied on by the Tennessee Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1813. Defendant breached this warranty by selling to the Tennessee Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        1814. As a result of the Transmission Defect in the Tennessee Plaintiffs’ Vehicles, the

 Tennessee Plaintiffs have suffered economic damages including, but not limited to, costly repairs,



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 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Tennessee Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1815. As a result of the transmission defects, the Tennessee Plaintiffs have lost faith and

 confidence in the Vehicles and the Tennessee Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        1816. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1817. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1818. The Tennessee Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1819. The Tennessee Plaintiffs seek all damages permitted by law, including, without



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 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            1820. The Tennessee Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            1821. The Tennessee Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Tennessee at Tenn. Code Ann. § 47-2-101 et.

 seq.

            1822. Defendant is a “merchant” with respect to motor vehicles under the Tennessee

 statute.

            1823. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            1824. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Tennessee Plaintiffs.


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        1825. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1826. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1827. As a result of Ford’s breaches of implied warranties, the Tennessee Plaintiffs have

 suffered economic loss and damages. The damages the Tennessee Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        1828. The Tennessee Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1829. The Tennessee Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.



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                         FOURTH CAUSE OF ACTION
        VIOLATIONS OF TENNESSEE CONSUMER PROTECTION ACT OF 1977
                      (Tenn. Code Ann. § 47-18-101, et seq.)

         1830. The Tennessee Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

         1831. The Tennessee Plaintiffs are “natural persons” and “consumers” within the

 meaning of Tenn. Code § 47-18-103(2). Defendant is a “person” within the meaning of Tenn. Code

 § 47-18-103(9).

         1832. Defendant is engaged in “trade” or “commerce” or “consumer transactions” within

 the meaning Tenn. Code § 47-18-103(9).

         1833. The Tennessee Consumer Protection Act (“Tennessee CPA”) prohibits “unfair or

 deceptive acts or practices affecting the conduct of any trade or commerce.” Tenn. Code § 47-18-

 104. The Tennessee CPA prohibits (1) causing likelihood of confusion or of misunderstanding as

 to the source, sponsorship, approval or certification of goods; (2) representing that goods have

 sponsorship, approval, characteristics, ingredients, uses, benefits or quantities that they do not

 have; (3) representing that goods are of a particular standard, quality or grade if they are of another;

 (4) advertising goods with intent not to sell them as advertised; (5) engaging in any other act or

 practice which is deceptive to the consumer or to any other person. Tenn. Code § 47-18-104(b)(2),

 (5),   (7), (9), (27).   Defendant intentionally violated the aforementioned provisions of the

 Tennessee CPA.

         1834. Ford violated the Tennessee CPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the



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 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        1835. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Tennessee Plaintiffs, and imposed a serious safety

 risk on the public.

        1836. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1837. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a.      Representing through its advertising, warranties, and other express representations

                that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                or characteristics that they did not actually have;

        b.      Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                were of a particular standard or quality when they were not;

        c.      Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                intent not to sell them as advertised and, when so doing, concealing and suppressing



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                facts material to the true characteristics, standards and qualities of the Vehicles and

                transmissions;

        d.      At the time of the sales or leases to the Tennessee Plaintiffs, Ford knew or had

                reason to know that the Vehicles had inherent and systemic Transmission Defects,

                as described in this Complaint, but Ford failed to disclose this material information

                to the Tennessee Plaintiffs;

        e.      Failing to reveal material facts which misled Plaintiffs and which facts could not

                reasonably have been known by the Tennessee Plaintiffs;

        f.      Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;

        g.      Failing to provide promised benefits under the warranty, both expressly or implied

                by operation of law;

        h.      Entering into a consumer transaction in which the Tennessee Plaintiffs purportedly

                waived a right, benefit, or immunity provided by law, without clearly stating the

                waiver and obtaining the Tennessee Plaintiffs’ specific consent to the waiver.

        1838. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Tennessee Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        1839. The      Tennessee    Plaintiffs   reasonably    relied   on    Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1840. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other



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 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1841. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Tennessee Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Tennessee Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1842. As a result of the Transmission Defects, the Tennessee Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The

 Tennessee Plaintiffs have also experienced and will continue experience repair costs as a result of

 the Transmission Defect.

        1843. Pursuant to Tenn. Code § 47-18-109, the Tennessee Plaintiffs hereby sue Defendant

 for actual damages plus treble damages for willful and knowing violations, pursuant to § 47-18-

 109(a)(3), plus punitive damages plus attorneys’ fees and costs per Tenn. Code § 47-18-109(e)(1),

 plus any other just and proper relief to the extent available under the Tennessee CPA.

                                               TEXAS

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1844. The Texas Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

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        1845. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        1846. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1847. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1848. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1849. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1850. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1851. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1852. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).



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        1853. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1854. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1855. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1856. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1857. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1858. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1859. The Texas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                              SECOND CAUSE OF ACTION
                            BREACH OF EXPRESS WARRANTY

        1860. The Texas Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1861. The Texas Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Texas at Tex. Bus. & Com. Code Ann. § 2.101 et. seq.

        1862. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Texas Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1863. The Texas Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Texas Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1864. The Texas Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Texas Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Texas Plaintiffs prior to their acceptance of the Vehicles.

        1865. As a result of the Transmission Defect in the Texas Plaintiffs’ Vehicles, the Texas

 Plaintiffs’ Vehicles cannot be reasonably relied on by the Texas Plaintiffs for the ordinary purpose

 of providing safe, reliable, and efficient transportation.

        1866. Defendant breached this warranty by selling to the Texas Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        1867. As a result of the Transmission Defect in the Texas Plaintiffs’ Vehicles, the Texas

 Plaintiffs have suffered economic damages including, but not limited to, costly repairs, loss of use

 of the vehicle, substantial loss in value and resale value of the vehicles, diminished value of the

 vehicle on the date of sale, and other related damage. The Texas Plaintiffs have provided Ford

 with sufficient opportunities to repair or replace their Vehicles.

        1868. As a result of the transmission defects, the Texas Plaintiffs have lost faith and

 confidence in the Vehicles and the Texas Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        1869. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty



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 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1870. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1871. The Texas Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1872. The Texas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                           THIRD CAUSE OF ACTION
              BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        1873. The Texas Plaintiffs incorporate by reference all facts and allegations set forth in


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 this Complaint.

        1874. The Texas Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Texas at Tex. Bus. & Com. Code Ann. § 2.101 et. seq.

        1875. Defendant is a “merchant” with respect to motor vehicles under the Texas statute.

        1876. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        1877. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Texas Plaintiffs.

        1878. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1879. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing



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 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1880. As a result of Ford’s breaches of implied warranties, the Texas Plaintiffs have

 suffered economic loss and damages. The damages the Texas Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        1881. The Texas Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

        1882. The Texas Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                      FOURTH CAUSE OF ACTION
  VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES AND CONSUMER
          PROTECTION ACT (TEX. BUS. & COM. CODE § 17.4 ET SEQ.)

        1883. The Texas Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1884. The Texas Plaintiffs are individuals with assets of less than $25 million (or are

 controlled by corporations or entities with less than $25 million in assets). See TEX. BUS. &

 COM. CODE § 17.41.

        1885. The Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”)

 provides a private right of action to a consumer where the consumer suffers economic damage as



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 the result of either (i) the use of false, misleading, or deceptive act or practice specifically

 enumerated in TEX. BUS. & COM. CODE § 17.46(b); or (ii) “an unconscionable action or course

 of action by any person.” TEX. BUS. & COM. CODE § 17.50(a)(2) & (3). The Texas DTPA

 declares several specific actions to be unlawful, including: “(5) Representing that goods or services

 have. sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities that they do

 not have”; “(7) Representing that goods or services are of a particular standard, quality, or grade,

 or that goods are of a particular style or model, if they are of another”; and “(9) advertising goods

 or services with intent not to sell them as advertised.” An “unconscionable action or course of

 action” means “an act or practice which, to a consumer’s detriment, takes advantage of the lack of

 knowledge, ability, experience, or capacity of the consumer to a grossly unfair degree.” TEX.

 BUS. & COM. CODE § 17.45(5). As detailed herein, Defendant has engaged in an unconscionable

 action or course of action and thereby caused economic damages to the Texas Plaintiffs.

        1886. Ford violated the Texas DTPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        1887. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial



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 portion of the purchasing public, including the Texas Plaintiffs, and imposed a serious safety risk

 on the public.

        1888. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1889. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Texas Plaintiffs, Ford knew or had reason to

             know that the Vehicles had inherent and systemic Transmission Defects, as described

             in this Complaint, but Ford failed to disclose this material information to the Texas

             Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not



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            reasonably have been known by the Texas Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Texas Plaintiffs purportedly waived

            a right, benefit, or immunity provided by law, without clearly stating the waiver and

            obtaining the Texas Plaintiffs’ specific consent to the waiver.

        1890. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Texas Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        1891. The Texas Plaintiffs reasonably relied on Defendant’s material misrepresentations

 and omissions concerning the Vehicles, and their transmissions.

        1892. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1893. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Texas Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Texas

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the



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 Vehicles or would have paid substantially less to purchase or lease them.

        1894. As a result of the Transmission Defects, the Texas Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Texas

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        1895. Pursuant to Tex. Bus. & Com. Code § 17.50, The Texas Plaintiffs seek economic

 damages, additional damages for knowing and intentional violations of the Texas DTPA, mental

 anguish damages, punitive damages, and attorneys’ fees, costs, and any other just and proper relief

 available under the Texas DTPA.

        1896. Alternatively, or additionally, pursuant to TEX. BUS. & COM. CODE §

 17.50(b)(3) & (4), the Texas Plaintiffs are also entitled to disgorgement or to rescission or to any

 other relief necessary to restore any money or property that was acquired from them based on

 violations of the Texas DTPA or which the Court deems proper.

                                               UTAH

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1897. The Utah Plaintiffs incorporate by reference each of the preceding paragraphs as

 though fully set forth herein.

        1898. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        1899. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).




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        1900. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1901. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1902. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1903. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1904. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1905. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1906. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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        1907. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1908. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1909. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1910. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        1911. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1912. The Utah Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        1913. The Utah Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1914. The Utah Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Utah at Utah Code Ann. § 70A-2-101 et. seq.

        1915. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Utah Plaintiff’s purchase

 or lease of a vehicle was also accompanied by an express written warranty provided by Ford. At

 the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty and a 5-

 year/60,000-miles powertrain warranty which included the transmission and the clutch. Ford’s

 express warranties were part of the basis of the bargain.          Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1916. The Utah Plaintiffs relied on Defendant’s express warranties when purchasing their

 Vehicles. Ford induced the Utah Plaintiffs’ acceptance of the Vehicles by agreeing, by means of

 the express warranty, to remedy, within a reasonable time, those defects which had not been or

 could not have been discovered prior to acceptance and, further, by Ford’s failure to disclose the

 aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1917. The Utah Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

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 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Utah Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Utah Plaintiffs prior to their acceptance of the Vehicles.

        1918. As a result of the Transmission Defect in the Utah Plaintiffs’ Vehicles, the Utah

 Plaintiffs’ Vehicles cannot be reasonably relied on by the Utah Plaintiffs for the ordinary purpose

 of providing safe, reliable, and efficient transportation.

        1919. Defendant breached this warranty by selling to the Utah Plaintiffs the Vehicles with

 known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        1920. As a result of the Transmission Defect in the Utah Plaintiffs’ Vehicles, the Utah

 Plaintiffs have suffered economic damages including, but not limited to, costly repairs, loss of use

 of the vehicle, substantial loss in value and resale value of the vehicles, diminished value of the

 vehicle on the date of sale, and other related damage. The Utah Plaintiffs have provided Ford with

 sufficient opportunities to repair or replace their Vehicles.

        1921. As a result of the transmission defects, the Utah Plaintiffs have lost faith and

 confidence in the Vehicles and the Utah Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.




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        1922. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1923. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1924. The Utah Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1925. The Utah Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                           THIRD CAUSE OF ACTION
              BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        1926. The Utah Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1927. The Utah Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Utah at Utah Code Ann. § 70A-2-101 et. seq.

        1928. Defendant is a “merchant” with respect to motor vehicles under the Utah statute.

        1929. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        1930. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Utah Plaintiffs.

        1931. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1932. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s


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 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1933. As a result of Ford’s breaches of implied warranties, the Utah Plaintiffs have

 suffered economic loss and damages. The damages the Utah Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        1934. The Utah Plaintiffs have reasonably met all obligations and pre-conditions under

 the warranty, or otherwise have been excused from performance of said obligations as a result of

 Defendant’s conduct described herein.

        1935. The Utah Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                           FOURTH CAUSE OF ACTION
            UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION ACT
                           UTAH CODE ANN. § 13-11, et seq.

        1936. The Utah Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1937. The Utah Consumer Sales Practices Act (Utah CSPA) makes unlawful any

 “deceptive act or practice by a supplier in connection with a consumer transaction,” including but

 not limited to indicating that the subject of a consumer transaction has sponsorship, approval,



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 performance characteristics, accessories, uses, or benefits, if it has not; indicating that the subject

 of a consumer transaction is of a particular standard, quality, grade, style, or model, if it is not; and

 “indicat[ing] that a specific price advantage exists, if it does not.” UTAH CODE ANN. § 13-11-

 Defendant’s aforementioned conduct violated this statute.

         1938. Defendant knew, or had reason to know, that consumers would rely on their failure

 to disclose the defects in its transmission system. Defendant therefore engaged in an

 unconscionable act within the meaning of UTAH CODE ANN. § 13- 11-5.

         1939. Ford further violated the Utah CSPA as a result of its manufacture and sale of

 vehicles with Transmission Defects, which Ford failed to adequately investigate, disclose and

 remedy, and its misrepresentations and omissions regarding the safety and reliability of these

 vehicles, which had the tendency or capacity to mislead. By failing to disclose and by intentionally

 concealing the Transmission Defects and the true defective nature of its PowerShift transmission

 system, by marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality

 and standard, and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented

 and omitted material facts and breached its legal duties.

         1940. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Utah Plaintiffs, and imposed a serious safety risk

 on the public.

         1941. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,



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 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1942. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

             a. Representing through its advertising, warranties, and other express representations

                that the Vehicles, specifically that the transmissions in the Vehicles, had benefits

                or characteristics that they did not actually have;

             b. Representing that the Vehicles, specifically that the transmissions in the Vehicles,

                were of a particular standard or quality when they were not;

             c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the

                intent not to sell them as advertised and, when so doing, concealing and suppressing

                facts material to the true characteristics, standards and qualities of the Vehicles and

                transmissions;

             d. At the time of the sales or leases to the Utah Plaintiffs, Ford knew or had reason to

                know that the Vehicles had inherent and systemic Transmission Defects, as

                described in this Complaint, but Ford failed to disclose this material information to

                the Utah Plaintiffs;

             e. Failing to reveal material facts which misled Plaintiffs and which facts could not

                reasonably have been known by the Utah Plaintiffs;

             f. Attempting to disclaim or limit the implied warranty of merchantability and fitness

                for use without clearly and conspicuously disclosing same;

             g. Failing to provide promised benefits under the warranty, both expressly or implied

                by operation of law;



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            h. Entering into a consumer transaction in which the Utah Plaintiffs purportedly

                waived a right, benefit, or immunity provided by law, without clearly stating the

                waiver and obtaining the Utah Plaintiffs’ specific consent to the waiver.

        1943. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Utah Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        1944. The Utah Plaintiffs reasonably relied on Defendant’s material misrepresentations

 and omissions concerning the Vehicles, and their transmissions.

        1945. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1946. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Utah Plaintiffs have suffered and will continue to suffer actual damages, including economic

 damages at the point of sale or lease and/or diminished value of their Vehicles. Had the Utah

 Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        1947. As a result of the Transmission Defects, the Utah Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,



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 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Utah

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        1948. Pursuant to the Utah CSPA, the Utah Plaintiffs hereby sue Defendant for actual

 damages. The Utah Plaintiffs further sue Defendant for punitive damages plus attorneys’ fees and

 court costs per Utah Code § 13-11-19 plus any other just and proper relief to the extent available

 under the Utah CPSA.

                                            VIRGINIA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        1949. The Virginia Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        1950. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        1951. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        1952. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        1953. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        1954. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        1955. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and


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 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        1956. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        1957. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        1958. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        1959. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        1960. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or



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 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        1961. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        1962. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.




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        1963. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        1964. The Virginia Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        1965. The Virginia Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1966. The Virginia Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Virginia at Va. Code Ann. § 8.1A-101 et. seq.

        1967. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Virginia Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

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 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        1968. The Virginia Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Virginia Plaintiffs’ acceptance of the Vehicles by agreeing, by

 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        1969. The Virginia Plaintiffs’ Vehicles were not as warranted and represented in that the

 Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Virginia Plaintiffs. These defects and non-conformities could not reasonably have been discovered

 by the Virginia Plaintiffs prior to their acceptance of the Vehicles.

        1970. As a result of the Transmission Defect in the Virginia Plaintiffs’ Vehicles, the

 Virginia Plaintiffs’ Vehicles cannot be reasonably relied on by the Virginia Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        1971. Defendant breached this warranty by selling to the Virginia Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective



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 condition.

        1972. As a result of the Transmission Defect in the Virginia Plaintiffs’ Vehicles, the

 Virginia Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Virginia Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        1973. As a result of the transmission defects, the Virginia Plaintiffs have lost faith and

 confidence in the Vehicles and the Virginia Plaintiffs cannot reasonably rely upon the Vehicles for

 the ordinary purpose of safe, reliable and efficient transportation.

        1974. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        1975. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        1976. The Virginia Plaintiffs have reasonably met all obligations and pre-conditions as



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 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        1977. The Virginia Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                           THIRD CAUSE OF ACTION
              BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        1978. The Virginia Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1979. The Virginia Plaintiffs’ Vehicles constitute “goods” under Article 2 of the Uniform

 Commercial Code (“UCC”), as adopted by Virginia at Va. Code Ann. § 8.1A-101 et. seq.

        1980. Defendant is a “merchant” with respect to motor vehicles under the Virginia statute.

        1981. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

        1982. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused


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 economic loss to the Virginia Plaintiffs.

        1983. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        1984. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        1985. As a result of Ford’s breaches of implied warranties, the Virginia Plaintiffs have

 suffered economic loss and damages. The damages the Virginia Plaintiffs have suffered are a direct

 and proximate result of Defendant’s actions.

        1986. The Virginia Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        1987. The Virginia Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-



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 judgment interest and all other relief allowed by law.

                          FOURTH CAUSE OF ACTION
            VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
                       (VA. CODE ANN. § 59.1-196 ET SEQ.)

        1988. The Virginia Plaintiffs incorporate by reference all facts and allegations set forth in

 this Complaint.

        1989. The Virginia Consumer Protection Act (Virginia CPA) lists prohibited “practices,”

 which include “[u]sing any other deception, fraud, false pretense, false promise, or

 misrepresentation in connection with a consumer transaction.” VA. CODE ANN. § 59.1-200.

 Defendant’s aforementioned conduct violated this statute.

        1990. Defendant is a “supplier” under VA. CODE ANN. § 59.1-198. 643. Each sale and

 lease of a Vehicle was a “consumer transaction” within the meaning of VA. CODE ANN. § 59.1-

 198.

        1991. Ford violated the Virginia CPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the

 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        1992. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial



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 portion of the purchasing public, including the Virginia Plaintiffs, and imposed a serious safety

 risk on the public.

        1993. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        1994. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Virginia Plaintiffs, Ford knew or had reason to

             know that the Vehicles had inherent and systemic Transmission Defects, as described

             in this Complaint, but Ford failed to disclose this material information to the Virginia

             Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not



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            reasonably have been known by the Virginia Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Virginia Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Virginia Plaintiffs’ specific consent to the waiver.

        1995. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Virginia Plaintiffs to purchase or lease their Vehicles with the “next-generation” DPS6

 PowerShift transmission.

        1996. The      Virginia    Plaintiffs   reasonably    relied   on    Defendant’s     material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        1997. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        1998. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Virginia Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Virginia Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the



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 Vehicles or would have paid substantially less to purchase or lease them.

        1999. As a result of the Transmission Defects, the Virginia Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Virginia

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        2000. Pursuant to VA. CODE ANN. § 59.1-204, the Virginia Plaintiffs seek monetary

 relief against Defendant measured as the greater of (a) actual damages in an amount to be

 determined at trial and (b) statutory damages in the amount of $500 for each Virginia Plaintiff.

 Because Defendant’s conduct was committed willfully and knowingly, the Virginia Plaintiffs are

 entitled to recover, for each plaintiff, the greater of (a) three times actual damages or (b) $1,000.

        2001. The Virginia Plaintiffs also seek punitive damages, attorneys’ fees and costs, and

 any other just and proper relief available under VA. CODE ANN. § 59.1-204 et seq.

                                          WASHINGTON

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        2002. The Washington Plaintiffs incorporate by reference each of the preceding

 paragraphs as though fully set forth herein.

        2003. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        2004. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).




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        2005. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        2006. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        2007. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        2008. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        2009. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        2010. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        2011. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).



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        2012. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        2013. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        2014. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        2015. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        2016. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        2017. The Washington Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                                 SECOND CAUSE OF ACTION
                               BREACH OF EXPRESS WARRANTY

            2018. The Washington Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            2019. The Washington Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Washington at Wash. Rev. Code § 62A.2-101

 et. seq.

            2020. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Washington Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

            2021. The Washington Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the Washington Plaintiffs’ acceptance of the Vehicles by

 agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

            2022. The Washington Plaintiffs’ Vehicles were not as warranted and represented in that

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 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Washington Plaintiffs. These defects and non-conformities could not reasonably have been

 discovered by the Washington Plaintiffs prior to their acceptance of the Vehicles.

        2023. As a result of the Transmission Defect in the Washington Plaintiffs’ Vehicles, the

 Washington Plaintiffs’ Vehicles cannot be reasonably relied on by the Washington Plaintiffs for

 the ordinary purpose of providing safe, reliable, and efficient transportation.

        2024. Defendant breached this warranty by selling to the Washington Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        2025. As a result of the Transmission Defect in the Washington Plaintiffs’ Vehicles, the

 Washington Plaintiffs have suffered economic damages including, but not limited to, costly

 repairs, loss of use of the vehicle, substantial loss in value and resale value of the vehicles,

 diminished value of the vehicle on the date of sale, and other related damage. The Washington

 Plaintiffs have provided Ford with sufficient opportunities to repair or replace their Vehicles.

        2026. As a result of the transmission defects, the Washington Plaintiffs have lost faith and

 confidence in the Vehicles and the Washington Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.



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        2027. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        2028. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        2029. The Washington Plaintiffs have reasonably met all obligations and pre-conditions

 as provided in the express warranty that accompanied their Vehicles, or otherwise have been

 excused from performance of said obligations as a result of Defendant’s conduct described herein.

        2030. The Washington Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            2031. The Washington Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            2032. The Washington Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Washington at Wash. Rev. Code § 62A.2-101

 et. seq.

            2033. Defendant is a “merchant” with respect to motor vehicles under the Washington

 statute.

            2034. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            2035. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Washington Plaintiffs.

            2036. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

            2037. Ford failed to adequately remedy the transmission defects in the Vehicles within a


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 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        2038. As a result of Ford’s breaches of implied warranties, the Washington Plaintiffs have

 suffered economic loss and damages. The damages the Washington Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        2039. The Washington Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        2040. The Washington Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                            FOURTH CAUSE OF ACTION
            VIOLATION OF THE WASHINGTON CONSUMER PROTECTION ACT
                     (WASH. REV. CODE ANN. § 19.86.010 ET SEQ.)

        2041. The Washington Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.




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        2042. The Washington Consumer Protection Act (Washington CPA) broadly prohibits

 “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any

 trade or commerce.” WASH. REV. CODE. ANN. § 19.96.010. Defendant’s aforementioned

 conduct violated this statute.

        2043. Defendant committed the acts complained of herein in the course of “trade” or

 “commerce” within the meaning of WASH. REV. CODE. ANN. § 19.96.010.

        2044. Ford violated the Washington CPA as a result of its manufacture and sale of

 vehicles with Transmission Defects, which Ford failed to adequately investigate, disclose and

 remedy, and its misrepresentations and omissions regarding the safety and reliability of these

 vehicles, which had the tendency or capacity to mislead. By failing to disclose and by intentionally

 concealing the Transmission Defects and the true defective nature of its PowerShift transmission

 system, by marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality

 and standard, and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented

 and omitted material facts and breached its legal duties.

        2045. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Washington Plaintiffs, and imposed a serious safety

 risk on the public.

        2046. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the



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 Transmission Defect in the Vehicles as described above.

        2047. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the Washington Plaintiffs, Ford knew or had reason

             to know that the Vehicles had inherent and systemic Transmission Defects, as described

             in this Complaint, but Ford failed to disclose this material information to the

             Washington Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

             reasonably have been known by the Washington Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

             use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

             operation of law;

        h. Entering into a consumer transaction in which the Washington Plaintiffs purportedly



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            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Washington Plaintiffs’ specific consent to the waiver.

        2048. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Washington Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        2049. The      Washington     Plaintiffs   reasonably   relied   on   Defendant’s    material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        2050. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        2051. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Washington Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Washington Plaintiffs known that the Vehicles would be equipped with a characteristically

 defective transmission or exhibit the Transmission Defects, they would not have purchased or

 leased the Vehicles or would have paid substantially less to purchase or lease them.

        2052. As a result of the Transmission Defects, the Washington Plaintiffs were harmed

 and suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to

 fail before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The



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 Washington Plaintiffs have also experienced and will continue experience repair costs as a result

 of the Transmission Defect.

        2053. Defendant is liable to the Washington Plaintiffs for damages in amounts to be

 proven at trial, including attorneys’ fees, costs, and treble damages, as well as any other remedies

 the Court may deem appropriate under WASH. REV. CODE. ANN. § 19.86.090.

                                        WEST VIRGINIA

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        2054. The West Virginia Plaintiffs incorporate by reference each of the preceding

 paragraphs as though fully set forth herein.

        2055. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).
        2056. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        2057. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        2058. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        2059. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        2060. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the




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 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        2061. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        2062. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        2063. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        2064. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        2065. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6



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 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        2066. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        2067. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        2068. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,


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 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        2069. The West Virginia Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        2070. The West Virginia Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

        2071. The West Virginia Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by West Virginia at W. Va. Code § 46-2-101 et.

 seq.

        2072. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the West Virginia Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

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 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

         2073. The West Virginia Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the West Virginia Plaintiffs’ acceptance of the Vehicles

 by agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

         2074. The West Virginia Plaintiffs’ Vehicles were not as warranted and represented in

 that the Vehicles have the Transmission Defect and exhibit the conditions described above, as well

 as defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 West Virginia Plaintiffs. These defects and non-conformities could not reasonably have been

 discovered by the West Virginia Plaintiffs prior to their acceptance of the Vehicles.

         2075. As a result of the Transmission Defect in the West Virginia Plaintiffs’ Vehicles, the

 West Virginia Plaintiffs’ Vehicles cannot be reasonably relied on by the West Virginia Plaintiffs

 for the ordinary purpose of providing safe, reliable, and efficient transportation.

         2076. Defendant breached this warranty by selling to the West Virginia Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.



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        2077. As a result of the Transmission Defect in the West Virginia Plaintiffs’ Vehicles, the

 West Virginia Plaintiffs have suffered economic damages including, but not limited to, costly

 repairs, loss of use of the vehicle, substantial loss in value and resale value of the vehicles,

 diminished value of the vehicle on the date of sale, and other related damage. The West Virginia

 Plaintiffs have provided Ford with sufficient opportunities to repair or replace their Vehicles.

        2078. As a result of the transmission defects, the West Virginia Plaintiffs have lost faith

 and confidence in the Vehicles and the West Virginia Plaintiffs cannot reasonably rely upon the

 Vehicles for the ordinary purpose of safe, reliable and efficient transportation.

        2079. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        2080. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        2081. The West Virginia Plaintiffs have reasonably met all obligations and pre-conditions

 as provided in the express warranty that accompanied their Vehicles, or otherwise have been



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 excused from performance of said obligations as a result of Defendant’s conduct described herein.

            2082. The West Virginia Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            2083. The West Virginia Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

            2084. The West Virginia Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by West Virginia at W. Va. Code § 46-2-101 et.

 seq.

            2085. Defendant is a “merchant” with respect to motor vehicles under the West Virginia

 statute.

            2086. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            2087. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for


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 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the West Virginia Plaintiffs.

        2088. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        2089. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        2090. As a result of Ford’s breaches of implied warranties, the West Virginia Plaintiffs

 have suffered economic loss and damages. The damages the West Virginia Plaintiffs have suffered

 are a direct and proximate result of Defendant’s actions.

        2091. The West Virginia Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        2092. The West Virginia Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential



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 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               FOURTH CAUSE OF ACTION
                   VIOLATION OF THE WEST VIRGINIA CONSUMER CREDIT
                                 AND PROTECTION ACT
                            (W. VA. CODE § 46A-1-101 ET SEQ.)

           2093. The West Virginia Plaintiffs incorporate by reference all facts and allegations set

 forth in this Complaint.

           2094.    Defendant is a “person” under W. VA. CODE § 46A-1-102(31).

           2095. The West Virginia Plaintiffs are “consumers” as defined by W. VA. CODE §§ 46A-

 1-102(12) and 46A-6-102(2), who purchased or leased one or more Vehicles.

           2096. Defendant engaged in trade or commerce as defined by W. VA. CODE § 46A-6-

 102(6).

           2097. The West Virginia Consumer Credit and Protection Act (West Virginia CCPA)

 prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce.” W. VA.

 CODE § 46A-6-104. Without limitation, “unfair or deceptive” acts or practices include:

           a.       Advertising goods or services with intent not to sell them as advertised; . . .

           b.       Engaging in any other conduct which similarly creates a likelihood of confusion

                    or of misunderstanding;

           c.       The act, use or employment by any person of any deception, fraud, false pretense,

                    false promise or misrepresentation, or the concealment, suppression or omission

                    of any material fact with intent that others rely upon such concealment,

                    suppression or omission, in connection with the sale or advertisement of any

                    goods or services, whether or not any person has in fact been misled, deceived or

                    damaged thereby; [and]

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        d.      Advertising, printing, displaying, publishing, distributing or broadcasting, or

                causing to be advertised, printed, displayed, published, distributed or broadcast in

                any manner, any statement or representation with regard to the sale of goods or

                the extension of consumer credit including the rates, terms or conditions for the

                sale of such goods or the extension of such credit, which is false, misleading or

                deceptive or which omits to state material information which is necessary to make

                the statements therein not false, misleading or deceptive.

 W. VA. CODE § 46A-6-102(7). Defendant’s aforementioned conduct violated this statute.

        2098. Ford violated the West Virginia CCPA as a result of its manufacture and sale of

 vehicles with Transmission Defects, which Ford failed to adequately investigate, disclose and

 remedy, and its misrepresentations and omissions regarding the safety and reliability of these

 vehicles, which had the tendency or capacity to mislead. By failing to disclose and by intentionally

 concealing the Transmission Defects and the true defective nature of its PowerShift transmission

 system, by marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality

 and standard, and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented

 and omitted material facts and breached its legal duties.

        2099. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the West Virginia Plaintiffs, and imposed a serious

 safety risk on the public.

        2100. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of



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 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        2101. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts

             material to the true characteristics, standards and qualities of the Vehicles and

             transmissions;

        d. At the time of the sales or leases to the West Virginia Plaintiffs, Ford knew or had

             reason to know that the Vehicles had inherent and systemic Transmission Defects, as

             described in this Complaint, but Ford failed to disclose this material information to the

             West Virginia Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

             reasonably have been known by the West Virginia Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

             use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by



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            operation of law;

        h. Entering into a consumer transaction in which the West Virginia Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the West Virginia Plaintiffs’ specific consent to the waiver.

        2102. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the West Virginia Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        2103. The West Virginia Plaintiffs reasonably relied on Defendant’s material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        2104. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        2105. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the West Virginia Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 West Virginia Plaintiffs known that the Vehicles would be equipped with a characteristically

 defective transmission or exhibit the Transmission Defects, they would not have purchased or

 leased the Vehicles or would have paid substantially less to purchase or lease them.

        2106. As a result of the Transmission Defects, the West Virginia Plaintiffs were harmed

 and suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to

 fail before their expected useful life has passed. The Vehicles experienced and will continue to



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 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The West

 Virginia Plaintiffs have also experienced and will continue experience repair costs as a result of

 the Transmission Defect.

        2107. The West Virginia Plaintiffs seek monetary relief against the Defendants measured

 as the greater of (a) actual damages in an amount to be determined at trial and (b) statutory damages

 in the amount of $200 per violation of the West Virginia CCPA for each West Virginia Plaintiff.

 Plaintiffs also seek punitive damages against the Defendants because they carried out despicable

 conduct with willful and conscious disregard of the rights of others, subjecting Plaintiffs to cruel

 and unjust hardship as a result.

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                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        2108. The Wisconsin Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        2109. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        2110. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        2111. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        2112. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.




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        2113. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        2114. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        2115. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).

        2116. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        2117. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        2118. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and




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 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        2119. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford

 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        2120. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




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 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        2121. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        2122. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        2123. The Wisconsin Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                               SECOND CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

        2124. The Wisconsin Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        2125. The Wisconsin Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Wisconsin at Wisc. Stat. § 402.101 et. seq.

        2126. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

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 risk of failure or latent defects that would plague the Vehicle. Each of the Wisconsin Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

        2127. The Wisconsin Plaintiffs relied on Defendant’s express warranties when

 purchasing their Vehicles. Ford induced the Wisconsin Plaintiffs’ acceptance of the Vehicles by

 agreeing, by means of the express warranty, to remedy, within a reasonable time, those defects

 which had not been or could not have been discovered prior to acceptance and, further, by Ford’s

 failure to disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        2128. The Wisconsin Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Wisconsin Plaintiffs.    These defects and non-conformities could not reasonably have been

 discovered by the Wisconsin Plaintiffs prior to their acceptance of the Vehicles.

        2129. As a result of the Transmission Defect in the Wisconsin Plaintiffs’ Vehicles, the

 Wisconsin Plaintiffs’ Vehicles cannot be reasonably relied on by the Wisconsin Plaintiffs for the



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 ordinary purpose of providing safe, reliable, and efficient transportation.

        2130. Defendant breached this warranty by selling to the Wisconsin Plaintiffs the

 Vehicles with known Transmission Defects, which are not of high quality, and which are

 predisposed to fail prematurely and/or fail to function properly. Ford has also breached its express

 warranties by failing to adequately repair the Vehicles and/or to repair the Vehicles within a

 reasonable amount of time or after a reasonable number of repair attempts, and the Vehicles remain

 in a defective condition.

        2131. As a result of the Transmission Defect in the Wisconsin Plaintiffs’ Vehicles, the

 Wisconsin Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Wisconsin Plaintiffs have

 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        2132. As a result of the transmission defects, the Wisconsin Plaintiffs have lost faith and

 confidence in the Vehicles and the Wisconsin Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        2133. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        2134. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the



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 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

            2135. The Wisconsin Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

            2136. The Wisconsin Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            2137. The Wisconsin Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            2138. The Wisconsin Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Wisconsin at Wisc. Stat. § 402.101 et. seq.

            2139. Defendant is a “merchant” with respect to motor vehicles under the Wisconsin

 statute.

            2140. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary


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 purposes, including providing reliable and safe transportation.

        2141. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Wisconsin Plaintiffs.

        2142. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the

 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        2143. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        2144. As a result of Ford’s breaches of implied warranties, the Wisconsin Plaintiffs have

 suffered economic loss and damages. The damages the Wisconsin Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        2145. The Wisconsin Plaintiffs have reasonably met all obligations and pre-conditions



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 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        2146. The Wisconsin Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                        FOURTH CAUSE OF ACTION
        VIOLATIONS OF THE WISCONSIN DECEPTIVE TRADE PRACTICES ACT
                             (Wis. Stat. § 100.18)

        2147. The Wisconsin Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        2148. The Wisconsin Plaintiffs are members of “the public” within the meaning of Wis.

 Stat. § 100.18(1).

        2149. The Wisconsin Plaintiffs purchased or leased one or more Vehicle.

        2150. The Wisconsin Plaintiffs are “persons” under the Wisconsin Deceptive Trade

 Practices Act (“Wisconsin DTPA”), Wis. Stat. § 100.18(1).

        2151. The Wisconsin DTPA makes unlawful any “representation or statement of fact

 which is untrue, deceptive or misleading.” Wis. Stat. § 100.18(1). In the course of its business,

 through its agents, employees, and/or subsidiaries, Defendant violated the Wisconsin DTPA.

        2152. Ford violated the Wisconsin DTPA as a result of its manufacture and sale of

 vehicles with Transmission Defects, which Ford failed to adequately investigate, disclose and

 remedy, and its misrepresentations and omissions regarding the safety and reliability of these



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 vehicles, which had the tendency or capacity to mislead. By failing to disclose and by intentionally

 concealing the Transmission Defects and the true defective nature of its PowerShift transmission

 system, by marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality

 and standard, and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented

 and omitted material facts and breached its legal duties.

        2153. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Wisconsin Plaintiffs, and imposed a serious safety

 risk on the public.

        2154. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        2155. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent



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            not to sell them as advertised and, when so doing, concealing and suppressing facts

            material to the true characteristics, standards and qualities of the Vehicles and

            transmissions;

        d. At the time of the sales or leases to the Wisconsin Plaintiffs, Ford knew or had reason

            to know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the Wisconsin

            Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Wisconsin Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Wisconsin Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Wisconsin Plaintiffs’ specific consent to the waiver.

        2156. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Wisconsin Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        2157. The         Wisconsin   Plaintiffs   reasonably   relied   on   Defendant’s   material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        2158. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the



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 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other

 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        2159. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Wisconsin Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Wisconsin Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        2160. As a result of the Transmission Defects, the Wisconsin Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The

 Wisconsin Plaintiffs have also experienced and will continue experience repair costs as a result of

 the Transmission Defect.

        2161. The Wisconsin Plaintiffs hereby sue Defendant for actual damages, including

 economic and non-economic damages (including, without limitation, damages for embarrassment,

 humiliation, inconvenience, mental anguish and emotional distress) plus punitive damages plus

 court costs and attorneys’ fees under Wis. Stat. § 100.18(11)(b)(2) plus any other just and proper

 relief available under the Wisconsin DTPA.




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                                           WYOMING

                     FIRST CAUSE OF ACTION
   MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.(THE “MMWA”)

        2162. The Wyoming Plaintiffs incorporate by reference each of the preceding paragraphs

 as though fully set forth herein.

        2163. Plaintiffs are “consumers” as defined in 15 U.S.C. § 2301(3).

        2164. Ford is a “supplier” and a “warrantor” as defined in 15 U.S.C. § 2301(4) and (5).

        2165. The Vehicles are “consumer products” as defined in 15 U.S.C. § 2301(1), because

 they are normally used for personal purposes and Plaintiffs in fact purchased them wholly or

 primarily for personal use.

        2166. The Vehicles were sold with a “written warranty” and/or a “service contract” as

 those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

        2167. As warrantor, Ford is required by the MMWA to remedy any Vehicle defect,

 malfunction or non-conformity within a reasonable time, within a reasonable number of repair

 attempts, and without charge to Plaintiffs. 15 U.S.C. § 2304(a)(1), (a)(4) and (d).

        2168. Ford failed to adequately repair transmission defects, which occurred during the

 time and mileage parameters of Ford’s written express warranty (under both the original time and

 mileage limits of the transmission warranty and the extended time and mileage limits of the

 transmission warranty within a reasonable time and/or a reasonable number of repair attempts.

 Such conduct constitutes a violation of the MMWA.

        2169. The MMWA grants Plaintiffs the right to bring a suit for damages and other legal

 relief against Ford for any breach of express or implied warranty arising under state law, as well

 as any violation of the MMWA. 15 U.S.C. §2310(d)(1).




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        2170. Under the MMWA, Plaintiffs are allowed by the court to recover as part of the

 judgment a sum equal to the aggregate amount of cost and expenses (including attorneys' fees

 based on actual time expended) determined by the court to have been reasonably incurred by

 Plaintiffs for or in connection with the commencement and prosecution of such action. 15 U.S.C.

 §2310(d)(2).

        2171. Any purported disclaimer of implied warranties by Ford is prohibited by the

 MMWA and is invalid and unenforceable. 15 U.S.C. § 2308(a) and (c).

        2172. Even though Plaintiffs have complied with all conditions precedent, and have

 performed all things agreed to and required of them under the purchase agreement and warranty,

 except as may have been excused or prevented by the conduct of Ford, Ford has failed and/or

 refused to remedy within a reasonable time, within a reasonable number of repair attempts, and

 without charge, the Vehicle’s transmission defects, malfunctions, or non-conformities set forth in

 this Complaint.

        2173. Ford is not entitled to another opportunity to cure the defects in the Vehicles.

 Plaintiffs have already given Ford notice of the defects and opportunities to correct the defects and

 Ford has failed, after numerous attempts, to cure the defects in the Vehicle. Furthermore, at the

 time of the sale or lease of each of the Vehicles to Plaintiffs, Ford knew, should have known, or

 was reckless in not knowing, of its omissions and/or misrepresentations concerning the DPS6

 PowerShift Transmission’s inability to perform as promised and warranted, but Ford failed to

 rectify the situation and/or disclose the defective design. Under the circumstances, the remedies

 available under any available informal settlement procedure would be inadequate and any

 requirement that Plaintiffs resort to an informal dispute resolution procedure and/or give Ford




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 another opportunity to cure the defects has been waived by Ford or is otherwise excused and

 thereby deemed satisfied.

        2174. Further, for the passenger vehicles for model years 2011-2016, Ford’s express

 warranty booklet states that use of its informal settlement dispute procedure administered by the

 Better Business Bureau is optional, not mandatory:




 See Ford Warranty Booklet Excerpts. Therefore, any purported pre-suit submission to the BBB

 Auto Line program is not required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

        2175. As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

 remedy same within a reasonable time, a reasonable number of repair attempts, and without charge

 to Plaintiffs, and Ford’s other violations of the MMWA, as set forth in this Complaint, Plaintiffs

 have suffered actual damages.

        2176. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

 sum of $25. In fact, the amount in controversy of this action exceeds the sum of $50,000.00,

 exclusive of interest and costs. Ford has judicially admitted that this Court has subject matter

 jurisdiction of this case and that the minimum amount in controversy has been met.

        2177. The Wyoming Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as


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 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                                 SECOND CAUSE OF ACTION
                               BREACH OF EXPRESS WARRANTY

            2178. The Wyoming Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            2179. The Wyoming Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Wyoming at Wyo. Stat. Ann. § 34.1-2-101

 et. seq.

            2180. Ford’s advertisements and statements in written promotional and other materials

 contained broad claims amounting to a warranty that the Vehicle would be free from an inherent

 risk of failure or latent defects that would plague the Vehicle. Each of the Wyoming Plaintiff’s

 purchase or lease of a vehicle was also accompanied by an express written warranty provided by

 Ford. At the time of purchase, Ford provided a 3-year/36,000-mile Bumper-to-Bumper Warranty

 and a 5-year/60,000-miles powertrain warranty which included the transmission and the clutch.

 Ford’s express warranties were part of the basis of the bargain. Ford subsequently extended the

 transmission warranties to 7-years/100,000-miles for clutches and related hardware, and 10-

 years/150,000-miles for the transmission control module. Defendant also expressly warranted that

 they would repair and/or replace defects in material and/or workmanship free of charge that

 occurred during the new vehicle and certified pre-owned (“CPO”) warranty periods.

            2181. The Wyoming Plaintiffs relied on Defendant’s express warranties when purchasing

 their Vehicles. Ford induced the Wyoming Plaintiffs’ acceptance of the Vehicles by agreeing, by

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 means of the express warranty, to remedy, within a reasonable time, those defects which had not

 been or could not have been discovered prior to acceptance and, further, by Ford’s failure to

 disclose the aforesaid Transmission Defects and/or Ford’s active concealment of same.

        2182. The Wyoming Plaintiffs’ Vehicles were not as warranted and represented in that

 the Vehicles have the Transmission Defect and exhibit the conditions described above, as well as

 defects or conditions as reflected in the various repair orders, technical service bulletins, special

 service messages, recall documents and consumer complaints in Ford’s possession. The Vehicles

 continue to contain defects which substantially impair the use and value of the Vehicles to the

 Wyoming Plaintiffs.     These defects and non-conformities could not reasonably have been

 discovered by the Wyoming Plaintiffs prior to their acceptance of the Vehicles.

        2183. As a result of the Transmission Defect in the Wyoming Plaintiffs’ Vehicles, the

 Wyoming Plaintiffs’ Vehicles cannot be reasonably relied on by the Wyoming Plaintiffs for the

 ordinary purpose of providing safe, reliable, and efficient transportation.

        2184. Defendant breached this warranty by selling to the Wyoming Plaintiffs the Vehicles

 with known Transmission Defects, which are not of high quality, and which are predisposed to fail

 prematurely and/or fail to function properly. Ford has also breached its express warranties by

 failing to adequately repair the Vehicles and/or to repair the Vehicles within a reasonable amount

 of time or after a reasonable number of repair attempts, and the Vehicles remain in a defective

 condition.

        2185. As a result of the Transmission Defect in the Wyoming Plaintiffs’ Vehicles, the

 Wyoming Plaintiffs have suffered economic damages including, but not limited to, costly repairs,

 loss of use of the vehicle, substantial loss in value and resale value of the vehicles, diminished

 value of the vehicle on the date of sale, and other related damage. The Wyoming Plaintiffs have



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 provided Ford with sufficient opportunities to repair or replace their Vehicles.

        2186. As a result of the transmission defects, the Wyoming Plaintiffs have lost faith and

 confidence in the Vehicles and the Wyoming Plaintiffs cannot reasonably rely upon the Vehicles

 for the ordinary purpose of safe, reliable and efficient transportation.

        2187. The limited or exclusive remedies of repairs or parts replacement in Ford’ warranty

 failed of their essential purpose and deprived Plaintiffs of the substantial value of the bargain

 because Ford did not correct the defects within a reasonable time or within a reasonable number

 of repair attempts. Therefore, any purported limitation of remedies is ineffective, and all

 consequential damages are recoverable.

        2188. Ford’s Warranty Provides: Ford and your dealer are not responsible for any time

 or income that you lose, any inconvenience you might be caused, the loss of your transportation

 or use of your vehicle, the cost of rental vehicles, fuel, telephone, travel, meals, or lodging, the

 loss of personal or commercial property, the loss of revenue, or for any other incidental or

 consequential damages you may have. Any such purported exclusion of consequential and

 incidental damages is unconscionable and therefore unenforceable. Specifically, Defendant’s

 warranty limitation is unenforceable because they knowingly sold a defective product without

 informing consumers about the defect.

        2189. The Wyoming Plaintiffs have reasonably met all obligations and pre-conditions as

 provided in the express warranty that accompanied their Vehicles, or otherwise have been excused

 from performance of said obligations as a result of Defendant’s conduct described herein.

        2190. The Wyoming Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,



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 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.

                              THIRD CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

            2191. The Wyoming Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

            2192. The Wyoming Plaintiffs’ Vehicles constitute “goods” under Article 2 of the

 Uniform Commercial Code (“UCC”), as adopted by Wyoming at Wyo. Stat. Ann. § 34.1-2-101

 et. seq.

            2193. Defendant is a “merchant” with respect to motor vehicles under the Wyoming

 statute.

            2194. Defendant impliedly warranted that the Vehicles, which Defendant designed,

 manufactured, and sold through its authorized dealer, were merchantable, that is, fit for ordinary

 purposes, including providing reliable and safe transportation.

            2195. Unfortunately, the Vehicles were of substandard quality and contained numerous

 latent defects at the time of purchase, including but not limited to transmission defects such as

 shifting erratically, and causing bucking, kicking, jerking, harsh engagement, delayed acceleration,

 lurching, erratic shifting, and a delay in downshifts, all of which have required multiple attempts

 to repair these defects. Because of these numerous defects, the Vehicles were and are not fit for

 their ordinary and intended purpose of providing reliable and safe transportation, and have caused

 economic loss to the Wyoming Plaintiffs.

            2196. Defendant breached the implied warranty of merchantability, as the Vehicles were

 not of a merchantable quality due to the Transmission Defect. The Vehicles were not fit for the


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 ordinary purpose for which such goods are used and/or the Vehicles would not pass without

 objection in the trade for the product description.

        2197. Ford failed to adequately remedy the transmission defects in the Vehicles within a

 reasonable time, and the Vehicles continue to be in an unmerchantable condition at the time of

 filing this Complaint. Because of the sheer number of defects in the Vehicles, and Defendant’s

 failure to repair or replace the covered defective parts during the applicable warranty period in a

 manner which corrected the defects, the Vehicles are unfit for their ordinary purpose of providing

 reliable transportation and would not pass without objection in the auto trade due to the excessive

 defects.

        2198. As a result of Ford’s breaches of implied warranties, the Wyoming Plaintiffs have

 suffered economic loss and damages. The damages the Wyoming Plaintiffs have suffered are a

 direct and proximate result of Defendant’s actions.

        2199. The Wyoming Plaintiffs have reasonably met all obligations and pre-conditions

 under the warranty, or otherwise have been excused from performance of said obligations as a

 result of Defendant’s conduct described herein.

        2200. The Wyoming Plaintiffs seek all damages permitted by law, including, without

 limitation, compensation for the monetary difference between the Fraudulent Vehicles as

 warranted and as sold; compensation for the reduction in resale value; the cost of purchasing,

 leasing, or renting replacement vehicles, along with all other incidental and consequential

 damages, statutory attorney fees, statutory damages, punitive damages, pre-judgment and post-

 judgment interest and all other relief allowed by law.




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                           FOURTH CAUSE OF ACTION
             VIOLATION OF THE WYOMING CONSUMER PROTECTION ACT
                         (WYO. STAT. § 40-12-105 ET SEQ.)

        2201. The Wyoming Plaintiffs incorporate by reference all facts and allegations set forth

 in this Complaint.

        2202. The Wyoming Plaintiffs and Defendant are “persons” within the meaning of Wyo.

 Stat. § 40-12-102(a)(i).

        2203. The Vehicles are “merchandise” pursuant to Wyo. Stat. § 40-12-102(a)(vi).

        2204. Each sale or lease of a Vehicle to a Wyoming Plaintiff was a “consumer

 transaction” as defined by Wyo. Stat. § 40-12-102(a)(ii).

        2205. These consumer transactions occurred “in the course of [Defendants’] business”

 under Wyo. Stat. § 40-12-105(a). The Wyoming Plaintiffs purchased or leased one or more

 Vehicles.

        2206. The Wyoming Consumer Protection Act (“Wyoming CPA”) prohibits unlawful

 deceptive trade practices, including when a seller: “(i) Represents that merchandise has a source,

 origin, sponsorship, approval, accessories, or uses it does not have;” “(iii) Represents that

 merchandise is of a particular standard, grade, style or model, if it is not;” “(x) Advertises

 merchandise with intent not to sell it as advertised;” “(xv) Engages in unfair or deceptive acts or

 practices.” Wyo. Stat. §§ 40-12-105(a). Defendant intentionally violated the aforementioned

 provisions of the Wyoming CPA.

        2207. Ford violated the Wyoming CPA as a result of its manufacture and sale of vehicles

 with Transmission Defects, which Ford failed to adequately investigate, disclose and remedy, and

 its misrepresentations and omissions regarding the safety and reliability of these vehicles, which

 had the tendency or capacity to mislead. By failing to disclose and by intentionally concealing the



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 Transmission Defects and the true defective nature of its PowerShift transmission system, by

 marketing its vehicles as safe, reliable, easily operable, efficient, and of high quality and standard,

 and protected by Ford’s warranty, Ford knowingly and intentionally misrepresented and omitted

 material facts and breached its legal duties.

        2208. Defendant’s unfair and deceptive acts or practices occurred repeatedly,

 systematically and continuously in Defendant’s business of manufacturing, distributing, and

 advertising the sale of vehicles, were capable of deceiving, and did in fact deceive, a substantial

 portion of the purchasing public, including the Wyoming Plaintiffs, and imposed a serious safety

 risk on the public.

        2209. Defendant knew that the Vehicles and their transmissions suffered from an inherent

 defect, were defectively designed or manufactured, and were not suitable for their intended use of

 providing reliable transportation. In the course of Defendant’s business of manufacturing,

 distributing, and advertising the sale of vehicles, Ford failed to disclose and actively concealed the

 Transmission Defect in the Vehicles as described above.

        2210. Ford engaged in the following violative acts or practices in the conduct of trade or

 commerce:

        a. Representing through its advertising, warranties, and other express representations that

             the Vehicles, specifically that the transmissions in the Vehicles, had benefits or

             characteristics that they did not actually have;

        b. Representing that the Vehicles, specifically that the transmissions in the Vehicles, were

             of a particular standard or quality when they were not;

        c. Advertising the Vehicles and in particular the Vehicles’ transmissions with the intent

             not to sell them as advertised and, when so doing, concealing and suppressing facts



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            material to the true characteristics, standards and qualities of the Vehicles and

            transmissions;

        d. At the time of the sales or leases to the Wyoming Plaintiffs, Ford knew or had reason

            to know that the Vehicles had inherent and systemic Transmission Defects, as described

            in this Complaint, but Ford failed to disclose this material information to the Wyoming

            Plaintiffs;

        e. Failing to reveal material facts which misled Plaintiffs and which facts could not

            reasonably have been known by the Wyoming Plaintiffs;

        f. Attempting to disclaim or limit the implied warranty of merchantability and fitness for

            use without clearly and conspicuously disclosing same;

        g. Failing to provide promised benefits under the warranty, both expressly or implied by

            operation of law;

        h. Entering into a consumer transaction in which the Wyoming Plaintiffs purportedly

            waived a right, benefit, or immunity provided by law, without clearly stating the waiver

            and obtaining the Wyoming Plaintiffs’ specific consent to the waiver.

        2211. Ford’s violative practices were specifically designed to induce, and did in fact

 induce, the Wyoming Plaintiffs to purchase or lease their Vehicles with the “next-generation”

 DPS6 PowerShift transmission.

        2212. The         Wyoming   Plaintiffs   reasonably   relied   on   Defendant’s    material

 misrepresentations and omissions concerning the Vehicles, and their transmissions.

        2213. Upon information and belief, these violations were not due to a bona fide error, as

 Ford failed to have any procedures in place designed to prevent the violations, and engaged in the

 same unfair and deceptive acts or practices in connection with the sale or lease of numerous other



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 vehicles. Ford continued to engage in these unlawful practices until it manufactured its last vehicle

 with a DPS6 transmission in 2019.

        2214. As a direct and proximate result of Defendant’s unfair or deceptive acts or practices,

 the Wyoming Plaintiffs have suffered and will continue to suffer actual damages, including

 economic damages at the point of sale or lease and/or diminished value of their Vehicles. Had the

 Wyoming Plaintiffs known that the Vehicles would be equipped with a characteristically defective

 transmission or exhibit the Transmission Defects, they would not have purchased or leased the

 Vehicles or would have paid substantially less to purchase or lease them.

        2215. As a result of the Transmission Defects, the Wyoming Plaintiffs were harmed and

 suffered actual damages in that the Vehicles’ transmissions have failed or are highly likely to fail

 before their expected useful life has passed. The Vehicles experienced and will continue to

 experience transmission slips, kicking forward, shudder, jerking, increased stopping times,

 premature internal wear, delayed acceleration, and, eventually, transmission failure. The Wyoming

 Plaintiffs have also experienced and will continue experience repair costs as a result of the

 Transmission Defect.

        2216. Pursuant to Wyo. Stat. § 40-12-108(a), the Wyoming Plaintiffs hereby sue

 Defendants for actual damages as determined at trial plus punitive damages plus any other just and

 proper relief available under the Wyoming CPA, including but not limited to court costs and

 reasonable attorneys’ fees as provided in Wyo. Stat. § 40-12-108(b).




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                                          LIMITATIONS

              PLAINTIFFS’ CLAIMS ARE TIMELY UNDER LAW OR EQUITY

   ALL STATUTES OF LIMITATIONS ARE TOLLED BY THE TOLLING DOCTRINE
   ESTABLISHED IN AMERICAN PIPE & CONSTRUCTION CO. V. UTAH, 414 U.S. 538
  (1974) AS A RESULT OF THE CLASS ACTION VARGAS V. FORD MOTOR COMPANY

         2217. Plaintiffs gave timely notice of their claims against Ford in the present action as

 putative class members in a class action, Vargas v. Ford Motor Company, United States District

 Court, Central District of California, Case No. 2:12-cv-08388 ABC (FFMx), which was filed on

 September 28, 2012. That action was filed within three years of the date of purchase or lease for

 all Plaintiffs.

         2218. There is no prejudice to Ford in gathering evidence to defend against Plaintiffs’

 individual claims because the class definition in the class action complaint within which Plaintiffs

 were each putative class members and the allegations in the class action lawsuit, Vargas v. Ford

 Motor Company, United States District Court, Central District of California, Case No. 2:12-cv-

 08388 ABC (FFMx) (“Vargus”), put Ford on notice of the facts that give rise to each Plaintiff’s

 individual action, the witnesses necessary for Ford to defend Plaintiffs’ individual actions, and the

 causes of action against Ford asserted in each Plaintiff’s individual action.

         2219. The Vargas Class Plaintiffs alleged the material facts on behalf of Plaintiffs as

 putative class members as are being alleged by Plaintiffs in the present individual action.

         2220. The facts alleged in Vargas are substantially similar, if not identical to the facts

 alleged herein.

         2221. The allegations in Vargas are based on the same subject matter and similar evidence

 as the instant complaint. Those allegations concern the same evidence, memories, and witnesses

 as the subject matter in the instant complaint.



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         2222.   The Vargas class action certainly protected the efficiency and economy of

 litigation because that class action is protecting the rights of thousands of consumers nationwide

 through a single action. Consumer class actions regarding defective vehicles brought against

 manufacturers are regularly certified, making a class action lawsuit an efficient means of pursuing

 such claims.

         2223. The tolling of Plaintiffs’ individual statute of limitations encourages the protection

 of efficiency and economy in litigation as promoted by the class action device, so that putative

 class members would not find it necessary to seek to intervene or to join individually because of

 fear the class might never be certified or putative class members may subsequently seek to request

 exclusion.

         2224. The running of all statute of limitations on each Plaintiff’s claims asserted against

 Ford in the present action were therefore tolled by American-Pipe tolling during the entire

 pendency of Vargas.

 PLAINTIFFS’ CLAIMS WERE TOLLED DURING THE PENDENCY OF CYR V. FORD
    MOTOR COMPANY, CASE NO. 2017-006058-NZ (CIR. CT WAYNE COUNTY,
                            MICHIGAN)

         2225. Plaintiffs previously timely filed their claims on April 20, 2017, in the case of Cyr

 v. Ford Motor Co., Case No. 2017-006058-NZ (Cir. Ct Wayne County, Michigan) (hereinafter,

 “the Cyr Action”). On April 26, 2022, the Cyr Action was dismissed on the basis of forums non

 conveniens, which has at its core, the requirement that an alternate forum exists for Plaintiffs to

 pursue their claims. The statute of limitations was tolled during the pendency of the Cyr Action.

 Plaintiffs also invoke the Delaware savings statute and any other applicable savings statutes in re-

 filing their claims in the instant action.




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                                     DEMAND FOR JURY TRIAL

         2226. Pursuant to Rule 28(b) of the Federal Rules of Civil Procedure, Plaintiff demands

 a trial by jury of all issues so triable.

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray that the Court award relief as follows:

         A.      Damages for the monetary difference between the Vehicles as warranted and as

                 sold; compensation for the reduction in resale value; the cost of purchasing, leasing,

                 or renting replacement vehicles, along with all other incidental and consequential

                 damages;

         B.      Statutory damages;

         C.      Treble damages;

         D.      Punitive or exemplary damages;

         E.      Out of pocket damages;

         F.      Costs of suit;

         G.      Attorney’s fees incurred in pursuit of Plaintiffs’ claims against Ford, including trial

                 and appeals;

         H.      Pre-judgment and post-judgment interest; and

         I.      All other relief to which they may be justly entitled.

 Dated: June 27, 2023.                          Respectfully submitted,

                                                /s/ Antranig Garibian
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                                             ATTORNEYS FOR PLAINTIFFS


                                DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a trial by jury.

                                             /s/Eric D. Pearson
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